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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

International Dark-Sky Association,       |
                                          |
      Appellant,                          |
                                          |
v.                                        |                1337
                                              Case No. 22-______________
                                          |
Federal Communications Commission,        |
                                          |
      Appellee.                           |

       THE INTERNATIONAL DARK-SKY ASSOCIATION, INC.’S

                              NOTICE OF APPEAL

      Pursuant to 47 U.S.C. §§ 402(b) and (c) as well as Rule 15(a) of the Federal

Rules of Appellate Procedure, The International Dark-Sky Association, Inc.

(“IDA”) hereby appeals the final order of the Federal Communications

Commission (“Commission”) captioned In the Matter of Space Exploration

Holdings, LLC Request for Orbital Deployment and Operating Authority for the

SpaceX Gen2 NGSO Satellite System, Order and Authorization, IBFS File Nos.

SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105, Call Sign S3069

(rel. Dec. 1, 2022) (“Order”). A copy of the Order is attached as Exhibit A.

      In its Order, the FCC grants, in part and subject to certain conditions, the

application of Space Exploration Holdings, LLC (“SpaceX”) “to construct, deploy,
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and operate a constellation of 29,9881 non-geostationary orbit (NGSO) satellites, to

be known as its ‘second-generation’ Starlink constellation (Gen2 Starlink), using

Ku-, Ka-, and E-band frequencies to provide fixed-satellite service (FSS).” Order ¶

1. As relevant here, the Order denied the IDA’s2 petition filed under Section

1.1307(c)3 (filed September 7, 2022), which challenged the Commission’s

compliance with the National Environmental Policy Act (NEPA) and the agency’s

implementing regulation, 47 C.F.R. § 1.1307. Order ¶ 103.

      Under 47 U.S.C. § 402(b)(6), this Court has exclusive jurisdiction over

IDA’s challenge to the Order because IDA is a “person who is aggrieved or whose

interests are adversely affected by an[] order of the Commission granting … an[]

application described in” 47 U.S.C. § 402(b)(1), i.e., SpaceX’s application for a

“station license.” See Spectrum Five LLC v. FCC, 758 F.3d 254, 259 n.7 (D.C. Cir.

2014) (a request to grant a satellite license under 47 C.F.R. § 25.117 is governed

by 47 U.S.C. § 402(b)(6)).

      IDA, which participated in the proceedings before the Commission, is a not-

for-profit corporation whose members face a series of harms from the Order,



1
  The Commission authorized 7,500 satellites. Order ¶ 1.
2
  The IDA filed its submission jointly with the National Resource Defense Council
(“NRDC”). However, IDA brings this appeal solely on its own behalf.
3
  Although the Commission noted that the IDA submission had been filed outside
the comment filing window, it proceeded to treat the IDA submission as a petition
filed under 47 C.F.R. § 1.1307(c). Order, n. 383.

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including a diminishment in the enjoyment of the dark sky; harm to both

professional and amateur astronomy; impairment of the cultural, religious, and

heritage significance; impairment of the natural nighttime environment; as well as

broader harms and risks to the environment including, as an example, the risks to

migrating species that use stars for navigation. IDA is thus a “person who is

aggrieved” and “whose interests are adversely affected by” the Order. See 47

U.S.C. § 402(b)(6).

      IDA seeks relief on the grounds that the Order (1) is arbitrary, capricious,

and an abuse of discretion within the meaning of the Administrative Procedure

Act; (2) violates NEPA and 47 C.F.R. § 1.1307(c); and (3) is otherwise contrary to

law and unsupported by substantial evidence. Accordingly, IDA respectfully

requests that this Court hold unlawful, vacate, enjoin, and set aside the Order, and

provide such additional relief as may be appropriate.

Dated: December 29, 2022        Respectfully Submitted,

                                /s/Charles Lee Mudd Jr.
                                Charles Lee Mudd Jr.
                                MUDD LAW
                                411 S. Sangamon Street
                                Suite 1B
                                Chicago, Illinois 60607
                                (312) 964-5051

                                Counsel for
                                The International Dark-Sky Association, Inc.




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                              EXHIBIT A
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                                               Federal Communications Commission                                                        FCC 22-91


                                                       Before the
                                            Federal Communications Commission
                                                  Washington, D.C. 20554


In the Matter of                                                            )
                                                                            )
Space Exploration Holdings, LLC                                             )          IBFS File Nos.
                                                                            )          SAT-LOA-20200526-00055 and
Request for Orbital Deployment and Operating                                )          SAT-AMD-20210818-00105
Authority for the SpaceX Gen2 NGSO                                          )
Satellite System                                                            )          Call Sign S3069




                                               ORDER AND AUTHORIZATION


Adopted: November 29, 2022                                                                                Released: December 1, 2022

By the Commission:

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I.         INTRODUCTION
         1.       In this Order and Authorization (Order), we grant in part and defer in part, with
conditions, the application of Space Exploration Holdings, LLC. (SpaceX) to construct, deploy, and
operate a constellation of 29,988 non-geostationary orbit (NGSO) satellites, to be known as its “second-
generation” Starlink constellation (Gen2 Starlink), using Ku-, Ka-, and E-band frequencies to provide
fixed-satellite service (FSS).1 Specifically, we grant SpaceX authority to construct, deploy, and operate
up to 7,500 satellites operating at altitudes of 525, 530, and 535 km and inclinations of 53, 43, and 33
degrees, respectively, using frequencies in the Ku- and Ka-band. We defer consideration of SpaceX’s
proposed use of E-band frequencies and tracking beacons. We also grant SpaceX’s request for authority
to conduct launch and early orbit phase (LEOP) operations and testing during orbit-raising, as well as
tracking, telemetry and command (TT&C) during the process of removing its satellites from orbit,
consistent with the parameters described in the application and related materials. Finally, we grant in part
and dismiss in part SpaceX’s request for various waivers. Our action will allow SpaceX to begin
deployment of Gen2 Starlink, which will bring next generation satellite broadband to Americans
nationwide, including those living and working in areas traditionally unserved or underserved by
terrestrial systems. Our action also will enable worldwide satellite broadband service, helping to close the
digital divide on a global scale. At the same time, this limited grant and associated conditions will protect
other satellite and terrestrial operators from harmful interference and maintain a safe space environment,
promoting competition and protecting spectrum and orbital resources for future use. We defer action on
the remainder of SpaceX’s application at this time.
          2.      Interested parties raised a number of significant issues in the record regarding this
application, and we have carefully considered these issues in arriving at our decision today. These issues
include, but are not limited to, orbital debris mitigation and space safety, protection of systems licensed in
previous NGSO FSS processing rounds and sharing of information with other operators, compliance with
equivalent power-flux density (EPFD) limits and other issues involving protection of geostationary
satellite orbit (GSO) space stations from harmful interference, protection of science missions using
electromagnetic spectrum, as well as various concerns that parties deem to be environmental, such as
potential atmospheric effects from launches and satellite reentries and potential effects on astronomy and
night sky observation. To address these and other issues, we require that SpaceX comply with a series of
conditions that are outlined below. To address concerns about orbital debris and space safety, we limit
this grant to 7,500 satellites only, operating at certain altitudes, and note that SpaceX has committed to
requesting modification of its previously-granted license for operations in the V-band so that it will
incorporate those V-band operations into its Starlink Gen2 system, rather than operating a separate system
in the V-band. This means our action today does not increase the total number of satellites SpaceX is
authorized to deploy, and in fact slightly reduces it, as compared to the total number of satellites SpaceX
would potentially have deployed otherwise. We also adopt requirements that require SpaceX to report
1See Space Exploration Holdings, LLC, Application for Orbital Deployment and Operating Authority for the
SpaceX Gen2 NGSO Satellite System, IBFS File No. SAT-LOA-20200526-00055 (filed May 26, 2020) (SpaceX
Gen2 Application); Space Exploration Holdings, LLC, Amendment to Pending Application for the SpaceX Gen2
NGSO Satellite System, IBFS File No. SAT-AMD-20210818-00105 (dated Aug. 18, 2021) (SpaceX Gen2
Amendment).

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mitigation actions taken to avoid collisions in space, coordinate and collaborate with NASA to ensure
continued availability of launch windows and on other matters, and pause deployment of new satellites if
satellite failures exceed a certain threshold. To address issues related to spectrum rights, interference
concerns, and competition in low-Earth orbit (LEO), we condition today’s action on SpaceX coordinating
with NGSO FSS systems licensed in certain prior processing rounds; reporting whether the International
Telecommunication Union's finding on compliance with EPFD limits takes into account all of the
relevant ITU filings for its Gen2 Starlink system combined; and for operations in certain frequency bands,
using no more than one satellite beam from any of its authorized Gen2 Starlink satellites in the same
frequency in the same or overlapping areas at a time. Finally, to address concerns about protection of
science missions, we adopt conditions and reporting requirements that will help to limit any impact on
astronomy, including limiting SpaceX’s operations to below 580 km, requiring SpaceX to continue to
coordinate and collaborate with NASA to minimize impacts to NASA’s science missions, requiring
SpaceX to coordinate with the National Science Foundation, and requiring SpaceX to coordinate with
specific observatories to protect radioastronomy operations. With these and other conditions and
limitations in place, we conclude that our action today would be in the public interest.
         3.      Accordingly, we grant-in-part and deny-in-part the Petition to Defer and Condition of
SES Americom and O3b Limited (SES/O3b),2 the Petition to Deny or Defer in Part of RS Access, LLC
(RS Access),3 and the Petition to Deny or Hold in Abeyance of Viasat Inc. (Viasat).4 In response to these
petitions, comments from the NASA and National Science Foundation (NSF), 5 and comments from
Kuiper Systems, LLC (Kuiper)6 we adopt a number of conditions. We deny the Petition to Dismiss or
Deny in Part of DISH Network Corporation (DISH).7 We dismiss the Opposition and Motion to Await
Conclusion of Pending Directly Intertwined Litigation, Motion for Consultation with Affected Agencies,
Motion for Disclosure, Motion for Certification of Suitably Comprehensive Insurance Coverage, Motion
for Certification of Indemnity, and Motion to Suspend or Revoke Licenses of The Balance Group,8 and
we dismiss the “Motion for Abeyance” filed by DISH.9


2See Petition to Defer and Condition of SES Americom and O3b Limited, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (filed Feb. 8, 2022) (SES/O3b Petition).
3See Petition to Deny or Defer in Part of RS Access, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (filed Feb. 8, 2022) (RS Access Petition).
4See Petition of Viasat, Inc., IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed
Feb. 8, 2022) (Viasat Petition).
5See Letter from Kathy Smith, Chief Counsel, National Telecommunications and Information Administration, to
Marlene H. Dortch, Secretary, FCC, IBFS File No. SAT-AMD-20210818-00105 (dated Feb. 8, 2022) (NTIA
Letter); Letter from Kathy Smith, Chief Counsel, National Telecommunications and Information Administration, to
Marlene H. Dortch, Secretary, FCC, IBFS File No. SAT-AMD-20210818-00105 (dated Mar. 10, 2022) (NTIA
March 10, 2022 Letter).
6See Comments of Kuiper Systems, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-
00105 (filed Feb. 8, 2022) (Kuiper Comments).
7See Petition to Dismiss or Deny in Part of DISH Network Corporation, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (filed Feb. 8, 2022) (DISH Petition).
8See Opposition and Motion to Await Conclusion of Pending Directly Intertwined Litigation; Motion for
Consultation with Affected Agencies; Motion for Disclosure; Motion for Certification of Suitably Comprehensive
Insurance Coverage; Motion for Certification of Indemnity; and Motion to Suspend or Revoke Licenses of The
Balance Group, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Feb. 8, 2022)
(The Balance Group Opposition).
9See Motion for Abeyance of DISH Network Corporation, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (filed Jan. 27, 2022) (DISH Motion for Abeyance).

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II.        BACKGROUND
         4.       SpaceX First Generation Starlink System. On March 28, 2018, the Commission granted
SpaceX authority to deploy and operate its first-generation NGSO satellite system comprising 4,425
satellites operating in the Ku- and Ka-bands for provision of FSS (Gen1 Starlink).10 The Commission has
since granted three license modifications for the Gen1 Starlink system,11 and a number of requests for
Special Temporary Authority (STA) for LEOP and payload testing operations and to adjust earth station
elevation angles.12 Petitions for reconsideration are pending against the SpaceX Third Modification
Order.13 On August 26, 2022, the Court of Appeals for the D.C. Circuit upheld the SpaceX Third
Modification Order.14 SpaceX has also applied for fourth and fifth modifications of its Gen1 Starlink
constellation, which are currently pending.15 As of October 2022, SpaceX has launched more than 3,500



10See Space Exploration Holdings, LLC, Application for Approval for Orbital Deployment and Operating Authority
for the SpaceX NGSO Satellite System, Memorandum Opinion, Order and Authorization, 33 FCC Rcd 3391 (2018)
(SpaceX Gen1 Authorization).
11See Space Exploration Holdings, LLC, Request for Modification of the Authorization for the SpaceX NGSO
Satellite System, Order and Authorization, 34 FCC Rcd 2526 (IB 2019) (SpaceX First Modification Order); Space
Exploration Holdings, LLC, Request for Modification of the Authorization for the SpaceX NGSO Satellite System,
Order and Authorization, 34 FCC Rcd 12307 (IB 2019) (SpaceX Second Modification Order); Space Exploration
Holdings, LLC, Request for modification of the Authorization for the SpaceX NGSO Satellite System, 36 FCC Rcd
122 (IB 2021) (SpaceX Third Modification Partial Grant); Space Exploration Holdings, LLC, Request for
Modification of the Authorization for the SpaceX NGSO Satellite System, Order and Authorization and Order on
Reconsideration, 36 FCC Rcd 7995 (2021) (SpaceX Third Modification Order).
12See, e.g., Space Exploration Holdings, LLC, Request for Special Temporary Authority, Grant Stamp, IBFS File
No. SAT-STA-20190405-00023 (granted May 9, 2019) (granting a 60-day STA to SpaceX for LEOP operations and
testing for its first tranche of Starlink satellites) and extensions: IBFS file Nos. SAT-STA-20190717-00063 (granted
Jul. 25, 2019), SAT-STA-20190815-00075 (granted Sept. 4, 2019), SAT-STA-20190917-00095 (granted Sept. 25,
2019), SAT-STA-20191018-00118 (granted Oct. 24, 2019), SAT-STA-20191118-00134 (granted Dec. 5, 2019),
SAT-STA-20191220-00151 (granted Jan. 2, 2020); Space Exploration Holdings, LLC, Request for Special
Temporary Authority, Grant Stamp, IBFS File No. SAT-STA-20190924-00098 (granted Nov. 7, 2019) (granting
SpaceX a 60-day STA for LEOP operations and testing for its second tranche of Starlink satellites) and extensions:
IBFS file nos. SAT-STA-20200103-00005 (granted Jan. 30, 2020), SAT-STA-20200207-00014 (granted Feb. 10,
2020); Space Exploration Holdings, LLC, Request for Special Temporary Authority, Grant Stamp, IBFS file no.
SAT-STA-20191231-00155 (granted-in-part and deferred in part Jan. 2, 2020, granted-in-full Jan. 17, 2020); Space
Exploration Holdings, LLC, Request for Special Temporary Authority, Grant Stamp, IBFS File No. SAT-STA-
20191230-00156 (granted March 19, 2020) (authorizing SpaceX to conduct LEOP operations and testing for all
Starlink satellites both previously launched and to be launched during the 180-day period of the STA); See also
Space Exploration Holdings, LLC, Request for Special Temporary Authority, Grant Stamp, IBFS File No. SAT-
STA-20220516-00051 (granted Aug. 3, 2022) (authorizing SpaceX to reduce its earth station elevation angles to a
minimum of 5 degrees in regions above 53 degrees latitude to maximize service while SpaceX builds out the polar
regions of its Gen1 Starlink Constellation). We note that the Commission granted SpaceX authority to conduct
LEOP and payload testing operations on an ongoing basis for its Gen1 Starlink system in the SpaceX Third
Modification Order. See SpaceX Third Modification Order, 36 FCC Rcd at 8034-35, 8049, paras. 69-71, 97t.
13 See Petition for Reconsideration of SES Americom and O3b Limited, IBFS File No. SAT-MOD-20200417-00037
(filed May 27, 2021); Petition for Reconsideration of Hughes Network Systems LLC, IBFS File No. SAT-MOD-
20200417-00037 (filed May 27, 2021).
14   See Viasat, Inc. v. FCC, 47 F.4th 769 (D.C. Cir. 2022).
15See Space Exploration Holdings, LLC, Request for Modification of the Authorization for the SpaceX NGSO
Satellite System, IBFS File No. SAT-MOD-20220725-00074 (filed Jul. 25, 2022); Space Exploration Holdings,
LLC, Request for Modification of the Authorization for the SpaceX NGSO Satellite System, IBFS File No. SAT-
MOD-20220906-00100 (filed Sept. 6, 2022).

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of its Gen1 Starlink satellites.16 We also note that SpaceX holds an authorization for an additional
constellation of 7,518 very-low-Earth orbit (VLEO) Starlink satellites using V-band frequencies (V-band
Starlink).17
        5.       Processing Round. In response to several applications filed with the Commission for
operations in the Ku- and Ka- frequency bands,18 the Satellite Division initiated a processing round for
the 10.7-12.7 GHz, 12.75-13.25 GHz, 13.85-14.5 GHz, 17.7-18.6 GHz, 18.8-20.2 GHz, and 27.5-30 GHz
frequency bands by NGSO FSS systems (the 2020 Ku/Ka-band Processing Round),19 pursuant to section
25.157 of the Commission’s rules.20 These frequency bands were the subject of prior processing round
public notices and filing deadlines.21 The Satellite Division also included in this new processing round
applications and petitions to operate in the 13.8-13.85 GHz band.22 In addition to requests from New
Spectrum Satellite (New Spectrum),23 WorldVu Satellites Limited (OneWeb),24 and Kuiper,25 that were
pending prior to and listed in the public notice announcing the processing round, other companies

16See Alejandro Alcantarilla Romera, SpaceX Launches the 3,500th Starlink Satellite, NASASpaceFlight.com
(October 20, 2022), https://www.nasaspaceflight.com/2022/10/spacex-3500-starlink/.
17See Space Exploration Holdings LLC, Application for Approval for Orbital Deployment and Operating Authority
for the SpaceX V-Band NGSO System, Memorandum Opinion, Order and Authorization, 33 FCC Rcd 11434 (2018)
(SpaceX V-band Authorization). In addition to the 7,518 new satellites using V-band frequencies, the SpaceX V-
band Authorization also granted SpaceX authority to add V-band communications to its 4,408 Ku- and Ka-band
Gen1 Starlink satellites. SpaceX has not yet begun operations using V-band frequencies with its Gen1 Starlink
satellites and has not launched any of the 7,518 V-band Starlink satellites. SpaceX recently indicated its intent to
modify this license to combine the 7,518 satellites with its Gen2 Starlink license. See Letter from David Goldman,
Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 27, 2022) (SpaceX October 27,
2022 Letter).
18New Spectrum Satellite (New Spectrum), IBFS File No. SAT-PDR-20170726-00111 (Call Sign S3019), WorldVu
Satellites Limited (OneWeb), IBFS File No. SAT-MOD-20180319-00022 (Call Sign S2963), and Kuiper Systems
LLC (Kuiper), IBFS File No. SAT-LOA-20190704-00057 (Call Sign S3051).
19See Cut-Off Established for Additional NGSO FSS Applications or Petitions for Operations in the 10.7-12.7 GHz,
12.75-13.25 GHz, 13.8-14.5 GHz, 17.7-18.6 GHz, 18.8-20.2 GHz, And 27.5-30 GHz Bands, Satellite Policy Branch
Information, Report No. SPB-279, DA 20-325 (rel. March 24, 2020) (2020 Ku/Ka-band Processing Round Public
Notice).
20   47 CFR § 25.157.
21See OneWeb Petition Accepted for Filing; Cut-Off Established for Additional NGSO-Like Satellite Applications or
Petitions in the 10.7-12.7 GHz, 14.0-14.5 GHz, 17.8-18.6 GHz, 18.8-19.3 GHz, 27.5-28.35 GHz, 28.35-29.1 GHz,
and 29.5-30.0 GHz Bands, Public Notice, 31 FCC Rcd 7666 (rel. Jul. 15, 2016) (establishing a cut off deadline of
Nov. 15, 2016 for additional applications and petitions in these bands); Satellite Policy Branch Information: Cut-Off
Established for Additional NGSO-Like Satellite Applications or Petitions for Operations in the 12.75-13.25 GHz,
13.85-14.0 GHz, 18.6-18.8 GHz, 19.3-20.2 GHz, and 29.1-29.5 GHz Bands, Public Notice, 32 FCC Rcd 4180 (rel.
May 26, 2017) (establishing a cut off deadline of July 26, 2017 for additional applications and petitions in these
bands).
22The Satellite Division previously accepted New Spectrum Satellite’s petition for market access in the 13.8-13.85
GHz band, but it made no determination as to whether a processing round would be initiated for these frequencies
and did not invite additional applications in these frequencies at that time. Satellite Policy Branch Information:
Space Station Applications Accepted for Filing, Public Notice, Report No. SAT-01251 (rel. Oct. 12, 2018). New
Spectrum's request to use the 3700-4200 MHz (space-to-Earth) and 5925-6725 MHz (Earth-to-space) frequency
bands was not accepted for filing at that time.
23   IBFS File No. SAT-PDR-20170726-00111 (Call Sign S3019).
24   IBFS File No. SAT-MOD-20180319-00022 (Call Sign S2963).
25   IBFS File No. SAT-LOA-20190704-00057 (Call Sign S3051).

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including Kepler,26 Mangata Networks LLC,27 Viasat,28 and EOS29 filed applications in response to the
initiation of the processing round.
         6.      SpaceX Gen2 Starlink Application. On May 26, 2020, SpaceX filed the instant
application as part of the 2020 Ku/Ka-band processing round.30 SpaceX requested authority to construct,
deploy, and operate 30,000 satellites at altitudes ranging from 328 km to 614 km.31 On August 18, 2021,
SpaceX amended its application to modify the configuration of Gen2 Starlink.32 In its amendment,
SpaceX specifically requested authority for one of two mutually exclusive configurations for its
satellites.33 SpaceX stated it would ultimately choose a configuration based on the readiness of its
Starship launch vehicle.34 Before the amended Gen2 Starlink application was accepted for filing, several
parties submitted letters, ex parte presentations, and comments on the record, many objecting to SpaceX’s
applying for two mutually exclusive configurations.35

26   IBFS File No. SAT-PDR-20200526-00059 (Call Sign S3070).
27   IBFS File No. SAT-PDR-20200526-00054 (Call Sign S3068).
28   IBFS File No. SAT-MPL-20200526-00056 (Call Sign S2986).
29   IBFS File No. SAT-MOD-20200526-00057, Call Sign S2982. This application was subsequently withdrawn.
30   See Generally SpaceX Gen2 Application.
31   Id. Technical Attachment at 1.
32   See generally SpaceX Gen2 Amendment.
33   Id. Narrative at 3-6.
34Id. Narrative at 3, 5. SpaceX’s preferred configuration would consist of 29,988 satellites at altitudes ranging from
340 km to 614 km and would rely on SpaceX’s Starship for launches. SpaceX’s alternative configuration would
consist of 29,996 satellites operating at altitudes ranging from 328 km to 614 km and would primarily rely on
SpaceX’s Falcon 9 rocket for deployment. Id. Narrative at 3-6. SpaceX notified the Commission on January 7,
2022, that it had chosen the first, preferred, configuration. See Letter from William M. Wiltshire, Counsel, Space
Exploration Holdings, LLC, to Karl A. Kensinger, Chief, Satellite Division, International Bureau, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105, at 2 (dated Jan. 7, 2022) (SpaceX January 7,
2022 Response to Satellite Division Information Request).
35See Ex Parte Presentation of Space Exploration Holdings, LLC, IBFS File No. SAT-LOA-20200526-00055 (filed
August 2, 2021) (SpaceX August 2, 2021 Ex Parte); Ex Parte Presentation of Kuiper Systems, LLC, IBFS File Nos.
SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Aug. 25, 2021) (Kuiper August 25, 2021 Ex
Parte); Letter from David Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene
H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated
Aug. 31, 2021) (SpaceX August 31, 2021 Letter); Letter from C. Andrew Keisner, Counsel, Kuiper Systems LLC, to
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105
(dated Sept. 8, 2021) (Kuiper September 8, 2021 Letter); Letter from David Goldman, Director, Satellite Policy,
Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 9, 2021) (SpaceX September 9, 2021 Letter); Letter
from Amy R. Mehlman, Vice President, U.S. Government Affairs and Policy, Viasat, Inc., to Marlene H. Dortch,
Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 10,
2021) (Viasat September 10, 2021 Letter); Letter from David Goldman, Director, Satellite Policy, Space Exploration
Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (dated Sept. 14, 2021) (SpaceX September 14, 2021 Letter); Letter from Amy R. Mehlman,
Vice President, U.S. Government Affairs and Policy, Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 21, 2021) (Viasat September 21,
2021 Letter); Ex Parte Presentation of Space Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (filed Sept. 22, 2021) (SpaceX September 22, 2021 Ex Parte); Letter from
Jennifer A. Manner, Senior Vice President, Regulatory Affairs, EchoStar Satellite Services LLC, to Marlene H.
Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept.
23, 2021) (Echostar/Hughes September 23, 2021 Letter); Ex Parte Presentation of Kuiper Systems LLC, IBFS File
                                                                                                     (continued….)
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         7.       On December 23, 2021, the Satellite Division found the SpaceX Gen2 Starlink
application, as amended, acceptable for filing and placed the application and amendment on public
notice.36 At the same time, the Satellite Division sent a letter requesting additional information from
SpaceX.37 SpaceX responded on January 7, 2022, and at that time notified the Commission it would be
pursuing only one of the two specified configurations for Gen2 Starlink.38 Specifically, SpaceX now
proposes to operate 29,988 satellites at altitudes ranging from 340 km to 614 km.39 Approximately two
thirds of the satellites (19,440) would be deployed in shells centered at altitudes from 340 km to 360 km
(below the International Space Station (ISS)), approximately one third (10,080) would be deployed in
shells centered at altitudes from 525 km to 535 km (above ISS and below SpaceX’s Gen1 Starlink
constellation), and 468 satellites would be deployed into retrograde inclinations in shells centered at
altitudes of 604 km and 614 km (above Gen1).40 SpaceX’s specific proposed arrangement of satellites is
set forth in the following table:
                                            Satellites
 Altitude         Inclination   Orbital     Per          Total
 (km)             (degrees)     Planes      Plane        Satellites
 340              53            48          110          5280
 345              46            48          110          5280
 350              38            48          110          5280

(Continued from previous page)
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Sept. 23, 2021) (Kuiper September 23,
2021 Ex Parte); Letter from David Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., to
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105
(dated Sept. 21, 2021)(SpaceX September 29, 2021 Letter); Letter from Jennifer A. Manner, Senior Vice President,
Regulatory Affairs, EchoStar Satellite Services LLC, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-
LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 8, 2021) (Echostar/Hughes October 8, 2021
Letter); Letter from C. Andrew Keisner, Counsel, Kuiper Systems LLC, to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 12, 2021) (Kuiper
October 12, 2021 Letter); Letter from David Goldman, Director, Satellite Policy, Space Exploration Technologies
Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated Oct. 15, 2021) (SpaceX October 15, 2021 Letter); Letter from Carlos M. Nalda, Counsel,
Eutelsat S.A., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated Oct. 22, 2021) (Eutelsat October 22, 2021 Letter); Ex Parte Presentation of Space
Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed
Nov. 10, 2021) (SpaceX November 10, 2021 Ex Parte); Letter from Suzanne Malloy, Vice President, Regulatory
Affairs, O3b Limited, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (dated Dec. 1, 2021) (SES/O3b December 1, 2021 Letter); Ex Parte Presentation of Space
Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed
Dec. 6, 2021) (SpaceX December 6, 2021 Ex Parte); Ex Parte Presentation of Hughes Network Systems, LLC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Dec. 9, 2021) (Hughes
December 9, 2021 Ex Parte); Ex Parte Presentation of Space Exploration Holdings, LLC, IBFS File Nos. SAT-
LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Dec. 20, 2021) (SpaceX December 20, 2021 Ex
Parte).
36Satellite Policy Branch Information, Space Station Applications Accepted for Filing, Report No. SAT-01598
(Dec. 23, 2021).
37See Letter from Karl A. Kensinger, Chief, Satellite Division, International Bureau, FCC, to William M. Wiltshire,
Counsel, Space Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated Dec. 23, 2021) (Satellite Division December 23, 2021 Information Request).
38See      SpaceX January 7, 2022 Response to Commission Information Request at 1.
39   See SpaceX Gen2 Amendment, Narrative at 5.
40   Id.

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 360           96.9            30        120          3600
 525           53              28        120          3360
 530           43              23        20           3360
 535           33              28        120          3360
 604           148             12        12           144
 614           115.7           18        18           324

SpaceX recently informed us that it now intends to deploy Gen2 Starlink satellites using both the Starship
and Falcon 9 launch vehicles, beginning with the three shells in the lower 500 km altitude range, followed
by the shells at lower altitudes, and finally the 604 and 614 km altitude shells.41
         8.      SpaceX proposes operations in the 10.7-12.75 GHz, 17.8-18.6 GHz, 18.8-19.3 GHz,
19.7-20.2 GHz, and 71.0-76.0 GHz (space-to-Earth) and 12.75-13.25 GHz, 14.0-14.5 GHz, 27.5-29.1
GHz, 29.5-30.0 GHz, and 81.0-86.0 GHz (Earth-to-space) frequency bands.42 SpaceX also proposes
telemetry, tracking, and command (TT&C) operations in the 12.15-12.25 GHz (space-to-Earth), 18.55-
18.60 GHz (space-to-Earth), and 13.85-14.0 GHz (Earth-to-space) frequency bands.43 SpaceX also
intends to operate tracking beacons on some of its satellites, which would communicate in the 137.00-
138.00 MHz (Earth-to-space) and 148.00-150.05 MHz (space-to-Earth) frequency bands.44 SpaceX
describes Gen2 Starlink as complementing and augmenting Gen1 Starlink.45 SpaceX intends to fully
deploy and maintain both systems, including launching replacement satellites, and Starlink user terminals
will be able to communicate with both Gen1 Starlink and Gen2 Starlink satellites.46 Additionally, SpaceX
requests various waivers of our rules, including ITU and Commission PFD limits in the Ka-band,47 the
requirement to obtain a favorable or qualified-favorable finding from the International
Telecommunication Union (ITU) prior to commencing operations,48 the requirement to conduct TT&C
operations within authorized frequency bands, preferably at the band edges,49 and to the extent necessary,
various limitations in the Commission’s Schedule S software.50
        9.       After SpaceX clarified which configuration it would pursue, Kuiper requested an
extension of the deadline for filing petitions to deny,51 which was supported by Viasat,52 and which the
41See Letter from David Goldman, Director, Space Exploration Technologies Corp., to Marlene H. Dortch,
Secretary, FCC, IBFS file Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105, at 4 (dated Aug. 19,
2022) (SpaceX August 19, 2022 Letter); Letter from David Goldman, Senior Director, Satellite Policy, Space
Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105, at 4 (dated Oct. 4, 2022) (SpaceX October 4, 2022 Letter).
42See SpaceX Gen2 Amendment, Frequencies Requested. SpaceX states it will conduct operations in the 12.7-
12.75 GHz band outside of the United States only. See SpaceX Gen2 Application, Technical Attachment at 4.
43   See SpaceX Gen2 Application, Technical Attachment at 4.
44   See SpaceX August 19, 2022 Letter at 6, n.17; SpaceX October 4, 2022 Letter at 2, Exhibit A.
45   See SpaceX January 7, 2022 Response to Satellite Division Information Request at 3.
46Id. As a separate system, the Gen2 system will need to be added as an authorized point of communication to
existing Starlink earth station licenses, through the filing of applications to modify those licenses.
47See 47 CFR § 25.146(a)(1) SpaceX originally requested a waiver of the PFD limits in the Ka-band included in
section 25.208(e), but those limits have been incorporated into section 25.146(a)(1) of the Commission’s rules.
48   See 47 CFR § 25.146(c).
49   See 47 CFR § 25.202(g)(1).
50   See SpaceX Gen2 Amendment, Waiver Requests.
51See Request of Kuiper Systems, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-
00105 (filed Jan. 10, 2022) (Kuiper January 10, 2022 Request for Extension).

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Satellite Division granted on January 13, 2022,53 extending the deadline to February 8, 2022. In the midst
of the initial comment filing period, DISH also filed a motion seeking that the proceeding be held in
abeyance pending the production of additional evidence concerning the basis for SpaceX’s certification of
compliance with Commission and ITU equivalent power flux density (EPFD) limits,54 which numerous
parties supported or opposed.55 This informal request was not acted on prior to the deadline for filing
petitions to deny, and on that deadline RS Access, DISH, SES/O3b, and Viasat filed petitions to deny or
defer.56 Kepler Communications, Inc. (Kepler); Kuiper; Broadband International Legal Action Network
(BBILAN); the Balance Group; Echostar Satellite Services, LLC and Hughes Network Systems, LLC
(Echostar/Hughes); and WorldVu Satellites LTD (OneWeb) filed comments.57 The National
Telecommunications and Information Administration (NTIA) also submitted letters on behalf of NASA


(Continued from previous page)
52 See Letter from Jarrett S. Taubman, Vice President and Deputy Chief Government Affairs and Regulatory Officer,

Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated Jan. 13, 2022) (Viasat January 13, 2022 Letter). SpaceX objected to an extension of the
filing window, given that interested parties had already had months to review SpaceX’s application. See SpaceX
January 7, 2022 Response to Satellite Division Information Request, at 2-3; Opposition of Space Exploration
Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Jan. 11, 2022)
(SpaceX January 11, 2022 Opposition to Extension Request).
53See Satellite Policy Branch Information, Actions Taken, Report No. SAT-01601 (Jan. 13, 2021). Kuiper’s request
was for a 30-day extension of the filing window. The Satellite Division extended the comment filing window by 15
days, meaning interested parties had a full 30 days after SpaceX confirmed its chosen configuration to review and
comment on SpaceX’s Gen2 Starlink application, as amended.
54   See DISH Motion for Abeyance.
55See Letter from Jarrett S. Taubman, Vice President and Deputy Chief Government Affairs and Regulatory Officer,
Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated Jan. 31, 2022) (Viasat January 31, 2022 Letter); Letter from Suzanne Malloy, Vice
President, Regulatory Affairs, O3b Limited, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Feb. 1, 2022) (SES/O3b February 1, 2022 Letter); Letter
from David Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch,
Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Feb. 2, 2022)
(SpaceX February 2, 2022 Letter); Letter from Pantelis Michalopoulos, Counsel, DISH Network Corporation, to
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105
(dated Feb. 4, 2022) (DISH February 4, 2022 Letter); Echostar/Hughes Comments; Letter from David Goldman,
Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Feb. 4, 2022) (SpaceX February 4, 2022
Letter).
56   See RS Access Petition; DISH Petition; SES/O3b Petition; Viasat Petition.
57See Kuiper Comments; The Balance Group Opposition; Comments of Kepler Communications, Inc., IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Jan. 24, 2021) (Kepler Comments);
Comments of EchoStar Satellite Services LLC. And Hughes Network Services LLC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (filed Feb. 4, 2022) (EchoStar/Hughes Comments); Comments
of Broadband International Legal Action Network, IBFS File No. SAT-LOA-20200526-00055 (filed Feb. 8, 2022)
(BBILAN Comments); Comments of WorldVu Satellites Limited, IBFS File Nos. SAT-LOA-20200526-00055 and
SAT-AMD-20210818-00105 (filed Feb. 8, 2022) (OneWeb Comments). OneWeb and SpaceX subsequently
reached a coordination agreement, and OneWeb withdrew its comments. See Letter from David Goldman, Director,
Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos.
SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Jun. 13, 2022) (SpaceX June 13, 2022 Letter);
Letter from David Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., and Kimberly M.
Baum, VP, Spectrum Engineering and Policy, WorldVu Satellites Limited, to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105, SAT-MPL-20200526-00062, SAT-
APL-20210112-00007 (dated Jul. 21, 2022) (SpaceX and OneWeb July 21, 2022 Joint Letter).

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and NSF.58 SpaceX filed a consolidated opposition.59 Echostar/Hughes, RS Access, Kepler, Viasat,
SES/O3b, DISH, and OneWeb filed replies.60 The record has remained active, and several interested
parties have continued to file comments, letters, and ex parte presentations.61


58   See NTIA Letter; NTIA March 10, 2022 Letter.
 See Opposition of Space Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
59

AMD-20210818-00105 (filed Feb. 24, 2022) (SpaceX Consolidated Opposition).
60See Reply of EchoStar Satellite Services LLC. And Hughes Network Services LLC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (filed Feb. 18, 2022) (EchoStar/Hughes Reply); Reply of RS
Access LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20200818-00105 (filed Mar. 8, 2022)
(RS Access Reply); Reply of Kepler Communications, Inc., IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (filed Mar. 8, 2022) (Kepler Reply); Reply of Kuiper Systems LLC, IBFS File Nos. SAT-
LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Mar. 3, 2022) (Kuiper Reply); Reply of Viasat, Inc.,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Mar. 8, 2022) (Viasat Reply);
Reply of SES Americom and O3b Limited, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-
00105 (filed Mar. 8, 2022) (SES/O3b Reply); Reply of DISH Network Corporation, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (filed Mar. 8, 2022) (DISH Reply); Reply of Viasat, Inc., IBFS
File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Mar. 8, 2022) (Viasat Reply); see
also Reply of WorldVu Satellites Limited, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-
00105 (filed Mar. 8, 2022) (OneWeb Reply). We note that OneWeb withdrew its reply along with its initial
comments after reaching a coordination agreement with SpaceX. See SpaceX June 13, 2022 Letter; SpaceX and
OneWeb July 21, 2022 Joint Letter.
61 See Ex Parte Presentation of DISH Network Corporation, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (filed March 18, 2022) (DISH March 18, 2022 Ex Parte); Letter from Darren McKnight,
LeoLabs, to Karl A. Kensinger, Chief, Satellite Division, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and
SAT-AMD-20210818-00105, IB Docket No. 18-313 (dated March 29, 2022) (LeoLabs March 29, 2022 Letter);
Letter from David Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H.
Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated
March 30, 2022) (SpaceX March 30, 2022 Letter); Letter from David Goldman, Director, Satellite Policy, Space
Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (dated Apr. 7, 2022) (SpaceX April 7, 2022 Letter); Letter from David
Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Apr. 8, 2022) (SpaceX April
8, 2022 Letter); Letter from Jarrett S. Taubman, Vice President and Deputy Chief, Government Affairs, Viasat, Inc.,
to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-
00105 (dated Apr. 25, 2022) (Viasat April 25, 2022 Letter); Letter from Jarrett S. Taubman, Vice President and
Deputy Chief, Government Affairs, Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated May 2, 2022) (Viasat May 2, 2022 Letter); Letter from
David Goldman, Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary,
FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated May 10, 2022) (SpaceX
May 10, 2022 Letter); Letter from Jarrett S. Taubman, Vice President and Deputy Chief, Government Affairs,
Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated May 16, 2022) (Viasat May 16, 2022 Letter); Ex Parte Presentation of Space Exploration
Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed May 18, 2022)
(SpaceX May 18, 2022 Ex Parte); Letter from Jarrett S. Taubman, Vice President and Deputy Chief, Government
Affairs, Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (dated May 18, 2022) (Viasat May 18, 2022 Letter); Ex Parte Presentation of Kuiper
Systems LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed May 24, 2022)
(Kuiper May 24, 2022 Ex Parte); Letter from Pantelis Michalopoulos, Counsel, DISH Network Corporation, to
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105
(dated June 6, 2022) (DISH June 6, 2022 Letter); Letter from Jarrett S. Taubman, Vice President and Deputy Chief,
Government Affairs, Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055, SAT-AMD-20210818-00105, and SAT-MOD-20200417-00037 (dated Jun. 7, 2022) (Viasat June 7, 2022
Letter); Ex Parte Presentation of Kuiper Systems LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
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AMD-20210818-00105 (filed Jun. 24, 2022) (Kuiper June 24, 2022 Ex Parte); Letter from David Goldman,
Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Jun. 30, 2022) (SpaceX June 30, 2022
Letter); Letter from Jameson Dempsey, Principal, Satellite Policy, Space Exploration Technologies Corp., to
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105
(dated Jul. 6, 2022) (SpaceX July 6, 2022 Letter); Letter from Jameson Dempsey, Principal, Satellite Policy, SpaceX
Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (dated Jul. 13, 2022) (SpaceX July 13, 2022 Letter); Letter from Jarrett S. Taubman, Vice
President and Deputy Chief, Government Affairs, Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Jul. 18, 2022) (Viasat July 18, 2022
Letter); Ex Parte Presentation of Space Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055
and SAT-AMD-20210818-00105 (filed Jul. 25, 2022) (SpaceX July 25, 2022 Ex Parte); Letter from Jameson
Dempsey, Principal, Satellite Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Jul. 28, 2022) (SpaceX July
28, 2022 Letter); Ex Parte Presentation of Space Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (filed Aug. 1, 2022) (SpaceX August 1, 2022 Ex Parte); Ex Parte
Presentation of Kuiper Systems, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-
00105 (filed Aug. 4, 2022) (Kuiper August 4, 2022 Ex Parte); Letter from Jarrett S. Taubman, Vice President and
Deputy Chief, Government Affairs, Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Aug. 24, 2022) (Viasat August 24, 2022 Letter); Letter
from David Goldman, Senior Director, Satellite Policy, Space Exploration Technologies Corp., to Marlene H.
Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Aug.
29, 2022) (SpaceX August 29, 2022 Letter); Ex Parte Presentation of Viasat, Inc., IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (filed Aug. 29, 2022) (Viasat August 29, 2022 Ex Parte); Ex
Parte Presentation of Kuiper Systems, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (filed Sept. 6, 2022) (Kuiper September 6, 2022 Ex Parte); Comments of the Natural Resources
Defense Counsel and International Dark Sky Association, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-
AMD-20210818-00105 (filed Sept. 7, 2022) (NRDC/IDA Comments); Letter from Professor Andy Lawrence,
Institute for Astronomy, University of Edinburgh, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-
LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 18, 2022) (Andy Lawrence September 18,
2022 Letter); Letter from Jarrett S. Taubman, Vice President and Deputy Chief, Government Affairs, Viasat, Inc., to
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105
(dated Sept. 19, 2022) (Viasat September 19, 2022 Letter); Letter from Jameson Dempsey, Principal, Satellite
Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 21, 2022) (SpaceX September 21, 2022 Letter);
Letter from Mark Phillips, President, the Astronomical Society of Edinburgh, to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 23, 2022) (The
Astronomical Society of Edinburgh September 23, 2022 Letter); Letter from Sierra Solter Hunt, PhD Candidate in
Plasma Physics, University of Iceland, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (dated Sept. 23, 2022) (Sierra Solter Hunt September 23, 2022 Letter);
Letter from Pantelis Michalopoulos, Counsel, DISH Network Corporation, to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 23, 2022) (DISH
September 23, 2022 Letter); Letter from Tyler Kokjohn, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos.
SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 26, 2022) (Tyler Kokjohn September 26,
2022 Letter); Letter from Samantha Lawler, Assistant Professor for Astronomy, University of Regina, to Marlene H.
Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept.
30, 2022) (Samantha Lawler September 30, 2022 Letter); Letter from Carrie Nugent, Associate Professor of
Computational Physics and Planetary Science, Olin College of Engineering, to Marlene H. Dortch, Secretary, FCC,
IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Sept. 30, 2022) (Carrie Nugent
September 30, 2022 Letter); Letter from Jarrett S. Taubman, Vice President and Deputy Chief, Government Affairs,
Viasat, Inc., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-
20210818-00105 (dated Oct. 4, 2022) (Viasat October 4, 2022 Letter); Letter from Meredith Rawls, University of
Washington Department of Astronomy, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 5, 2022) (Meredith Rawls October 5, 2022 Letter);
Letter from Roberto Trotta, Imperial College London and International School for aDvanced Study, Trieste, Italy, to
                                                                                                      (continued….)
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III.    DISCUSSION


(Continued from previous page)
Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00055
(dated Oct. 6, 2022) (Roberto Trotta October 6, 2022 Letter); Letter from David Goldman, Senior Director, Satellite
Policy, Space Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 6, 2022) (SpaceX October 6, 2022 Letter); Letter
from Cameron Nelson, Tenzing Startup Consultants, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-
LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 10, 2022) (Cameron Nelson October 10, 2022
Letter); Letter from Graeme Cuffy to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (dated Oct. 11, 2022) (Graeme Cuffy October 11, 2022 Letter); Letter from
Jarrett S. Taubman, Vice President and Deputy Chief, Government Affairs, Viasat, Inc., to Marlene H. Dortch,
Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 13,
2022) (Viasat October 13, 2022 Letter); letter from Jennifer A. Manner, Senior Vice President, Regulatory Affairs,
Echostar Satellite Services LLC. and Hughes Network Systems LLC, Jeff Blum, Executive Vice President,
Legislative and Regulatory Affairs, DISH Network Corporation, Stacy Fuller, Senior Vice President, External
Affairs, DIRECTV LLC, Jarrett S. Taubman, VP and Deputy Chief Government Affairs, Viasat, Inc., Donna
Bethea-Murthy, Senior Vice President, Global Regulatory Affairs, Inmarsat, Inc., to Marlene H. Dortch, Secretary,
FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 14, 2022) (GSO
Operators October 14, 2022 Letter); Letter from David Goldman, Senior Director, Satellite Policy, Space
Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (dated Oct. 17, 2022) (SpaceX October 17, 2022 Letter); Letter from
Jameson Dempsey, Principal, Satellite Policy, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-
20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 20, 2022) (SpaceX October 20, 2022 Letter); Letter
from Jameson Dempsey, Principal, Satellite Policy, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-
LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 24, 2022) (SpaceX October 24, 2022 Letter);
Letter from Melissa Shipp, to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and
SAT-AMD-20210818-00105 (dated Oct. 26, 2022) (Melissa Shipp October 26, 2022 Letter); SpaceX October 27,
2022 Letter; Letter from Pantelis Michalopoulos, Counsel, DISH Network Corporation, to Marlene H. Dortch,
Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Oct. 27,
2022) (DISH October 27, 2022 Letter); Letter from David Goldman, Senior Director, Satellite Policy, Space
Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (dated Oct. 27, 2022) (SpaceX October 27, 2022 Letter); Letter from
Pantelis Michalopoulos, Counsel, DISH Network Corporation, to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Nov. 4, 2022) (DISH November 4, 2022
Letter); Letter from Jarrett S. Taubman, VP and Deputy Chief Government Affairs, Viasat, Inc., to Marlene H.
Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Nov.
7, 2022) (Viasat November 7, 2022 Letter); Letter from David Goldman, Senior Director, Satellite Policy, Space
Exploration Technologies Corp., to Marlene H. Dortch, Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-
00055 and SAT-AMD-20210818-00105 (dated Nov. 10, 2022) (SpaceX November 10, 2022 Letter); Letter from
Professor Mike Edmunds, President, Royal Astronomical Society, to Marlene H. Dortch, Secretary, FCC, IBFS File
Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Nov. 10, 2022) (RAS November 10,
2022 Letter); Letter from Pantelis Michalopoulos, Counsel, DISH Network Corporation, to Marlene H. Dortch,
Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (dated Nov. 16,
2022) (DISH November 16, 2022 Letter); Ex Parte Presentation of Echostar Satellite Services LLC. and Hughes
Network Systems LLC, DISH Network Corporation, DIRECTV LLC, Viasat, Inc., Inmarsat, Inc., IBFS File Nos.
SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed Nov. 17, 2022) (GSO Operators November 17,
2022 Ex Parte); Letter from Michael J. Carlson, Corporate Counsel, Kuiper Systems LLC., to Marlene H. Dortch,
Secretary, FCC, IBFS File Nos. SAT-LOA-20200526-00055, SAT-AMD-20210818-00105, and SAT-LOA-
20170301-00027 (dated Nov. 17, 2022) (Kuiper November 17, 2022 Letter); Ex Parte Presentation of Space
Exploration Holdings, LLC, IBFS File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105 (filed
Nov. 17, 2022) (SpaceX November 17, 2022 Ex Parte); Letter from David Goldman, Director, Satellite Policy,
Space Exploration Technologies Corp. to Marlene H. Dortch, Secretary, FCC (dated Nov. 24, 2021); Letter from
Pantelis Michalopoulos, Counsel to DISH Network Corporation to Marlene H. Dortch, Secretary, FCC (dated Nov.
28, 2022) (DISH November 28, 2022 Letter).

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        10.      After our review of the record, we conclude that granting in part the SpaceX Gen2
Starlink application, as amended, subject to the requirements and conditions specified herein, will serve
the public interest. Below, we address the various outstanding issues raised by commenters on SpaceX’s
application. Where appropriate we defer matters of general applicability to ongoing or potential future
rulemakings.
           A.       Procedural Matters
          11.     Status of amendment. Our satellite licensing rules require that a major amendment to an
existing application be treated as a newly filed application, which would necessitate the opening of or
consideration in a new processing round.62 An amendment is considered major if it would increase the
potential for interference, change the frequencies to be used or the orbital location of the satellites, require
the application to be reviewed under the National Environmental Policy Act (NEPA), or if it is deemed by
the Bureau to be substantial under section 309 of the Communications Act.63 SpaceX states that its
amendment, filed after the deadline for the 2020 Ku/Ka-band processing round, will not cause any
additional interference as compared to its original application and is therefore a minor amendment.64
SpaceX also argues that in the event of an in-line interference event, the large number of Gen2 Starlink
satellites will provide flexibility to avoid interference while continuing service to customers, by utilizing
other non-interfering or interference-free Starlink satellites.65 Several operators, however, argue that
SpaceX’s amendment may be major under our rules because it could cause additional interference to
satellite and terrestrial operators due to its increased power levels, its proposed decrease in elevation
angles in the Ku-band, and its proposed effective number of co-frequency, co-polarization satellite beams
communicating with any given location on the Earth’s surface across Gen1 Starlink and Gen2 Starlink
combined.66 With the conditions we impose herein, we find SpaceX’s amendment to be minor, as their
operations will not cause increased interference to other operators.67
           12.    Unbuilt system rule. Our rules state that applicants holding an authorization for one
licensed-but-unbuilt NGSO-like satellite system in a particular frequency band will not be permitted to
apply for another NGSO-like satellite system in that frequency band.68 In its December 23, 2021 letter,
the Satellite Division requested SpaceX address the applicability of this rule to Gen2 Starlink, noting that
it would use the same frequencies as Gen1 Starlink and that at the time of the Satellite Division’s
information request SpaceX had neither completed deployment of Gen1 Starlink nor deployed half of its
satellites in accordance with Commission milestone requirements.69 In response, SpaceX quotes the
Commission’s reasoning in adopting the Unbuilt System Rule, arguing that the Commission clarified that
it would not accept “applications from entities with more than one pending application for an NGSO-like
system, or more than one NGSO system where no satellites have been launched, in any frequency band,”
and so as long as an operator had launched one satellite in its constellation, the system is considered
62   See 47 CFR § 25.116(c).
63   See 47 CFR § 25.116(b).
64See SpaceX Amendment, Narrative at 6-7, Technical Attachment, Annex 2A, at Figures A2A-I.1 and A2A-V.2;
SpaceX Consolidated Opposition, at 35.
65   See SpaceX Amendment, Narrative at 6-7.
66See Kuiper Reply at 20; RS Access Reply at 6; DISH September 23, 2022 Letter at 10. We also note that, before
SpaceX filed its Consolidated Opposition, which included its EPFD analysis, DISH, Viasat, and Echostar/Hughes
argued that with no EPFD analysis from SpaceX, it was impossible to evaluate whether the amendment was major
or minor—not even SpaceX could be certain it is a minor amendment. See DISH Petition at 11; Viasat Petition at
18-19; Echostar/Hughes Reply at 2.
67   We consider the application of NEPA to this application below.
68   See 47 CFR § 25.159(b).
69   See Satellite Division December 23, 2021 Information Request at 1-2.

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built.70 SpaceX argues that because it had launched more than 1,900 satellites in its Gen1 system as of
January 2022, its system is not “unbuilt.”71
         13.      Several commenters argue that the unbuilt system rule should be interpreted consistent
with milestone requirements, so that a licensee must deploy at least half of a system before its application
for a second system in the same frequency bands can be submitted.72 We agree that the purpose of the
Unbuilt System Rule is to discourage speculative applications, but find that even when examining
SpaceX’s deployment beyond the first Gen1 Starlink satellite, there would be no reasonable basis for a
concern with speculation. When SpaceX filed its Gen2 Starlink application in May 2020, it had launched
roughly 420 Gen1 Starlink satellites, nearly one tenth of the 4,408 satellites in its modified authorization.
At that time, SpaceX was launching satellites on a monthly basis with plans for that cadence to become
more frequent. Moreover, at the time that the application was accepted for filing, SpaceX had launched
more than 1900 satellites and was by then launching on average every week to two weeks. In any event,
we find that it is not necessary to waive the unbuilt system rule, as SpaceX has demonstrated that its Gen1
Starlink constellation can be considered “built” for purposes of that provision and is not speculative.
         14.     With respect to objections that SpaceX should have submitted the instant request as an
application for modification of its Gen1 Starlink system,73 we see no basis for requiring filing in this
format. SpaceX seeks to launch nearly 30,000 additional satellites with a significantly different design
from its Gen1 Starlink satellites, and therefore submitting the application so as to treat it as a separate
request is consistent with the underlying facts of the planned deployment.
          15.     Technically-identical replacements. Viasat argues that SpaceX has not provided enough
information about the physical and technical characteristics of its Gen2 Starlink satellites to give the
Commission a baseline on which to evaluate if replacements are technically identical for purposes of a
Commission rule that permits launch of such satellites.74 Viasat argues that SpaceX must provide the
number of beams on each satellite, number of channels per beam, number of co-frequency reuses per
satellite, and satellite and earth station antenna masks, especially regarding sidelobes, along with satellite
mass and cross-sectional area.75 Viasat stresses that this information is crucial for the Commission to
have and review prior to any grant of authority for the Gen2 Starlink system.76
        16.     SpaceX subsequently provided the physical characteristics and associated factual material
such as sample logs from NASA’s Debris Assessment Software (DAS) for the current designs of its Gen2


70See SpaceX January 7, 2022 Response to Satellite Division Information Request at 3, 4 (quoting Amendment of the
Commission's Space Station Licensing Rules and Policies, 18 FCC Rcd 10760, para. 233 (2003)); SpaceX Consolidated
Opposition at 58-65. SpaceX argues that for NGSO systems deployed over a series of launches, it cannot be considered
unbuilt if it has begun launches. SpaceX also notes that it is providing service to paying customers, so its system cannot
be unbuilt. See SpaceX Consolidated Opposition at 62-63.
71See SpaceX January 7, 2022 Response to Satellite Division Information Request at 3, 4 (quoting Amendment of the
Commission's Space Station Licensing Rules and Policies, 18 FCC Rcd 10760, para. 233 (2003)); SpaceX Consolidated
Opposition at 58-65.
72See RS Access Petition at 1, 3-6; Echostar/Hughes Reply at 2 (citing 47 CFR § 25.164(b)); RS Access Reply at 7-
10. RS Access argues that since both the Unbuilt System Rule and the milestone requirements are meant to
discourage speculative applications and prevent spectrum warehousing, the two rules should be interpreted in
tandem.
73   See Viasat Petition at 70-71; Viasat Reply at 59-62; RS Access Reply at 9-10.
74   See Viasat Petition at 19 (citing 47 CFR § 25.113(i)).
75   Id.; Viasat Reply at V, 23.
 See Viasat Petition at 19. Viasat argues this is particularly true because, according to Viasat, SpaceX has
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modified its satellite design in the past without informing the Commission.

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Starlink satellites.77 This information was sufficient for us to complete our review of the application and
forms the basis for our grant of authority for SpaceX to construct, deploy, and operate satellites, including
technically identical replacement satellites for the Gen2 Starlink system.78 We remind SpaceX that
should it wish to change these characteristics on its satellites, it will need to apply for a license
modification, and we condition this authorization as we conditioned the SpaceX Third Modification
Order: SpaceX must operate consistent with the technical specifications provided to the Commission as
part of its application, including any supplemental specifications. The relevant technical information
includes antenna beam patterns; GSO avoidance angle; physical characteristics; frequencies used for
satellite communications, including outside the United States; and other technical information. Should
SpaceX wish to alter these technical specifications, it must apply for a license modification from the
Commission.
        17.      Ongoing litigation. As part of its opposition and motions, The Balance Group filed a
motion “to await conclusion of pending directly intertwined litigation.”79 The Balance Group argues the
record for SpaceX’s third modification of its Gen1 Starlink system is still open, and this record has made
clear SpaceX’s Gen1 Starlink constellation will “brighten and alter the night sky” from sunlight reflected
from satellites, which will have major impacts to the environment, animal migration, human health, and
astronomical observation.80 On August 26, 2022, the D.C. Circuit upheld the Commission’s decision in
the SpaceX Third Modification Order, resolving the ongoing litigation.81 We therefore dismiss The
Balance Group’s motion as moot.
         18.     Partial grant. On June 24, 2022, Kuiper filed an ex parte presentation in which it noted
both complicated issues raised in the record and SpaceX’s goal to help close the digital divide, and
therefore recommended that the Commission grant SpaceX’s Gen2 Starlink constellation in part and defer
in part.82 Kuiper points out that many of the concerns with SpaceX’s application, as amended, stem from
the sheer size of its proposed constellation, including the concerns about space safety, interference into
other NGSO systems, and EPFD emissions.83 Kuiper argues a partial grant would allow SpaceX to begin
deploying its Gen2 Starlink system without the severe impacts other operators fear coming to pass, while
the Commission continues to evaluate the complex and novel issues on the record before it.84 Kuiper
suggests this approach would be similar to the Commission’s approach with the Gen1 system, where it
provided SpaceX a partial grant for ten satellites to allow SpaceX to begin deploying its satellites while
consideration of the record continued.85 In this instance, Kuiper recommends that the Commission grant
SpaceX authority to deploy the satellites included in one of its eighteen ITU filings, with appropriate
conditions to protect other operators and space safety.86 Professor Andy Lawrence also argues that any

77   See SpaceX October 4, 2022 Letter, Exhibit B.
78   See 47 CFR § 25.113(i).
79   See The Balance Group Opposition at 1.
80Id.   at 3-4.
81   See Viasat, Inc. v. FCC, 47 F.4th 769 (D.C. Cir. 2022).
82   See Kuiper June 24, 2022 Ex Parte at 1-2; Kuiper August 4, 2022 Ex Parte at 1.
83   See Kuiper June 24, 2022 Ex Parte at 2; Kuiper August 4, 2022 Ex Parte at 2.
84   See Kuiper June 24, 2022 Ex Parte at 1-2; Kuiper September 6, 2022 Ex Parte at 1-2.
85   See Kuiper June 24, 2022 Ex Parte at 3-4.
86See Kuiper June 24, 2022 Ex Parte at 4; Kuiper August 4, 2022 Ex Parte at 2. Kuiper’s proposed conditions
include requiring SpaceX to protect participants in earlier processing rounds, requiring SpaceX to share its beam-
pointing information, limiting SpaceX’s operations to at or below 580 km, and both denying SpaceX’s waiver
request to begin operations prior to obtaining an ITU filing and requiring SpaceX to specify that its entire
constellation will jointly comply with the ITU and Commission applicable EPFD limits. Kuiper states that the
Commission should apply these conditions to grant of any subset of SpaceX’s Gen2 Starlink satellites. See Kuiper
                                                                                                        (continued….)
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authorization of SpaceX’s proposed Gen2 Starlink constellation should happen incrementally to assess the
impact on astronomy and the space ecosystem.87
         19.      We find a partial grant for 7,500 satellites is in the public interest, as conditioned in this
Order. This action will allow SpaceX to begin deployment of its Gen2 Starlink satellites, which hold the
prospect for improved broadband to unserved and underserved regions of the United States and
worldwide. The satellites will incorporate updated technology that will improve overall Starlink system
capacity. We note the specific subset of 7,500 satellites we authorize today, which may be deployed at
altitudes of 525 km, 530 km, and 535 km, will also result in deferral of consideration of SpaceX’s
proposed satellites at lower and higher altitudes, for which some parties have raised concerns that are
unique to the particular orbits involved. The smaller number of satellites will allow continued monitoring
of deployment based on conditions adopted in this Order, prior to consideration of the much larger
number of satellites SpaceX requests over the long term. We also note that SpaceX recently notified the
Commission that following issuance of a Gen2 Starlink license, it intends to seek a modification of its V-
band authorization to harmonize the orbital parameters of those V-band space stations with those
requested in the Gen2 Starlink application and operate them using additional radio equipment to be added
to a subset of SpaceX’s proposed Gen2 Starlink satellites, and not as separate spacecraft.88 SpaceX states
that this modification will not increase, and may slightly reduce, the number of V-band space stations.89
Given this information, we note that, including its 4,408 Gen1 Starlink satellites and the 7,500 Gen2
Starlink satellites authorized today and not counting the 7,518 V-band satellites SpaceX no longer intends
to launch, the total number of satellites SpaceX is authorized to deploy is not increased by our action
today, and in fact is slightly reduced, as compared to the total number of satellites SpaceX would
potentially have deployed absent today’s action. We also note that the Commission has on a number of
occasions granted authority for constellation deployments in smaller, incremental tranches.90 Here, the
public interest would be served by taking this approach in order to permit monitoring of developments
involving this large-scale deployment and permit additional consideration of issues unique to the other
orbits SpaceX requests.91 We therefore authorize the launch of up to 7,500 satellites in the three shells
SpaceX plans to populate first, 525 km, 530 km, and 535 km.
             B.       Public Interest Analysis
         20.     According to SpaceX, the Gen2 Starlink constellation will provide faster speeds, lower
latency, more backhaul capacity, and the ability to serve more customers.92 SpaceX states the Starship
launch vehicle will carry more satellites and place them in a way that allows for faster activation, and the
Gen2 Starlink constellation will build upon the Gen1 Starlink constellation by arranging satellites in a
manner to maximize capacity and bring satellite broadband connectivity to unserved and underserved
areas of the United States and worldwide, including areas long thought to be impossible to serve and areas

(Continued from previous page)
June 24, 2022 Ex Parte at 2-3; Kuiper August 4, 2022 Ex Parte at 2-4. We discuss these proposed conditions in
greater detail below.
87   See Andy Lawrence September 18, 2022 Letter at 2.
88 See     SpaceX October 27, 2022 Letter at 2.
89   Id.
90   See, e.g., Spire, Hawkeye 360.
91 See generally SpaceX Third Modification Partial Grant, 36 FCC Rcd 122 (IB 2021)(granting SpaceX authority to
deploy ten satellites to modified operational altitudes while the Commission continued to consider the more complex
issues raised on the record of the third SpaceX modification of its Gen1 Starlink system).
92See SpaceX August 2, 2021 Ex Parte Attachment at 3; SpaceX September 22, 2021 Ex Parte at 1; SpaceX
November 10, 2021 Ex parte Attachment at 3; SpaceX December 6, 2021 Ex Parte at 1; SpaceX December 20, 2021
Ex Parte at 1; SpaceX Consolidated Opposition at I, 3; SpaceX May 18, 2022 Ex Parte at 1.

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facing natural or manmade disasters.93 SpaceX aims for its Gen2 Starlink constellation to help close the
homework gap, facilitate telework and telehealth, improve precision agriculture technology, and support
first responders and national security needs.94 Viasat asserts that the sheer size of the proposed Gen2
Starlink constellation raises a number of substantial risks to competition, the interference environment,
space safety, and the human environment that the Commission must consider when evaluating whether a
grant of the Gen2 Starlink application, as amended, is in the public interest.95 Viasat alleges that granting
the Gen2 Starlink constellation would be contrary to the public interest because it would foreclose
competition,96 by precluding other operators’ access to shared spectrum97 and orbital resources.98 Viasat
states that SpaceX would also have no incentives to share spectrum or orbital resources with other
operators because it will have significant leverage in negotiations with other operators.99 SpaceX argues
that it has demonstrated in its application, as amended, that its Gen2 Starlink constellation will maintain
safe space, protect other operators, and minimize its impact on the human environment.100 Furthermore,

93 See SpaceX Amendment, Narrative at 1-2; SpaceX Consolidated Opposition at I, 3; SpaceX April 7, 2022 Letter
at 1; SpaceX May 18, 2022 Ex Parte at 1.
94   See SpaceX Amendment, Narrative at 8; SpaceX Consolidated Opposition at I, 3.
95See Viasat Petition at I, V, 2-4; Viasat Reply at 1; Viasat May 16, 2022 Letter at 1. Viasat points out that the
Commission recognized these risks when authorizing SpaceX’s much smaller third modification of its Gen1 Starlink
constellation, but the Commission granted that modification based on assumptions about and continued monitoring
of SpaceX’s real-world performance. In this case, Viasat maintains the Commission cannot assume away these risks
to the public interest, and so the Commission should defer consideration of Gen2 Starlink at the very least until
SpaceX has completed deployment of Gen1 Starlink. See Viasat Petition at I, V, 2-4; Viasat Reply at 2.
96   See Viasat Petition at I, 2, 4-12; Viasat Reply at I, 2-9; Viasat May 16, 2022 Letter at 1, 3-4, n.15.
97 See Viasat Petition at I-II, 4-9; Viasat Reply at III, 2-3. Viasat’s argument is that SpaceX would foreclose access
to shared spectrum from other operators because SpaceX’s system will cause interference to smaller systems 100%
of the time, which would trigger band-splitting between the operators, causing loss of capacity for the smaller
operators while SpaceX would be unaffected because of its vast number of satellites and consequent ability to
choose other satellites to avoid the same loss of capacity. Viasat states the problems stem from specific traits of the
Gen2 Starlink constellation, including the colossal number of satellites and their configuration, not, as SpaceX
argues, the Commission’s sharing rules in general. See Viasat Reply at 4. Viasat further argues that the public
interest harms Gen2 Starlink would cause would also directly contradict the goals of section 25.261: to allow equal
access to available spectrum, to foster an environment where no licensee can impede the operations of any other
licensee and to allow multiple operators to use the full bandwidth of spectrum for a majority of operating time.
According to Viasat, Gen2 Starlink would prevent smaller operators from accessing spectrum on equal terms with
SpaceX, limiting that access to a fraction of the available operating time, and allowing SpaceX to impede other
operators’ access to spectrum. See Viasat Reply at 4-5 (citing The Establishment of Policies and Service Rules for
the Non-Geostationary Satellite Orbit, Fixed Satellite Service in the Ku-Band, 17 FCC Rcd 7841, at para. 27, 29
(2002)).
98See Viasat Petition at I-II, 10-12; Viasat Reply at III, 6-7. Viasat alleges the size of SpaceX’s proposed Gen2
Starlink constellation would effectively preclude 86 percent of the altitudes between 360 km and 700 km for other
use, and other operators would not be able to access LEO without SpaceX’s permission. Viasat states this is not
solely because of the sheer number of satellites, but also because of SpaceX’s proposed orbital tolerances of -50 km
and +70 km, which Viasat argues are overly wide and effectively create two vast shells of Gen2 Starlink satellites,
one from 290 km to 430 km and the other from 475 km to 684 km. See Viasat Petition at 11; Viasat Reply at III, 6-
7. Viasat further argues the Commission recognized in the SpaceX Third Modification Order that it will be difficult
for SpaceX to share orbital resources with other operators, and so it restricted SpaceX’s operations to below 580 km
to avoid overlap with Kuiper’s constellation, and now the Commission is evaluating deployment of more than ten
times the number of satellites at issue in the SpaceX Third Modification Order. See Viasat Petition at 12; Viasat
Reply at 7-8.
99   See Viasat Petition at I-II, 4—10, 12.
  See SpaceX Consolidated Opposition at 39-43; SpaceX May 18, 2022 Ex Parte at 1. SpaceX points to the
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Commission’s finding in the SpaceX Third Modification Order that other operators would be able to share LEO with
                                                                                                   (continued….)
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SpaceX argues the Gen2 Starlink constellation will be a pro-competitive force in the American market.101
SpaceX states Gen2 Starlink will complement Gen1 Starlink in the same way terrestrial operators densify
their networks, to better meet American consumers’ needs.102
         21.      We address the specific issues raised by the parties to this proceeding below. We
conclude that a partial grant of the application, subject to conditions, will effectively facilitate SpaceX’s
efforts to deploy satellites with next generation capabilities that will help to address the pressing need for
improved broadband connectivity, including in unserved and underserved areas of the United States,
while not materially changing the total number of satellites authorized to SpaceX. Our action also will
further the US leadership in space-based services, facilitating coverage globally and helping the efforts to
close the digital divide around the world.
            C.        Waiver Requests
                      1.     Standard of Review
        22.      As part of our grant, we also address SpaceX’s waiver requests. Generally, the
Commission may waive any rule for good cause shown.103 Waiver is appropriate where the particular
facts make strict compliance inconsistent with the public interest.104 In making this determination, we
may take into account considerations of hardship, equity, or more effective implementation of overall
policy on an individual basis.105 Waiver is therefore appropriate if special circumstances warrant a
deviation from the general rule and such deviation will serve the public interest.106
                      2.     Request for Waiver of In-Band TT&C Requirement
         23.      We grant SpaceX’s request for waiver of our rules in order to permit TT&C operations in
the 13.85-14.0 GHz band, as conditioned. Our rules require that TT&C signals be transmitted within
frequency bands assigned for regular communications, preferably at the band edges.107 We find that grant
of this waiver is warranted. First, the requested band is immediately adjacent to the 14.0-14.5 GHz band
used by the SpaceX system for user terminal uplink transmissions; second, SpaceX anticipates that it will
provide TT&C from only two locations in the United States (on the East and West Coasts respectively);
and third, SpaceX will comply with the requirements of footnotes to both the U.S. and international
frequency allocation tables pertaining to this band,108 and will not claim protection from radiolocation

(Continued from previous page)
SpaceX’s Gen1 Starlink system and argues that the same is true for its Gen2 Starlink system. SpaceX also argues
that several other operators have deployed satellites in altitudes similar to the Gen1 Starlink constellation, and many
other operators have filed applications to deploy NGSO satellites to similar orbits, even after SpaceX filed its Gen2
Starlink application, and so SpaceX’s application has demonstrably not foreclosed access to orbital resources or
competition. SpaceX points out that it has not opposed other applications for systems in similar orbits and has in
fact supported several other applications, and SpaceX argues that it does not have a veto power in the Commission’s
satellite licensing process. See SpaceX Consolidated Opposition at 39-41 (citing SpaceX Third Modification Order,
36 FCC Rcd at 8032-33, para. 66).
101   See SpaceX Consolidated Opposition at 39-43.
102   Id. at 39.
103   47 CFR § 1.3.
104   Northeast Cellular Tel. Co. v. FCC, 897 F.2d 1164, 1166 (D.C. Cir. 1990).
  WAIT Radio v. FCC, 418 F.2d 1153, 1159 (D.C. Cir. 1969), cert. denied, 409 U.S. 1027 (1972); Northeast
105

Cellular, 897 F.2d at 1166.
106   Northeast Cellular, 897 F.2d at 1166.
107   See 47 CFR § 25.202 (g)(1).
108   See 47 CFR § 2.106, fns. 5.502 and US356.

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transmitting stations operating in accordance with the U.S. Table of Frequency Allocations.109
Furthermore, we note that while the Commission has restricted FSS deployment in the 13.75-14.0 GHz
band to gateways only, it has specifically defined gateways to include TT&C operations.110
                    3.       Request for Waiver of Downlink PFD Limits and Associated Certification
                             Requirement
         24.     SpaceX states that Gen2 Starlink does not comply with the Ka-band power flux-density
(PFD) limits using the interference calculation methodology applied in the rule, which is in turn based on
provisions incorporated by reference from the ITU Radio Regulations.111 SpaceX states that it is not able
to certify that Gen2 Starlink will comply with the ITU PFD limits governing NGSO FSS systems in the
17.7-19.3 GHz band.112 SpaceX states that, as with its Gen1 Starlink constellation, the ITU methodology
for establishing the Ka-band PFD limits in these bands was not developed with a capability to scale up for
application to dynamically controlled NGSO constellations with more than 840 satellites.113 In the
SpaceX Gen1Starlink Authorization, the Commission imposed a condition under which SpaceX must
provide a technical showing demonstrating that its operation will protect an FS station with the
characteristics described in Recommendation ITU-R SF.1483.114 We found that SpaceX satisfied this
requirement in the SpaceX Third Modification Order.115 To that end, in this proceeding, SpaceX has
submitted a technical showing with respect to the Gen2 Starlink System and protection of FS stations.116
We find that SpaceX’s technical showing demonstrates it will protect a terrestrial FS station in the Ka-
band with the characteristics described in Recommendation ITU-R SF.1483. In view of this technical
showing, we find that it would serve the public interest to grant the waiver.
                    4.       Request for Waiver of Various Limitations in the Schedule S Software
        25.      As required by the Commission’s rules,117 SpaceX has submitted with its application a
completed Schedule S, which contains certain technical information in a prescribed form. However,
SpaceX has found that it cannot accurately describe its system in certain respects due to limitations in
Schedule S itself.118 SpaceX cites six aspects of the Gen2 System that fall into this category: (1) the
impracticability of submitting complete orbital parameter data for the Gen2 System using the Schedule S

109   See SpaceX Gen2 Amendment, Waiver Requests at 1-2.
110See Amendments of Parts 2 and 25 of the Commission’s Rules to Permit Operation of NGSO FSS Systems Co-
Frequency with GSO and Terrestrial Systems in the Ku-Band Frequency Range, 16 FCC Rcd 4096, para. 29 (2000)
(Ku-Band NGSO Order); 47 CFR § 25.103 (definition provides that an “NGSO FSS gateway earth station may also
be used for telemetry, tracking, and command transmissions and is not for the exclusive use of any customer.”).
111   See SpaceX Gen2 Amendment, Waiver Requests at 2. See also 47 CFR 25.146 (a)(1), which states:
            “(a) An NGSO FSS applicant proposing to operate in the 10.7-30 GHz frequency range must certify that it
            will comply with:
                     (1) Any applicable power flux-density levels in Article 21, Section V, Table 21-4 of the ITU
            Radio Regulations (incorporated by reference, § 25.108), except that in the 19.3-19.4 GHz and 19.6-19.7
            GHz bands applicants must certify that they will comply with the ITU PFD limits governing NGSO FSS
            systems in the 17.7-19.3 GHz band.”
112   See SpaceX Gen2 Amendment, Waiver Requests at 2.
113   Id. at 2-3.
114   Id. at 3. See also SpaceX Gen1 Authorization, 33 FCC Rcd at 3405, para. 35.
115   See SpaceX Third Modification Order, 36 FCC Rcd at 8026, para. 52.
116   See SpaceX Gen2 Amendment, Waiver Requests at 3. Technical Attachment, Annex 1 at A1-A10.
117   See 47 CFR § 25.114(a)(1).
118   See SpaceX Gen2 Amendment, Waiver Requests at 5-7.

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web form; (2) the inability to enter “not applicable” under the section 25.114(c)(4)(v) request for
maximum and minimum Saturation Flux Density values, as this question only applies to “bent pipe”
systems; (3) the inability to enter a negative value for maximum Effective Isotropic Radiated Power (EIRP)
for some of SpaceX’s TT&C beams; (4) the inability to enter more than two digits for the active service
arc end angle; (5) the inability to enter any channel plan other than a single, static channel plan; and (6)
the impracticability of entering all possible contours for a representative satellite at all altitudes as
contemplated by section 25.114(c)(4)(vi)(B).119 SpaceX has provided information on how it completed
the Schedule S and additional information to compensate for these difficulties, as appropriate, and
SpaceX requests that we waive these aspects of Schedule S, to the extent necessary.120 Because SpaceX
has implemented work-arounds to provide the relevant information on its application, we find that a
waiver of the requirement to complete certain aspects or fields of Schedule S is warranted.
            D.      Certification of Compliance with Applicable Equivalent Power Flux Density Limits
                    and Request for Waiver of Requirement for ITU Finding Prior to Initiation of
                    Service
          26.      Under the applicable rules, an applicant proposing operations in the 10.7-30 GHz
frequency range must certify that it will comply with applicable EPFD limits in Article 22, Section 2, and
Resolution 76 of the ITU Radio Regulations, which have been incorporated by reference into our rules.121
Additionally, prior to beginning service, an NGSO operator licensed to operate in the 10.7-30 GHz
frequency range must obtain a favorable or qualified favorable finding from the ITU regarding its
compliance with applicable EPFD limits, in accordance with Resolution 85 of the ITU Radio
Regulations.122 The operator must then communicate the ITU finding to the Commission and submit the
input data files used for the ITU validation software for public disclosure.123 A number of operators raise
concerns involving SpaceX’s certification of compliance with EPFD limits.124 SpaceX’s initial approach
of splitting its proposed constellation into eighteen separate filings,125 and SpaceX’s actual compliance
with applicable single-entry EPFD limits126 and aggregate EPFD limits.127
            27.     As an initial matter, we decline to reconsider our rule relying on ITU review for

119   Id.
120   Id.
121   See 47 CFR § 25.146(a)(2).
122   See 47 CFR § 25.146(c).
123   Id.
124We note that DISH and others initially argued that SpaceX’s certification was insufficient because it did not
appear to be based on any data or analysis. These parties pointed out that SpaceX had offered to make its input
datafiles for the ITU software available for interested parties to confirm SpaceX’s compliance with applicable EPFD
limits, but when they requested the datafiles from SpaceX in January 2022, SpaceX stated that the input datafiles did
not exist because SpaceX had not yet completed them after amending its application in August 2021. In other
words, these parties argue that SpaceX certification was baseless, because it certified it would comply with the
applicable EPFD limits in its amendment without even knowing if it could in fact comply. See generally DISH
Motion for Abeyance; Viasat January 31, 2022 Letter; SES/O3b February 1, 2022 Letter; Echostar/Hughes
Comments.
125See, e.g., Viasat Petition at 15-17, 24; SES/O3b Petition at I, 2, 7-8, 13; Echostar/Hughes Reply at 1-2; Kuiper
Reply at 20-21; SES/O3b Reply at I, 2-3, 4-5; Viasat Reply at III, 9, 10; GSO Operators October 14, 2022 Letter at
1.
126   See, e.g., Viasat August 24, 2022 Letter at 2, Technical Annex; Kuiper Reply at 18-19; DISH Reply at 14-16.
127See, e.g., SES/O3b Petition at II, 2-3, 12, 15-17; SES/O3b Reply at I-II, 2-3, 7-8; Viasat Petition at II, 13-14, 22;
Viasat Reply at 3, 5-6, 11, 12; DISH Reply at 18-19; Viasat May 16, 2022 Letter at 1-2; Viasat July 18, 2022 Letter
Technical Annex.

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evaluating compliance with EPFD limits, as DISH requests.128 We continue to find that the ITU is in the
best position to review compliance with applicable EPFD limits. As discussed above and in the SpaceX
Third Modification Order, under our rules, any analysis demonstrating compliance, or lack of
compliance, with applicable EPFD limits must be completed using the ITU-approved validation
software.129 We therefore decline to reconsider the three studies DISH submitted in the SpaceX Third
Modification proceeding, which it incorporates by reference into this proceeding,130 and we also decline
to consider the additional analyses submitted by DISH and Viasat analyzing Gen2 Starlink using software
modified to evaluate EPFD compliance at different locations than the ITU-approved software.131 We also
decline to adopt DISH’s request to inform the ITU that Gen2 Starlink cannot be modeled by the ITU-
approved software,132 as we see no evidence on the record that this is the case—in fact multiple operators,
including DISH, have used the ITU-approved software to model SpaceX’s system.
         28.      We also reject DISH’s assertion that the Commission is unlawfully delegating its
authority to the ITU. “[A] federal agency entrusted with broad discretion to permit or forbid certain
activities may condition its grant of permission on the decision of another entity . . . so long as there is a
reasonable connection between the outside entity’s decision and the federal agency’s determination.”133
Such a connection exists here. A “favorable” finding by the ITU provides verification that the operator of
a non-geostationary satellite system complies with the ITU's EPFD limits. By complying with those
limits, the operator satisfies its “obligation” under our rules not to “cause unacceptable interference to”
geostationary satellite networks.134 Thus, a “favorable” finding by the ITU is clearly linked to our
determination that a licensee can provide non-geostationary fixed-satellite service without causing
harmful interference. Moreover, there is no improper subdelegation here because the ITU merely
provides us “with factual information” --that is, whether SpaceX complies with the ITU’s power limits.135


128See DISH Petition at 8, 24-26. DISH argues that its three studies from the SpaceX third modification proceeding
demonstrate that the Gen1 Starlink system will cause interference in real-world scenarios, and the ITU validation
software did not model that correctly, so it is impossible that the ITU validation software will correctly model Gen2
Starlink. Id.
  See SpaceX Third Modification Order, 36 FCC Rcd at 8021, para. 40 (“the relevant analysis under the
129

Commission’s rules is analysis using ITU-approved software.”).
130   See DISH Petition at 5-6, 13-15.
131Id. at Exhibit 1; DISH Reply at 7-8; GSO Operators October 14, 2022 Letter at 2. DISH states that it made
several assumptions in this study because at the time it did not have SpaceX’s EPFD analysis. See DISH Petition,
Exhibit 1; DISH Reply at 7-8. The study further states that assessing the impact of neighboring satellites would also
worsen the interference environment, and this impact cannot be ignored given the sheer number of proposed
satellites. See DISH Petition, Exhibit 1; DISH Reply at 7-8. Viasat’s analysis examines interference into a GSO
earth station in Miami, Florida, and Viasat found that SpaceX would exceed the EPFD limits with emissions at
levels from 2.6 times the EPFD limits (when considering one of SpaceX’s ITU filings) and up to 18.6 times the
limits (when considering the entire Gen2 Starlink constellation). See GSO Operators October 14, 2022 Letter at 2.
The GSO operators argue that SpaceX’s analysis uses unrealistic assumptions, such as theoretical GSO earth
stations located in the middle of the Caribbean Sea or the Pacific Ocean, locations entirely outside the United States
and where GSO earth stations are unlikely to exist at all, and so SpaceX’s analysis does not demonstrate it will
protect GSO earth stations. Id.
132See DISH Petition at 8, 24-26. DISH argues that its three studies from the SpaceX third modification proceeding
demonstrate that the Gen1 Starlink system will cause interference in real-world scenarios, and the ITU validation
software did not model that correctly, so it is impossible that the ITU validation software will correctly model Gen2
Starlink. Id.
133   See United States Telecom Ass’n v. FCC, 359 F.3d 554, 567 (D.C. Cir. 2004).
134   47 CFR § 25.289.
135   United States Telecom, 359 F.3d at 567.

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We also find no merit in DISH’s claim that it has been denied due process.136 To begin with, DISH has
no constitutionally protected property right to use its satellites to provide FCC-licensed service.137
Therefore, DISH cannot assert a due process violation.138 In any event, there was no due process violation
here. DISH has received a full opportunity to participate in this proceeding. The Due Process Clause
requires nothing more.
         29.     SpaceX argues that the current methodology of evaluating compliance with EPFD limits
is overly protective of GSO operations and too restrictive for NGSO operators.139 As discussed above, we
decline to deviate from our rule of relying on ITU review of compliance with EPFD limits. This issue is
outside the scope of this licensing proceeding.140
        30.       While we follow the general approach set forth in the SpaceX Third Modification Order,
we also recognize the differences in the issues raised by the record before us in this proceeding, as noted
by Viasat and Kuiper.141 We note that several operators state that they have analyzed SpaceX’s
compliance with applicable EPFD limits by running SpaceX’s input datafiles through the ITU-approved
software without any modifications. Viasat, DISH, and Kuiper state that they found that evaluating the
eighteen separate filings on an individual basis, as SpaceX did in the analysis provided in its Consolidated
Opposition, would result in significant exceedance to the applicable EPFD limits.142 DISH claims that
when running the SpaceX input files through the ITU validation software, combining SpaceX’s 18
separate filings into one input datafile but making no modifications to SpaceX’s input parameters or the
parameters of the software, Gen2 Starlink will violate the EPFD limits in the 12.2-12.7 GHz band by as


136 See DISH September 23, 2022 Letter at 2-3, 6-9. DISH originally raised this argument before the D.C. Circuit in
its appeal of the SpaceX Third Modification Order, but as it acknowledges, the court did not reach the merits of its
arguments because it was not raised before the Commission. DISH therefore raises this argument before the
Commission in this proceeding. Id. SpaceX disputes DISH’s stance in its October 17, 2022 Letter. See SpaceX
October 17, 2022 Letter at 4-5.
137See FCC v. Sanders Bros. Radio Station, 309 U.S. 470, 475 (1940) (an FCC licensee does not obtain “a property
right as a result of the granting of a license”); Mobile Relay Assocs. v. FCC, 457 F.3d 1, 12 (2006) (the right to use
spectrum under an FCC license “does not constitute a property interest protected by the Fifth Amendment”).
138   See Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 538 (1985).
139See SpaceX Consolidated Opposition at IV, 23-24, Exhibit 2; SpaceX August 19, 2022 Letter at 6; SpaceX
October 17, 2022 Letter at 3. SpaceX argues the current methodology for evaluating compliance with EPFD limits
“pil[es] a series of worst-case assumptions on top of one another,” that the current regime forces operators to reduce
power across their systems, even in locations where there are no GSO customers, and also penalizes NGSO
operators for using more efficient steerable beams, which reduces capacity for customers. See SpaceX Consolidated
Opposition at IV, 23-24, Exhibit 2. Kuiper agrees with SpaceX that the ITU validation software is too conservative,
and the rules are ambiguous regarding multiple ITU filings, but Kuiper also agrees with the GSO operators that an
operator could use multiple ITU filings to get around the EPFD limits. See Kuiper Reply at 21.
140As the D.C. Circuit has explained, “an agency need not--indeed, should not--entertain a challenge to a regulation,
adopted pursuant to notice and comment, in an adjudication or licensing proceeding.” Viasat Inc. v. FCC, 47 F.4th at
776 (quoting Trib. Co. v. FCC, 133 F.3d 61, 68 (D.C. Cir. 1998)). Therefore, in this proceeding, the Commission
"must 'adhere to its own rules and regulations.’“ Ibid. (quoting AT&T Corp. v. FCC, 448 F.3d 426, 434 (D.C. Cir.
2006). We note that the ongoing work of ITU-R Working Party 4A involve the methodology to be used to
determine conformity of an NGSO satellite system in the FSS with the EPFD limits contained in Article 22 of the
Radio Regulations, and the World Radio Conference 23 Agenda item 7 Topic D2 considers any agreed revisions to
Recommendation ITU-R S.1503-3. https://www.itu.int/en/ITU-R/study-groups/rcpm/Pages/wrc-23-studies.aspx.
141See Kuiper Comments at 27-28; Kuiper Reply at 17; Viasat Petition at 22-23; Viasat Reply at 15-16; Viasat
September 19, 2022 Letter at 6-7, N.26; GSO Operators October 14, 2022 Letter at 3-4.
  See Viasat August 24, 2022 Letter at 2, Technical Annex; Kuiper Reply at 18-19; DISH Reply at 14-16. See also
142

DISH November 28, 2022 Letter at 1-2.

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much as 4.5 dB for 45 CM direct-broadcast satellite (DBS) antennas.143 Viasat states that it conducted its
analysis of the Gen2 Starlink constellation as a whole by first running all eighteen filings through the ITU
validation software, with no alterations to the software or the datafiles SpaceX provided, then combining
the resulting EPFD curves using standard techniques for the sum of independent variables.144 Viasat
states that its analysis demonstrates Gen2 Starlink, when considered as a whole, would violate the EPFD
limits in every frequency band.145 Viasat states that the single-entry EPFD limits are exceeded by as
much as 7.6-11.8 dB depending on the case.146 Viasat claims that it found several cases where SpaceX
would violate the EPFD limits 1%, 10%, and even 100% of the time, and it argues that violations of this
magnitude could well cause significant interference to GSO operations and degrade service from DBS,
direct-to-home (DTH), and other GSO networks SpaceX seeks to compete with.147
         31.      SpaceX has submitted a single combined filing to the International Bureau, including an
input datafile and output file for all of its proposed Gen2 Starlink satellites at the staff’s request so as to
facilitate preparation for ITU coordination activities.148 In this record, SpaceX confirms that this
combined filing demonstrates compliance with all applicable EPFD limits.149 We treat this representation
on the record as part of SpaceX’s certification of ITU compliance. We also find that SpaceX’s
segmentation of its system into 18 separate ITU filings is reasonable as SpaceX consulted ITU staff on
how to present datafiles for purposes of PFD analysis,150 and followed the general practice of presenting
the complete technical parameters for spectrum assignments in an individual file. The parties’
characterization of SpaceX’s method used to prepare ITU data files as intended to manipulate the ITU
process is not well founded. With respect to EPFD, we find that SpaceX’s certification of compliance
with the EPFD limits,151 along with the conditions we adopt herein, including the requirement to obtain a
finding from the ITU that explicitly indicates the ITU has considered the joint effect of SpaceX’s multiple
ITU filings, would ensure that SpaceX’s Gen2 Starlink system will comply with the EPFD limits which
should protect GSO operations from harmful interference152




143   See DISH Reply at 1-2, 7-8, 12, 17-18; GSO Operators October 14, 2022 Letter at 1-2, 2-3.
144   See Viasat July 18, 2022 Letter at 3, Technical Annex.
145   Id.
146   Id. Technical Annex.
147   Id. at 3, Technical Annex.
148   See 47 CFR § 0.457(d)(1)(vii)(B).
149 See SpaceX October 27, 2022 Letter at 2. SpaceX also cites the SpaceX Third Modification Order in support of
its approach of splitting its system into multiple ITU filings. See SpaceX Consolidated Opposition, at 28 (citing
SpaceX Third Modification Order, 36 FCC Rcd at 8018, para. 34); SpaceX October 4, 2022 Letter at 1; SpaceX
November 10, 2022 Letter at 1.
150   See SpaceX August 19, 2022 Letter, at 6, 7.
151See SpaceX October 27, 2022 Letter at 2 (stating that its combined EPFD data files, when analyzed with the ITU-
approved validation software, comply with the applicable EPFD limits). See SpaceX Gen2 Amendment, Technical
Attachment at 14 (certifying the Gen2 Starlink constellation, as amended, will comply with all EPFD limits); see
also e.g., SpaceX Consolidated Opposition, at 31; SpaceX August 19, 2022 Letter at 8-9; SpaceX November 10,
2022 Letter at 1.
152 Viasat, DISH, and SES/O3b argue that because SpaceX split its system into 18 separate ITU filings, its ITU
filings did not reflect how its system would actually operate and the ITU would not be capable of accurately
reviewing SpaceX’s EPFD compliance. These operators further posit that SpaceX split its system in an attempt to
get around the EPFD limits. See Viasat Reply at III, 9, 10, 14; SES/O3b Petition at 14; DISH Reply at 2, 16; DISH
Nov. 28, 2022 Letter at 1-2.

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         32.     Kuiper, SES/O3b, and Viasat propose some additional conditions to allow SpaceX to
operate without causing harmful interference to GSO operations.153 We decline to adopt Kuiper’s
proposed condition to require SpaceX to operate its satellites with the power levels proposed in its
original application.154 As SpaceX has certified that its entire Gen2 Starlink constellation, including all
proposed 29,988 satellites, will comply with the applicable EPFD limits, we find Kuiper’s proposed
condition would be unnecessary for this partial grant. This is particularly true given that we only
authorize SpaceX to deploy 7,500 of its satellites in this Order, roughly one quarter of SpaceX’s proposed
Gen2 Starlink constellation. Similarly, we decline to adopt Viasat’s proposed condition, which would
require review by the Commission and interested parties of a combined EPFD data file to include all of
SpaceX’s Gen1 Starlink and Gen2 Starlink satellites as analyzed by a modified ITU software.155 As we
continue to rely on the ITU’s review, Viasat’s proposed condition, which would require modifications to
the ITU-approved software, would be inappropriate.156 However, as a condition of the waiver to permit
operations prior to completion of the ITU review process, we do require SpaceX to provide its input and
output data files using its combined EPFD analysis to interested parties, similar to how we conditioned
the SpaceX Third Modification Order. We also require SpaceX to obtain a finding from the ITU that
explicitly indicates the ITU has considered the joint effect of SpaceX’s multiple ITU filings, as the
Commission conditioned Kuiper’s authorization in 2020.157
           33.      SES/O3b requests that we condition any grant of Gen2 Starlink such that SpaceX “must

153   See Kuiper Reply at 17-22; SES/O3b Petition at 14-15; SES/O3b Reply at 12.
154See Kuiper Reply at 17-22. Kuiper states the EPFD levels are considerably higher in the amendment than in the
original application, and this is caused by an increase in EIRP masks. According to Kuiper, requiring SpaceX to use
the lower EIRP masks described in its original application would resolve many of the complex issues the
Commission must grapple with for this application. Id.
155 See Viasat August 24, 2022 Letter at 3-5. Specifically, Viasat proposes the Commission condition any grant of
the Gen2 Starlink application such that, prior to launching any satellites, SpaceX is required to submit, publicly and
on the record, an EPFD analysis evaluating all 34,396 satellites included in Gen1 Starlink and Gen2 Starlink. Viasat
further elaborates that this analysis should evaluate all 34,396 Starlink satellites as a single system (including Gen1
Starlink and Gen2 Starlink satellites), no matter how many ITU filings SpaceX has split its satellites into, and the
EPFD analysis should be completed using Transfinite’s Visualyse EPFD software and should: “(i) evaluate a
representative grid of 24 test points located across the United States; and (ii) consider all orbital locations at which
the Commission has licensed Ka-band satellites or authorized Ka-band satellites to serve the United States.” Viasat
emphasizes that only after the Commission finds that SpaceX will comply with all applicable single-entry EPFD
limits should SpaceX be permitted to deploy the satellites covered by the analysis, conditioned on operations
consistent with the parameters in the analysis, including but not limited to PFD masks, EIRP masks, GSO avoidance
angle, and Nco values. Viasat next proposes, if SpaceX’s analysis does not demonstrate compliance with all
applicable single-entry EPFD limits, the Commission should require SpaceX to develop a comprehensive operating
plan for meeting all EPFD limits at all test points and for all orbital locations, such as “reducing the number of
operating Starlink satellites and/or the planes in which they operate, modifying PFD or EIRP masks, increasing
avoidance angle, or reducing Nco values.” Viasat requests that SpaceX then be required to submit its operating plan
publicly on the record, along with a new EPFD analysis consistent with the updated parameters in its comprehensive
operating plan, to demonstrate compliance with all applicable single-entry EPFD limits, and if the Commission
approves the plan and the analysis, SpaceX may then deploy its satellites subject to the condition that it operates
these satellites consistent with the updated parameters in its comprehensive operating plan and compliant EPFD
analysis. Similarly, Viasat argues that before SpaceX makes changes to the input parameters of its operations,
SpaceX should be required to get Commission approval for a new EPFD analysis. Viasat argues that this approach
will allow SpaceX to choose the parameters it will operate under while also ensuring compliance with EPFD limits.
Id.
  See SpaceX Third Modification Order, 36 FCC Rcd at 8021, para. 40 (“the relevant analysis under the
156

Commission’s rules is analysis using ITU-approved software.”).
  See GSO Operators October 14, 2022 Letter at 1 (citing Kuiper Systems, LLC, Order and Authorization, 35 FCC
157

Rcd 8324, para. 26 (2020) (Kuiper NGSO Authorization).

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make available to any requesting party within 30 days of the request: the data used as input to the ITU-
approved validation software to demonstrate compliance with applicable Equivalent Power Flux Density
(EPFD) limits as well as the EPFD results it obtained by running the ITU software, along with
confirmation that the EPFD input data files and results reflect the operations of its complete system
pursuant to all ITU filings associated with its NGSO satellite constellation.”158 We find it is in the public
interest to continue to require SpaceX to provide its EPFD input datafiles to requesting parties,
particularly given our grant of SpaceX’s partial waiver request to allow it to begin operations prior to
obtaining an ITU finding. We therefore condition this partial grant accordingly: SpaceX must make
available to any requesting party the data used as input to the ITU-approved validation software to
demonstrate compliance with applicable limits, including the data that combine the Gen2 satellites into
one consolidated file.
         34.      Subsequent to SpaceX’s submission of its combined input datafile and output file for all
of its proposed Gen2 Starlink satellites, and prior to this grant, Viasat, DISH, and Kuiper requested the
Commission require SpaceX to provide its combined data file on the record, and Viasat requested that we
allow all interested parties at least 45 days to review the data file and provide their comments to the
Commission.159 As discussed above, the data files were provided to the International Bureau staff in
response to the staff’s request to facilitate ITU coordination. We reject Viasat’s and DISH’s requests as
these requests are based on the mistaken premise that we would be considering the substance of the
combined data file—rather than focusing on SpaceX’s certification—in reaching our decision in this
licensing proceeding.160 The conditions we apply to this authorization, including the requirement that
SpaceX obtain a favorable ITU finding regarding EPFD compliance and that the finding from the ITU
explicitly indicate the ITU has considered the joint effect of SpaceX’s multiple ITU filings, as well as the
requirement for SpaceX to provide its combined EPFD datafile to interested parties, provide important
protections to GSO operations from harmful interference. Additionally, although we grant a partial
waiver of our rules to permit SpaceX to commence operations prior to obtaining such a finding from the
ITU, as discussed below, SpaceX proceeds at its own risk and must adjust its operations if it does not
receive a favorable finding from the ITU. Notably, SpaceX has certified that the combined files do
satisfy the applicable EPFD limits, pursuant to our rules.161 We conclude that nothing in our rules
requires other parties’ independent confirmation of SpaceX’s EPFD analysis using the ITU software to
protect them from harmful interference. Since we need not and do not consider the substance of the
combined data file in reaching our decision here, we thus reject parties’ requests for access to those data,

158SES/O3b Petition at 14-15; SES/O3b Reply at 12. Additionally, SES/O3b states, “to enable reproduction of the
results, the EPFD data input information must include all SRS and mask databases used to evaluate compliance,
along with the software settings needed to run the Transfinite program.” SES/O3b Petition at 15; see also Viasat
January 31, 2022 Letter at 4-5; Viasat Petition at 18-19, 28. Viasat argues without this information, it is impossible
to evaluate whether SpaceX’s input parameters are reasonable. See Viasat Reply at 15. SES/O3b points out that
SpaceX is requesting deployment with neither Commission nor ITU review, and there needs to be some assurance
SpaceX will not cause harmful interference to GSO operators. See SES/O3b Reply at 12-13.
159See DISH November 4, 2022 Letter at 1, 2; Viasat November 7, 2022 Letter at 1, 3; DISH November 16, 2022
Letter; GSO Operators November 17, 2022 Ex Parte at 2; Kuiper November 17, 2022 Letter. SpaceX and these
operators debate whether SpaceX’s submission to the Bureau constitutes an unauthorized ex parte communication
under the Commission’s rules. See DISH November 4, 2022 Letter at 1; Viasat November 7, 2022 Letter at 2;
SpaceX November 10, 2022 Letter at 2; DISH November 16, 2022 Letter; GSO Operators November 17, 2022 Ex
Parte at 2; Kuiper November 17, 2022 Letter.
160As noted above, by having the combined data file the Commission is in a position to coordinate with the ITU
separate and apart from any analysis we conduct in this proceeding.
161The Commission’s rules impose an enforceable duty of truthfulness on licensees, see 47 CFR § 1.17(a)(1), (b)(1),
47 U.S.C. § 312(a), and the Commission properly relies on representations made in licensing proceedings. See
Contemp. Media, Inc. v. FCC, 214 F.3d 187, 193 (D.C. Cir. 2000) (“[E]ffective regulation is premised upon the
agency’s ability to depend upon the representations made to it by its licensees”).

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and for time to evaluate them, prior to our issuance of this Order. The International Bureau staff’s request
for this information was solely pursuant to the discharge of the Commission’s obligation as the relevant
administration in order to ensure that the ITU may evaluate this question on a complete record in
accordance with its established procedures.162 In the event any GSO operators may experience actual
harmful interference from SpaceX, they may report such interference to the Commission and we will take
appropriate action.
         35.       As to Viasat’s concerns regarding SpaceX’s GSO avoidance angle,163 SpaceX has
clarified that it intends to operate at full power when at an angle of 18 degrees or more with respect to the
GSO arc, but it intends to continue operations at smaller angles, reducing power to comply with EPFD
limits in accordance with our rules, down to angles less than 10 degrees with respect to the GSO arc.164
We note that Viasat has raised no further concerns regarding SpaceX’s GSO avoidance angle. We find
SpaceX’s proposed GSO avoidance angle plan would be sufficient to protect GSO operators from harmful
interference. We also find it unnecessary to condition this authorization to require SpaceX to maintain a
GSO avoidance angle sufficient to protect GSO operators, as Viasat requests.165 We are conditioning
SpaceX to operate its constellation with all technical parameters described in its application, as amended,
and any supplemental information submitted on the record, and this would include its GSO avoidance
angle.
          36.    SES/O3b, Viasat, and DISH also argue that for purposes of compliance with aggregate
EPFD limits, SpaceX’s Gen1 Starlink and Gen2 Starlink systems must be considered as a single system,
and that based on their analysis, these operators have found that SpaceX will violate the aggregate EPFD
limits.166 SpaceX argues that the plain language of the Commission’s Order adopting the certification
requirement, that “[a]ny NGSO FSS system operating in compliance with these limits is considered as
having fulfilled its obligation under Article 22 of the ITU Radio Regulations not to cause unacceptable
interference to any GSO network,” makes clear that the rule applies not to all operations of an applicant
as SES/O3b and Viasat suggest, but to individual systems.167 Furthermore, SpaceX argues that Gen1
Starlink and Gen2 Starlink are separate systems and will otherwise be treated as separate systems by the
Commission, including for purposes of milestone and bond requirements, for processing round rules, and
for regulatory fees, and so the Commission should treat Gen2 Starlink as distinct from Gen1 Starlink in
this respect as well.168 SpaceX points out that its licenses have been conditioned, and will continue to be
conditioned, on SpaceX coordinating with other NGSO operators to meet the aggregate EPFD limits.169
We decline to require SpaceX to combine its Gen1 Starlink and Gen2 Starlink systems for purposes of

162Independently, insofar as Viasat argues that constitutional due process requires that it have access to the datafile,
see Viasat November 7, 2022 Letter at 3, we also separately reject that argument on the grounds that Viasat has not
identified a constitutionally-protected interest that is implicated.
163   See Viasat Petition at 20-22.
164   See SpaceX August 19, 2022 Letter at 9.
165   See Viasat Petition at 21.
166See, e.g., SES/O3b Petition at II, 2-3, 12, 15-17; SES/O3b Reply at I-II, 2-3, 7-8; Viasat Petition at II, 13-14, 22;
Viasat Reply at 3, 5-6, 11, 12; DISH Reply at 18-19; Viasat May 16, 2022 Letter at 1-2; Viasat July 18, 2022 Letter
Technical Annex.
167See SpaceX Consolidated Opposition, at 28 (quoting Update to Parts 2 and 25 Concerning Non-Geostationary,
Fixed-Satellite Service Systems and Related Matters, 32 FCC Rcd 7809, para. 32 (2017)); SpaceX August 19, 2022
Letter, at 8-9.
168   See SpaceX August 19, 2022 Letter, at 8-9.
169See SpaceX Consolidated Opposition, at 42. Viasat objects that this condition is not sufficient, as SpaceX will
use all the allotted aggregate EPFD on its own, and so there will be no negotiations because there will be no room
for other NGSO systems to operate without violating the aggregate EPFD limits. See Viasat Reply, at 6.

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meeting aggregate EPFD limits. SpaceX must coordinate with other operators in good faith to meet the
aggregate EPFD limits.
         37.      Partial Waiver Request to Initiate Service. As discussed above, under section 25.146(c)
of our rules, an NGSO FSS operator licensed to operate in the 10.7-30 GHz frequency range must obtain
a favorable or qualified-favorable finding regarding its compliance with all applicable EPFD limits from
the ITU Radiocommunication Bureau prior to the initiation of service.170 This requirement is in
accordance with Resolution 85 of the ITU Radio Regulations, which the Commission has incorporated by
reference into its rules.171 However, SpaceX requests a partial waiver of this requirement so it may
commence operations prior to receiving an ITU finding.172 SpaceX states that the backlog of applications
being reviewed by the ITU means SpaceX is unlikely to receive a finding within a timeframe that matches
its aggressive deployment strategy, and without a waiver, it would be forced to delay deployment, thereby
delaying service to unserved and underserved Americans and causing gigahertz of spectrum to go
underutilized.173 SpaceX notes the Commission waived this requirement for its Gen1 Starlink
constellation, allowing SpaceX to proceed at its own risk and requiring it to adjust its operations should it
receive an unfavorable finding from the ITU.174 SpaceX argues this waiver strikes the right balance
between ensuring compliance with applicable EPFD limits while permitting SpaceX to begin operations
and requests the Commission grant this waiver, with the condition that SpaceX must still receive a
favorable or qualified-favorable finding from the ITU and must adjust its operations should it receive an
unfavorable finding, as it did for the Gen1 Starlink constellation.175
        38.      Multiple commenters argue that SpaceX has not demonstrated good cause to grant the
waiver.176 Viasat and Kuiper argue the fact that the Commission granted such a waiver for Gen1 Starlink
does not entitle SpaceX to a similar waiver for Gen2 Starlink, especially given the increased interference
concerns raised on the record for Gen2 Starlink, and Viasat points to several distinctions between the two
applications which weigh against granting a waiver for Gen2 Starlink.177 Viasat further argues that the

170   See 47 CFR § 25.146(c).
171   See 47 CFR § 25.146(c) (citing 47 CFR § 25.108).
172See SpaceX Gen2 Amendment, Waiver Requests at 3. We note that SpaceX originally described its request as a
request for waiver of section 25.146(a), which requires certification of compliance with all applicable PFD and
EPFD limits in the 10.7-30 GHz bands, as opposed to section 25.146(c), which requires operators to obtain a
favorable or qualified favorable finding from the ITU prior to commencing operations. Id.; see also 47 CFR §
25.146(a), (c).
173   See SpaceX Gen2 Amendment, Waiver Requests at 4.
174   Id.
175   Id.
176Specifically, these commenters argue that waiver would undermine the purpose of the rule; the inconvenience to
SpaceX and its business plans is of SpaceX’s own making; SpaceX should be subject to the same processes and
requirements as other NGSO operators; the Commission’s grant of a similar waiver to SpaceX in the past and the
D.C. Circuit’s ruling on the appeal of the SpaceX Third Modification Order do not justify a waiver in this case; and
the rationale for the waiver for Gen1 Starlink, to speed deployment to unserved and underserved areas of the United
States, has been satisfied and does not apply to the Gen2 Starlink satellites, especially since SpaceX has not yet
completed deployment of its Gen1 Starlink system. See DISH Petition, at 22-24; SES/O3b Petition at 10-11; Viasat
Petition, at II-III, 30-31; Viasat Reply, at 18; Echostar/Hughes Reply, at 2-3; Kuiper Comments, at 19, 21; Kuiper
Reply, at 15; SES/O3b Reply, at 8-9, 11; DISH Reply, at 4, 7, 21, 22-24.
177 See Kuiper Reply, at 16; Viasat Petition, at 31-32; Viasat Reply, at 18-19. Viasat and SES/O3b point out that the
waiver for the Gen1 Starlink constellation was based on SpaceX’s analysis of its entire system. While that analysis
is still disputed, Viasat and SES/O3b recognize that the Commission did not base its decision solely on SpaceX’s
certification, and it should not do so here. See Viasat Petition, at 31-32; SES/O3b Petition at 9-10; SES/O3b Reply
at 5.

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D.C. Circuit’s decision on the SpaceX Third Modification Order does not require the Commission to
grant the waiver in this case, especially given Viasat’s belief that there is substantial evidence that
SpaceX will violate the EPFD limits.178 DISH, Viasat, and Kuiper also argue that the rationale for the
waiver that was granted for Gen1 Starlink—the need to speed deployment to close the digital divide—
has been satisfied and is not an effective rationale for Gen2 Starlink, especially given that SpaceX has not
completed deployment of Gen1 Starlink.179
         39.     SpaceX points out that the waiver it seeks would only be a partial waiver—SpaceX
would still need to secure a favorable or qualified favorable finding from the ITU and adjust its operations
if necessary.180 In other words, the waiver allows SpaceX to deploy its Gen2 Starlink satellites at its own
risk.181 SpaceX will only be able to deploy a limited number of satellites before the ITU completes its
review, and should it receive an unfavorable finding and need to adjust its operations, the effect of this
limited number of satellites will be far less than the effect of the entire constellation.182 SES/O3b argues
that limited number could be in the thousands,183 and given SpaceX’s history, SpaceX will continue to
modify its Gen2 Starlink system, requiring additional ITU filings and creating an indefinite stretch of
time where GSO operators have no assurance that their operations will be protected, while SpaceX
launches even more satellites.184 Viasat argues that grant of the waiver would result in no regulatory body
conducting meaningful review of SpaceX’s EPFD compliance, and so SpaceX’s argument that grant of
the waiver would still leave adequate protections for GSO operators is a meritless defense.185 Viasat
states that given the significant concerns raised on the record, the waiver should be denied.186
         40.     We find it is in the public interest to grant SpaceX’s partial waiver request and allow it to
begin deployment as soon as possible to bring next-generation service to unserved and underserved areas
of the country and globally. We recognize that this is a different record from the SpaceX Gen1 Starlink
application, but as discussed above, we remain confident in our certification requirements and the ITU
review process. We agree with SpaceX that the same factors that existed when we granted a partial
waiver for Gen1 Starlink exist today: the benefits to the public in allowing SpaceX to begin deployment
of its more advanced Gen2 Starlink system as quickly as possible, the timeframe for expected ITU review
of SpaceX’s filings, and SpaceX’s certification and EPFD analysis. We also emphasize that this is only a
partial waiver of our rules. SpaceX must still obtain a favorable or qualified-favorable ITU finding and
communicate that finding to us, however SpaceX may commence operations with the 7,500 satellites
authorized today prior to receiving that ITU finding. We also note that deployment under this partial
waiver is at SpaceX’s own risk. Should SpaceX receive an unfavorable finding from the ITU, it must

178   See Viasat September 19, 2022 Letter, at 7.
179 See DISH Petition at 22-24; DISH Reply at 21-22; Viasat Petition at 31-32; Viasat Reply at 18-19; Kuiper Reply
at 17. Viasat and SES/O3b also argue SpaceX’s justification that it needs to avoid delay so it can deploy faster falls
flat, especially given that SpaceX did not produce its EPFD input datafiles and analysis until February 2022.
Inconvenience to the applicant is not good cause for a waiver. See SES/O3b Reply at II, 9, 11; Viasat Reply at 19-
20.
180   See SpaceX Consolidated Opposition at 31.
181   Id.
182   Id.
183   See SES/O3b Reply at 11.
184See SES/O3b Petition at 11-13; SES/O3b Reply at II, 9, 11. SES/O3b argues that GSO operators could be
without protection for years, and if the ITU finds SpaceX must adjust its operations to come into compliance with
the applicable EPFD limits, that would only apply going forward—there is no cure for past interference. See
SES/O3b Reply at II, 9, 11.
185   See Viasat Petition at 28-31; Viasat Reply at 20.
186   See Viasat Petition at 28-31; Viasat Reply at 20.

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adjust its operations accordingly to come into compliance with all applicable EPFD limits. Finally, we
note that in the event GSO operators experience harmful interference from SpaceX, they may report such
interference to the Commission and we will take appropriate action. Therefore, for the reasons set forth
above, we grant SpaceX’s request for a waiver of section 25.146(c) of our rules.
            E.          Frequencies Included in the 2020 Processing Round
        41.       SpaceX proposes communications between its satellites and user terminals in the Ku-
band and between its satellites and both user terminals and gateway earth stations in the Ka-band.187
Below, we address SpaceX’s proposed use of, and specific comments regarding, each frequency band
included in the 2020 processing round. We also address general conditions regarding SpaceX’s
participation in the 2020 processing round, including SpaceX’s obligations to its fellow 2020 processing
round participants and operators licensed in earlier Ku- and Ka-band processing rounds.
                        1.     Ku-Band Frequencies
         42.      SpaceX proposes to communicate between its Gen2 Starlink satellites and customer user
terminals in the 10.7-12.75 GHz (space-to-Earth), 12.75-13.25 GHz (Earth-to-space), and 14.0-14.5 GHz
(Earth to space) frequency bands.188 SpaceX also proposes TT&C downlink operations in the 12.15-12.25
GHz band and TT&C uplink operations in the 13.85-14.0 GHz band.189 We note that SpaceX does not
request general authority to operate in the 12.7-12.75 GHz band in the United States but does request
authority to transmit to individually licensed earth stations.190 Specifically, SpaceX proposes a minimum
antenna gain of 34 dBi and a maximum antenna gain of 44 dBi.191 SpaceX also proposes maximum EIRP
density between -11.9 dBw/MHz and -8.3 dBw/MHz, depending on the operational altitude of the
satellites.192 SpaceX states that as a satellite steers its Ku-band beam, it adjusts power to maintain a
constant PFD on the surface of the Earth.193 SpaceX states all of its Ku-band operations will comply with
the PFD limits on the surface of the Earth.194 Specifically, SpaceX explains its operations will comply
with the PFD limits in the 10.7-11.7 GHz band, and because these limits are lower than the PFD limits in
the 11.7-12.7 GHz band, SpaceX will also comply with the limits in those bands.195 Additionally, SpaceX
states the maximum EIRP for its downlink TT&C operations in the 12.15-12.25 GHz band is always
lower than the minimum EIRP for user links in this band, and so the PFD is less than the PFD produced
by the user links, and so SpaceX’s TT&C downlink operations in the 12.15-12.25 GHz band comply with
the PFD limits as well.196 SpaceX has clarified that it will observe a minimum elevation angle of 25
degrees for Ku-band communications with all satellites below 62 degrees latitude and will only operate
with a minimum elevation of 5 degrees for user terminals in polar regions above 62 degrees latitude,



187   See SpaceX Gen2 Application, Narrative at 10.
188   Id.
189   Id. at 11.
190Id. at 11, n.17. SpaceX states it intends to communicate in the 12.7-12.75 GHz band in other areas of the world
outside the United States. Id.
191   Id., Technical Attachment at 7.
192Id. Technical Attachment at 7. We note that in its original application, SpaceX proposed maximum EIRP values
from -12.2 dBW/MHz to -7.3 dBw/MHz. See SpaceX Gen2 Application, Technical Attachment at 8.
193   See SpaceX Gen2 Amendment, Technical Attachment at 6.
194   Id. at 12.
195   Id. at 11.
196   Id. at 11, n.8.

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consistent with its proposed operations in the Ka-band and E-band.197 We grant SpaceX’s request to
communicate in the 10.7-12.7 GHz (space-to-Earth), 12.75-13.25 GHz Earth-to-space, and 14.0-14.5
GHz Earth-to-space frequency bands, subject to the conditions below. We also grant SpaceX’s request to
communicate in the 12.7-12.75 GHz (space-to-Earth) frequency band outside the United States.
          43.     In the 10.7-11.7 GHz frequency band, SpaceX’s operations are authorized up to the
applicable PFD limits set forth in section 25.208(b) of our rules and up to the applicable EPFD limits of
Article 22 of the ITU Radio Regulations, as well as Resolution 76 (Rev. WRC-15) of the ITU Radio
Regulations. SpaceX’s operations in the 10.7-11.7 GHz band must also be coordinated with the
radioastronomy observatories listed in footnote US131 of the United States Table of Frequency
Allocations198 to achieve a mutually acceptable agreement regarding the protection of the radio telescope
facilities operating in the 10.6-10.7 GHz band.
        44.      SpaceX’s operations in the 11.7-12.2 GHz band are similarly authorized up to the
applicable PFD limits in Article 21 of the ITU Radio Regulations, and up to the applicable EPFD limits of
Article 22 of the ITU Radio Regulations, as well as Resolution 76 (Rev. WRC-15) of the ITU Radio
Regulations.
          45.     SpaceX’s operations in the 12.2-12.7 GHz band are authorized up to the PFD limits in
section 25.208(o) of our rules199 and Article 21 of the ITU Radio Regulations, and up to the EPFD
requirements of Article 22 of the ITU Radio Regulations, as well as Resolution 76 (Rev. WRC-15) of the
ITU Radio Regulations. DISH objects to SpaceX’s proposed use of the 12.2-12.7 GHz band.200 In
addition to its comments on SpaceX’s compliance with applicable EPFD limits discussed above, DISH
argues that the nearly sevenfold increase in the number of satellites from SpaceX’s Gen1 Starlink to a
combined Gen1 Starlink and Gen2 Starlink will result in sidelobe energy from more than one thousand
satellites affecting any given area, which is equivalent to the effects of six or more satellites focusing on
that area.201 DISH argues this is true even if SpaceX’s NCo, the number of co-frequency, co-polarization
satellite beams transmitting to any given spot on the Earth’s surface, is one.202 DISH and Viasat also
object that allowing SpaceX proposed use of the 12.2-12.7 GHz band would violate the condition on
Gen1 Starlink requiring SpaceX to operate with an NCo of 1 in the band because SpaceX is treating Gen1
Starlink and Gen2 Starlink as separate constellations that can both communicate with the same user
terminals.203 DISH argues that SpaceX has admitted that it will effectively operate with an NCo of 2
across its Gen1 Starlink and Gen2 Starlink systems, which would gut the condition in the SpaceX Third
Modification Order meant to protect DBS systems in the 12.2-12.7 GHz band from interference from
197See SpaceX August 19, 2022 Letter at 6. Originally, SpaceX stated that it plans to operate Ku-band user links
with a minimum elevation angle of 25 degrees but will use a minimum elevation angle of five degrees when
communicating with satellites in the 604 km and 614 km shells. This appeared to differ from SpaceX’s proposed
elevation angles for its Ka-band and E-band communications, for which SpaceX proposes minimum elevation
angles of five degrees only in regions above 62 degrees latitude. See SpaceX January 7, 2022 Response to Satellite
Division Information Request at 4-5.
198   See 47 CFR § 2.106, fn. US131.
199   See 47 CFR § 25.208(o).
200   See DISH Petition at 1.
201   Id. at 4-5, 15-19.
202 Id. at 4-5, 15-19. DISH again cites the three studies it submitted on the record of the SpaceX Third Modification
proceeding to demonstrate that the sidelobe energy from the SpaceX satellites will result in an effective NCo greater
than one, even if SpaceX’s nominal NCo is 1. Id. at 5-6, 13-15. See also DISH November 28, 2022 Letter at 2
(citing DISH Reply at Exh. 1).
203Id. at 16; Viasat July 18, 2022 Letter at 1; DISH October 27, 2022 Letter at 2. SpaceX has clarified that it will
operate with an NCo of 1 across the entire Gen2 Starlink constellation, which it reiterates as separate from the Gen1
Starlink constellation. See SpaceX August 19, 2022 Letter at 7; SpaceX October 17, 2022 Letter at 3.

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SpaceX’s system.204
         46.      DISH is correct that we found in the SpaceX Third Modification Order that limiting
SpaceX’s operation in the 12.2-12.7 GHz band to an NCo of 1 would be sufficient to protect DBS
systems from harmful interference,205 however we agree with SpaceX that its Gen2 Starlink system is a
separate system from its Gen1 Starlink system. If we were analyzing this situation with a SpaceX system
and an NGSO system operated by another operator, we would not require the two systems to maintain a
combined NCo of 1. We would instead require both systems to maintain an NCo of 1 on an individual
basis, and we find the same approach is appropriate in this case. SpaceX is required to operate within the
EPFD limits and a system operating within the EPFD limits is deemed not to cause harmful interference
to GSO systems. We also note that while transmitting to the same geographic location from one satellite
in each of its systems could increase SpaceX’s capacity, SpaceX will need to operate so as not to cause
interference to itself. The measures that SpaceX takes to prevent its own systems from interfering with
each other should also reduce the risk that SpaceX’s operations will cause harmful interference to the
GSO operators. We find all these factors are sufficient to protect DBS operators like DISH. We therefore
condition this authorization, consistent with SpaceX’s commitment on the record of this proceeding, such
that SpaceX must operate its Gen2 Starlink constellation with an NCo of 1, in the 12.2-12.7 GHz (space-
to-Earth) frequency band. In other words, SpaceX may not use more than one satellite beam from any of
its authorized Gen2 Starlink satellites in the same frequency in the same or overlapping areas at a time.
As discussed above should DBS or other GSO operators experience actual interference from SpaceX, the
Commission will take appropriate action, which could include, but is not limited to, requiring SpaceX to
operate with an NCo of 1 across both its Gen1 Starlink and Gen2 Starlink constellations in this band.
        47.     DISH also argues that the increase in satellites operating below 400 km will result in
more frequent, though briefer, instances of potential interference for DBS customers.206 DISH recognizes
that SpaceX plans to reduce the EIRP of these satellites and only communicate with these satellites with
minimum earth station elevation angles of 25 degrees, but DISH argues the exponential increase in the
number of satellites negates these mitigation efforts.207 We note that in this partial grant, we are
authorizing 7,500 satellites that will operate at altitudes from 525 km to 535 km, well above 400 km and
comparable to the altitudes of the Gen1 Starlink satellites. Therefore, we do not address DISH’s
arguments on this point.
         48.       RS Access objected to the initial lack of a geographic limitation for SpaceX’s proposed
minimum elevation angles of 5 degrees in the Ku-band, particularly in the 12.2-12.7 GHz frequency
band.208 Given that SpaceX has clarified it will observe a minimum elevation angle of 25 degrees outside
of polar regions (i.e. below 62 degrees latitude),209 we find RS Access’s concerns resolved. We also note
that this partial grant does not include authority for SpaceX to deploy its 604 and 614 km shells at this
time. We nonetheless condition this authorization to require SpaceX to utilize a 25 degree minimum

204 See DISH September 23, 2022 Letter at 3, 6. See also DISH November 28, 2022 Letter at 2-3 (stating that DISH
is not seeking a cumulative NCo of 1 across all NGSO systems combined).
205   See SpaceX Third Modification Order, 36 FCC Rcd at 8019-20, paras. 37-39.
206   See DISH Petition at 6-7, 21-22.
207   Id. at 6-7, 21-22 (citing SpaceX Gen2 Application, Technical Attachment at 17, 20).
208See RS Access Petition, at 1-2, 6-9. RS Access argues a minimum 5 degree elevation angle is technically
impractical due to topological and morphological obstacles and degradation caused by the long path between the
satellites and earth stations and will cause service problems for SpaceX and interference to terrestrial systems, and
SpaceX has provided no technical need or justification for its request. Id. at 1-2, 6-9; RS Access Reply at 1, 2-4.
RS Access acknowledges however, that enlisting an elevation angle as low as five degrees can become necessary for
“edge cases,” such as systems serving high-latitude areas. RS Access Reply at 3-4.
209   See SpaceX August 19, 2022 Letter at 6.

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elevation angle for its user terminals, except for operations above 62 degrees latitude, where SpaceX may
observe a minimum elevation angle of 5 degrees.
         49.      SpaceX’s operations in the 12.75-13.25 GHz (Earth-to-space) frequency band must be in
accordance with footnote 5.441 to the International Table of Frequency Allocations,210 which states that
operations in this band are subject to application of the provisions of No. 9.12 for coordination with other
NGSO systems in the fixed-satellite service.211 Footnote 5.441 further states that NGSO systems in the
fixed-satellite service shall not claim protection from geostationary-satellite networks in the fixed-satellite
service operating in accordance with the Radio Regulations.212 Additionally, Footnote 5.441 requires that
NGSO systems in the fixed-satellite service in the 12.75-13.25 GHz (Earth-to-space) frequency band shall
also be operated in such a way that any unacceptable interference that may occur during their operation
shall be rapidly eliminated.213 SpaceX’s operations in the 12.75-13.25 GHz band are also limited to
communications with individually-licensed earth stations, in accordance with footnote NG57 to the
United States Table of Frequency Allocations.214 SpaceX states that it may seek authorization for blanket-
licensed user terminals in the United States.215 We note that effective September 19, 2022, the filing of
applications for new earth station licenses, and modifications to earth stations already authorized, to
operate in the 12.7 GHz band are subject to a freeze, pending the outcome of the Commission’s ongoing
rulemaking proceeding regarding use of the 12.7-13.25 GHz band.216
               50.     We grant SpaceX’s request to use the 13.85-14.0 GHz band for TT&C uplink operations,
as discussed above. For its TT&C operations in the 13.85-14.0 GHz band, SpaceX must comply with
footnotes 5.502 and US356 to the International and United States Table of Frequency Allocations.217 We
also note that for SpaceX’s operations in the 13.85-14.0 GHz band, reception is permitted at levels up to the

EPFD limits of Article 22 of the ITU Radio Regulations.
         51.      Additionally, for SpaceX’s operations in the 14.0-14.5 GHz band, reception is permitted
at levels up to the EPFD limits of Article 22 of the ITU Radio Regulations. Regarding operations in the
14.0-14.5 GHz band, we note that both NASA and NSF, along with Professor Andy Lawrence, Professor
Roberto Trotta, and the Royal Astronomical Society, raise concerns about interference to radioastronomy
from SpaceX’s use of the 14.0-14.5 GHz band.218 NASA has provided conditions for previous SpaceX

210   See 47 CFR § 2.106, fn. 5.441.
211   Id.
212   Id.
213   Id.
214   See 47 CFR § 2.106, fn. NG56.
215   See SpaceX Gen2 Application, Technical Attachment at 4, n.5.
216See 180-day Freeze on Applications for New or Modified Authorizations for the 12.7 to 13.25 GHz band, Public
Notice, DA 22-974 (rel. Sept. 19, 2022). On October 27, 2022, the Commission extended the temporary freeze
pending the outcome of GN Docket No. 22-352. Expanding Use of the 12.7-13.25 GHz Band for Mobile Broadband
or Other Expanded Use, Notice of Inquiry and Order, GN Docket No. 22-352, FCC 22-80 (rel. Oct. 28, 2022).
217   See 47 CFR § 2.106, fns. 5.502 and US356.
218 See NTIA Letter, NASA Letter at 3, NSF Letter at 1; see also Andy Lawrence September 18, 2022 Letter, at 3
(noting that every satellite in the sky increases the noise that radioastronomy telescopes must deal with in detecting
objects in the sky and the impact of the Gen2 Starlink constellation on radioastronomy could be much worse than
the constellation’s impact on visible astronomy, which we discuss below); Roberto Trotta October 6, 2022 Letter, at
2 (expressing concerns about SpaceX’s impact on sites like the Square Kilometer Array); RAS November 10, 2022
Letter at 1 (raising concerns about the Gen2 Starlink constellation’s impact on radio astronomy because of the size
of its antennas and power levels of its transmissions). We note that Professor Lawrence, Professor Trotta, and the
Royal Astronomical Society do not refer to specific frequency bands in their discussion of impacts to
radioastronomy from the Gen2 Starlink constellation.

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licenses to protect the radioastronomy service and urges us to continue coordinating license grants
through the appropriate channels.219 NSF states that it is currently working with SpaceX to update its
coordination agreement to protect the radioastronomy service for the Gen2 Starlink satellites, but in
general NSF is concerned that large satellite constellations will impact radioastronomy observatories,
which have traditionally relied on remote locations to avoid interference.220 We note that SpaceX is
working with NASA to address its concerns and has begun coordination with NSF to reach an agreement
to protect the radioastronomy service from harmful interference from the Gen2 Starlink satellites.
Consistent with past authorizations for SpaceX’s operations, we also note that SpaceX’s operations in the
14.47-14.5 GHz band are subject to footnote US342 of the United States Table of Frequency
Allocations,221 and all practicable steps must be taken to protect the radio astronomy service from harmful
interference.222
         52.     We also note that in the 14.0-14.2 GHz band, NASA operates Tracking and Data Relay
Satellite System facilities at three locations: Guam (latitude 13°36′55″ N, longitude 144°51′22″ E); White
Sands, New Mexico (latitude 32°20′59″ N, longitude 106°36′31″ W and latitude 32°32′40″ N, longitude
106°36′48″ W); and Blossom Point, Maryland. For transmissions in the 14-14.2 GHz band from certain
NGSO FSS earth stations located within 125 kilometers of these three sites, earth station operations must
take account of these NASA facilities.223
                     2.       Ka-Band Frequencies
         53.     SpaceX requests Ka-band operations between its Gen2 Starlink satellites and both its user
terminals and its gateway earth stations.224 SpaceX proposes downlink communications with its user
terminals in the 17.8-18.6 GHz, 18.8-19.3 GHz, and 19.7-20.2 GHz frequency bands, and user uplink
communications in the 28.35-29.1 GHz and 29.5-30.0 GHz bands.225 SpaceX proposes operations in the
space-to-Earth direction with its gateway earth stations in the 17.8-18.6 GHz and 18.8-19.3 GHz bands
and Earth-to-space communications between its gateways and its satellites in the 27.5-29.1 GHz (Earth-
to-space) and 29.5-30.0 GHz (Earth-to-space) frequency bands.226 SpaceX also requests TT&C downlink
operations in the 18.55-18.6 GHz band.227 In the Ka-band, SpaceX proposes a minimum antenna gain of
34.5 dBi and a maximum antenna gain of 44.5 dBi, with maximum EIRP density from 17.9 dBw/MHz to
21.5 dBw/MHz, depending on the operational altitude of the satellites.228 As with its Ku-band beams,
SpaceX states that as a satellite steers its Ka-band beam, it adjusts power to maintain a constant PFD on
the surface of the Earth.229 SpaceX explains that two Ka-band gateway beams are transmitted at the same
frequency, right hand circular polarization and left hand circular polarization, and 32 satellites may
communicate with the same gateway at the same time, for a maximum of 64 co-frequency beams
219   See NTIA Letter, NASA Letter at 3.
220   See NTIA Letter, NSF Letter at 1.
221   See 47 CFR § 2.106, fn. US342.
222   See also infra Section III.I. Protection of Science Missions Using Electromagnetic Spectrum.
223   See 47 CFR § 25.228(j).
224   See SpaceX Gen2 Application, Narrative at 10.
225   Id. Narrative at 10, Technical Attachment at 4.
226   Id. Narrative at 10, Technical Attachment at 4.
227   Id. Narrative at 11.
228Id. Technical Attachment at 10; SpaceX Gen2 Amendment, Technical Attachment at 8. We also note that in its
original application, SpaceX proposed maximum EIRP densities from 17.6 dBw/MHz to 22.5 dBw/MHz for user
links and from 14.6 dBw/MHz to 19.5 dBw/MHz for its gateway links. See SpaceX Gen2 Application, Technical
Attachment at 11.
229   See SpaceX Gen2 Amendment, Technical Attachment at 7.

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transmitting to the same gateway.230 On the other hand, SpaceX states that its Ka-band user beams can
communicate with either the right hand circular polarization or the left hand circular polarization, or both,
and “user beams from a given satellite will have only one co-frequency beam per spot.”231 We grant
SpaceX’s request for communications in the Ka-band, subject to certain conditions set forth below.
        54.      Prior to commencing operations, SpaceX must complete coordination with federal
systems for its space-to-Earth operations in the 17.8-18.6 GHz, 18.8-19.3 GHz, and 19.7-20.2 GHz
frequency bands, in accordance with footnote US334 to the United States Table of Frequency
Allocations.232 SpaceX’s space-to-Earth operations in the 17.8-18.6 GHz, 18.8-19.3 GHz, and 19.7-20.2
GHz bands must be in accordance with any signed coordination agreement between SpaceX and U.S.
Federal operators. In addition, SpaceX’s operations in the 18.8-19.3 GHz band are authorized up to the
PFD limits in Article 21 of the ITU Radio Regulations.
         55.     In response to Viasat’s concerns regarding SpaceX’s operations in the 19.7-20.2 GHz
band, we also condition SpaceX’s Gen2 Starlink operations in the 19.7-20.2 GHz band (space-to-Earth)
            233

to require that SpaceX not use more than one satellite beam on the same frequency to the same or
overlapping areas at a time. Viasat is correct that in the SpaceX Third Modification Order we required
SpaceX to observe an NCo of 1 in the 19.7-20.2 GHz (space-to-Earth) band, based on SpaceX’s statement
that it would otherwise not comply with the applicable EPFD limits in the band.234 SpaceX is not
proposing transmissions to gateway earth stations in the 19.7-20.2 GHz band,235 and SpaceX’s user beams
will only operate with one co-frequency, co-polarization transmission to a given location.236 In other
words, SpaceX will be operating its Gen2 Starlink constellation with an NCo of 1 in the 19.7-20.2 GHz
frequency band. We therefore maintain the condition we applied in the SpaceX Third Modification Order
and require SpaceX to operate its Gen2 Starlink system with no more than one beam on the same
frequency to the same or overlapping area at a time in the 19.7-20.2 GHz band. As discussed herein, we
find that SpaceX’s Gen2 Starlink system is a separate system from its Gen1 Starlink system, and both
systems must maintain an NCo of 1 on an individual basis. SpaceX is required to operate within the
EPFD limits, and a system operating within the EPFD limits is deemed not to cause harmful interference
to a GSO system. We therefore condition this authorization, consistent with SpaceX’s commitment on
the record, such that SpaceX must operate its Gen2 Starlink constellation with an NCo of 1 in the 19.7-
20.2 GHz band. Should GSO operators experience actual interference from SpaceX, the Commission will
take appropriate action, which could include, but is not limited to, requiring SpaceX to operate with an
NCo of 1 across both its Gen1 Starlink and Gen2 Starlink constellations in the 19.7-20.2 GHz band.


230   See SpaceX Gen2 Application, Technical Attachment at 12.
231   Id.
232   See 47 CFR § 2.106, US334.
233See Viasat July 18, 2022 Letter at 1. Viasat argues that as with the 12.2-12.7 GHz band, SpaceX’s operations in
the 19.7-20.2 GHz band with both its Gen1 and Gen2 Starlink systems would vitiate the condition in the SpaceX
Third Modification Order requiring SpaceX to operate with an NCo of 1.
234See SpaceX Third Modification Order, 36 FCC Rcd at 8021-22, para. 43 (stating that SpaceX agrees operating
four or eight satellites simultaneously in the 19.7-20.2 GHz band would violate the EPFD limits, and does not
proposing to operate its gateways with more than one satellite at a time using a given frequency in the 19.7-20.2
GHz band).
235   See SpaceX Gen2 Application, Narrative at 10, Technical Attachment at 4.
236Id. Technical Attachment at 12 (stating with regard to its Ka-band operations: “Two Ka-band gateway beams are
transmitted at the same frequency (RHCP and LHCP), while user beams can use one polarization (either RHCP or
LHCP) or both at the same time. User beams from a given satellite will have only one co-frequency beam per spot,
but there will be up to thirty-two satellites beaming transmissions to a gateway location, for a maximum of sixty-
four co-frequency beams.”).

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         56.      Viasat claims that SpaceX has not provided a demonstration that it will protect GSO
networks operating outside the United States in the 18.8-19.3 GHz (space-to-Earth) and 28.6-29.1 GHz
(Earth-to-space) bands.237 According to Viasat, Off-axis RF emissions in the Ka-band could interfere
with GSO operations outside the United States.238 Even if NGSO services are operating in portions of the
Ka-band without EPFD limits, Viasat notes that the GSO services still have priority for interference
protection.239 Viasat calculates that in order to protect GSO systems operating outside the United States,
there would need to be a 600 km gap between earth stations—in other words SpaceX could only operate
earth stations in a small area in the center of the United States.240 Viasat requests that we condition any
grant of SpaceX’s Gen2 Starlink applications on “SpaceX's completion of coordination agreements with
any potentially affected GSO operators with ITU date priority (including Viasat) and the implementation
of any mitigation measures (e.g., adoption of an adequate GSO arc avoidance angle) necessary to protect
relevant GSO operations.”241 SpaceX argues that no Commission rule requires the demonstration Viasat
seeks.242 Additionally, SpaceX argues that Viasat relies on worst-case scenario assumptions in its
analysis, and Viasat treats any interference above the 6% interference to noise ratio as unacceptable
interference, as opposed to an event which triggers coordination among operators.243 SpaceX provides
analysis demonstrating that any exceedance of the coordination trigger would occur at worst on an
infrequent and short-term basis244 and argues such instances of interference can be handled by coordinating
in good faith with the GSO operators, and SpaceX is aware of its obligation to conduct such good-faith
coordination.245
        57.     We conclude that these issues can be successfully handled through coordination and
SpaceX need not submit a demonstration that it will not cause harmful interference to GSO operators
outside the United States. We decline to adopt Viasat’s proposed condition, but we note that SpaceX’s
operations outside the United States are governed by ITU coordination obligations. SpaceX must comply
with these obligations with regard to coordination with foreign-licensed operators conducting operations
outside the United States.
        58.     We also note that SpaceX’s satellite reception in the 27.5-28.6 GHz and 29.5-30.0 GHz
bands is authorized at levels up to the applicable EPFD limits of Article 22 of the ITU Radio Regulations.
SpaceX’s operations in the 27.5-28.35 GHz band are secondary with respect to Upper Microwave
Flexible Use Service (UMFUS) operations, except for FSS operations associated with earth stations
authorized pursuant to section 25.136 of our rules.246 Finally, SpaceX’s operations in the 28.35-28.6 GHz
and 29.5-30 GHz (Earth-to-space) frequency bands are on a secondary basis with respect to GSO FSS
operations.
                     3.        Processing Round Sharing Requirements and Information Sharing
        59.   With respect to other systems authorized as part of the 2020 Ku/Ka-band processing
round, SpaceX will be subject to the requirements in our rules addressing spectrum sharing among NGSO

237   See Viasat Petition at 32-33; Viasat Reply at IV, 20-22.
238   See Viasat Petition at 32-33; Viasat Reply at IV, 20-22.
239   See Viasat Petition at 32-33, Viasat Reply at IV, 20-22.
240   See Viasat Petition at 33-34; Viasat Reply at IV, 20-22.
241   Viasat Petition at 34.
242   See SpaceX April 7, 2022 Letter at 2-3; SpaceX May 18, 2022 Ex Parte at 1, Exhibit B at 4.
243   See SpaceX Consolidated Opposition at 29-30; SpaceX May 18, 2022 Ex Parte at 1, Exhibit B at 4.
244   See SpaceX Consolidated Opposition at 30, Exhibit 3.
245   Id. at 30.
246   See 47 CFR § 25.136.

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FSS systems in the same processing round.247 NGSO FSS operators must coordinate the use of
commonly authorized frequencies with one another in good faith.248 Absent a coordination agreement
between two or more NGSO FSS satellite systems, a default spectrum-splitting procedure applies.249
         60.    With respect to NGSO FSS systems that were authorized as part of prior processing
rounds to operate in the frequencies SpaceX requests, at this time we will require SpaceX to share with
these systems in accordance with the procedures that the Commission previously applied to Kuiper’s
2020 NGSO FSS authorization,250 with some slight modifications to address the specific circumstances
presented by SpaceX’s operations. This grant will also ultimately be subject to the outcome of our
currently pending rulemaking regarding NGSO FSS spectrum sharing, in which we are reviewing, among
other things, how later processing round systems shall protect earlier round systems.251
         61.     In grant of an NGSO FSS license to Kuiper, the Commission required that prior to Kuiper
commencing operations, it must certify that it has completed a coordination agreement with, or make a
showing that it will not cause harmful interference to, any operational system licensed or granted U.S.
market access in prior relevant processing rounds.252 Kuiper, Kepler, and SES/O3b request that we
condition grant of the Gen2 Starlink application with the same condition.253 SpaceX argues this condition
is unnecessary, as the Commission is currently developing rules to clarify spectrum sharing across
processing rounds, and SpaceX will comply with those rules.254 Kuiper responds that conditioning
authorization on SpaceX’s future compliance with the rulemaking proceeding would not be sufficient,
because SpaceX will already have commenced operations without satisfying conditions that may be
adopted by the Commission in the rulemaking.255 Our ongoing rulemaking does not eliminate the need
for conditions on this authorization addressing SpaceX’s coordination with earlier round systems.256
Although this grant is conditioned on SpaceX complying with future rules, including any rules adopted in
our ongoing spectrum sharing proceeding, based on its plans for deployment, SpaceX will more than
likely have begun operations by the time any updated rule comes into effect, and so we find it is necessary
generally to address the issue of protection of earlier-round systems in this grant.


247   See 47 CFR § 25.261.
248   47 CFR § 25.261(b).
249   47 CFR § 25.261(c).
250   See Kuiper NGSO Authorization, 35 FCC Rcd at 8341, para. 50.
251Spectrum Sharing Rules for Non-Geostationary Orbit, Fixed-Satellite Service Systems; Revision of Section
25.261 of the Commission’s Rules to Increase Certainty in Spectrum Sharing Obligations Among NGSO FSS
Systems, Order and Notice of Proposed Rulemaking, FCC 21-1323 (rel. Dec. 15, 2021) (Section 25.261 NPRM).
252   Kuiper NGSO Authorization, 35 FCC Rcd at 8341, para. 50.
253See Kuiper Reply at 10. Kuiper argues that both its system and SpaceX’s Gen2 system are participants in the
2020 processing round, and both are required to protect earlier-round participants. Id. at 11. SES/O3b and Kepler
agree with Kuiper and argue that until any new rules come into effect, the Commission must follow the precedent it
established with Kuiper’s authorization and treat similarly situated operators similarly. See SES/O3b Reply at 15-
16; Kepler Reply at 5-6.
254   See SpaceX Consolidated Opposition, at 36-37 (citing Section 25.261 NPRM).
255 See Kuiper Reply at 12-13; see also SES/O3b Reply at 15-16. Specifically, Kuiper argues that the proposed rule
in the ongoing section 25.261 rulemaking proceeding would require SpaceX to demonstrate either that it has reached
a coordination agreement or that it will not cause harmful interference to earlier-round systems prior to commencing
operations, and that conditioning authorization on SpaceX’s future compliance with the proposed rule would not be
sufficient because SpaceX will already have commenced operations without satisfying either of these conditions.
See Kuiper Reply at 12-13; see also SES/O3b Reply at 15-16.
256   See SpaceX Consolidated Opposition at 36-37.

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        62.       The Commission has previously emphasized the importance of coordination among
NGSO FSS operators, noting in particular that coordination provides the best opportunity for efficient
spectrum sharing; and that the Commission might intervene if the coordination discussions were not
being conducted in good faith.257 The Commission has also stated that it expects operators to negotiate in
good faith with an aim to accommodating later-filed applicants.258 We fully anticipate that all parties will
negotiate in good faith, and SpaceX will be able to reach a coordination agreement with operators
authorized in previous processing rounds. To this end, we condition this authorization such that SpaceX
must coordinate its Gen2 Starlink system operations with other operational systems that were licensed or
granted U.S. market in certain prior NGSO FSS processing rounds – specifically those referred to in
Public Notices DA 16-804, 31 FCC Rcd 7666 (IB 2016) and DA 17-524, 32 FCC Rcd 4180 (IB 2017). In
the event that such coordination cannot be successfully completed, SpaceX must make a showing to the
Commission demonstrating and certifying that its operations will not cause harmful interference to those
operational systems, which will be subject to Commission approval. In the event that it were to become
necessary for SpaceX to make such a demonstration to the Commission, SpaceX may commence
operations at its own risk, on a non-interference, unprotected basis with respect to any operations
authorized in earlier processing rounds for which coordination has not been completed, prior to the
approval of its showing by the Commission.
         63.       We have every expectation that SpaceX will be able to complete coordination with the
previous-round operations. SpaceX has a rapid deployment schedule planned for its Gen2 Starlink
satellites,259 and it would serve the public interest to allow SpaceX to begin providing its next generation
broadband service without undue delay, as conditioned herein and upon filing of its certified showing,
with the understanding that SpaceX will be operating at its own risk until either the completion of
coordination agreements through good faith negotiations or the Commission’s approval of SpaceX’s
showing as sufficient to demonstrate that SpaceX’s Gen2 Starlink system can operate without causing
harmful interference to any operational systems. While Kuiper argues that the possibility of a delay in
launch should not vitiate the processing round framework,260 we find that the condition we apply will
uphold the processing round framework and its emphasis on coordination, while still enabling the rapid
provision of next generation satellite services.
         64.      Kuiper requests that we require SpaceX to share beam pointing information to facilitate
coordination with other NGSO operators and allow for more efficient mitigation of potential
interference.261 Specifically, Kuiper requests that we require SpaceX to share “operational information
about where its satellite beams are positioned and which satellites are actively transmitting and receiving
from each of its earth stations, sufficient to identify anticipated interference events in advance,” in other
words, “SpaceX should be required to share with NGSO FSS licensees using commonly authorized
frequencies: (1) where its satellite beams are directed and (2) with which of its in-view satellites each of
its earth stations will be actively communicating.”262 Kuiper argues that each of the nearly 30,000

257   See, e.g., NGSO FSS Order, 32 FCC Rcd at 7825, para. 48; Kuiper NGSO Authorization, at para. 49.
258   NGSO FSS Order, 32 FCC Rcd at 7825, 7829, paras. 48, 61; Kuiper NGSO Authorization, at at para. 49.
259 This is distinct from the Kuiper system, which at the time of its 2020 authorization was still some time away from
initial deployment and provision of service.
260See Kuiper Reply at 11, 12. Kuiper also notes that if SpaceX wanted to avoid delay, it should have acted sooner
to coordinate with earlier-round systems. In other words, Kuiper argues that any delay in SpaceX’s launch plans
caused by this condition is of SpaceX’s own making. Id. at 12; see also SES/O3b Reply at 13-14. We observe that
SpaceX has already completed coordination with OneWeb at this time, and that the filing of a showing of non-
interference with the Commission shall only be done in the event that SpaceX cannot successfully complete
coordination with other operational systems.
261   See Kuiper Comments at I, III, 3, 13, 16-17; Kuiper Reply at 7-10.
262   Kuiper Comments at 3.

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proposed Starlink satellites have an expansive coverage area that will overlap with the coverage areas of
many other satellites.263 Absent beam pointing information detailing which satellite is transmitting to
which earth station or group of earth stations, Kuiper argues other NGSO operators must assume each
satellite is constantly transmitting over its entire coverage area, which is not how the satellites will
operate in fact.264 Similarly, other operators will need to assume, incorrectly, that SpaceX’s earth stations
could be transmitting or receiving from any of their in-view satellites.265 These inefficiencies are made
worse by the sheer size of the proposed Gen2 Starlink constellation.266
        65.        SpaceX objects to Kuiper’s proposed condition, arguing that we are currently considering
new rules to require such information sharing from NGSO operators in its ongoing section 25.261
rulemaking, and it would be unfair to prejudge the outcome of that proceeding by unilaterally imposing
such a requirement on SpaceX.267 Kuiper argues that given the sheer size of Gen2 Starlink, the
Commission should not wait for the rulemaking to be resolved but instead impose these requirements on
SpaceX, as well as conditioning any grant of SpaceX’s Gen2 Starlink application, as amended, on the
outcome of the rulemaking.268 Kuiper maintains that whatever the Commission decides in its ongoing
rulemaking, Gen2 Starlink is unprecedented in scale and presents unique concerns that the Commission
must address.269 Kuiper notes that, in the rulemaking proceeding, SpaceX supports information sharing
among NGSO operators such as the condition Kuiper has proposed, and so Kuiper argues it likely has the
technical ability to share its beam pointing information, whereas other operators objecting to the
rulemaking may not have that technical ability.270 Kuiper posits that the Commission could find it is in
the public interest to require SpaceX to share its beam pointing information for Gen2 Starlink while later
finding it is not in the public interest to require such sharing from all operators.271 Kuiper states that if
SpaceX is correct that no other 2020 processing round operator will be ready to launch before SpaceX,
then there will be no additional burden on SpaceX; if other operators are ready to launch, then Kuiper
argues that is all the more reason to require SpaceX to share its beam pointing information to assist in
coordination efforts and mitigate potential interference.272 Kuiper states that the Commission has the
power to condition licenses if it is in the public interest, regardless of whether that condition is codified in
a Commission rule.273
        66.       As discussed above, we condition this authorization to require SpaceX to comply with
future Commission rulemakings, including any rules adopted as a result of our ongoing spectrum sharing
proceeding. The potential sharing of beam pointing information is currently under consideration in an
ongoing rulemaking proceeding, and parties in that proceeding have raised significant technical and
practical issues regarding the sharing of such information. The record before us is insufficient to

263   Id. at II-III, 13-16.
264   Id.
265   Id.
266   Id.
267See SpaceX Consolidated Opposition at 37 (citing Section 25.261 NPRM, at para. 23). SpaceX also points out
that it is unlikely that Kuiper or any other 2020 processing round operator begins deploying its system before the
Commission completes its rulemaking, so these operators have no need for SpaceX’s beam pointing information
now. Id. at 37-38.
268   See Kuiper Comments at 16-17; Kuiper Reply at 9; see also Section 25.261 NPRM.
269   See Kuiper Reply at 8.
270   Id.
271   Id.
272   Id. at 9.
273   Id. (citing 47 U.S.C. § 303(r)).

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conclude that this grant must be conditioned on SpaceX providing this information to help mitigate
potential interference risks posed by SpaceX’s proposed constellation and to facilitate coordination at this
stage. Moreover, by our action today, we are further limiting any potential future issues by granting only
7,500 of the nearly 30,000 proposed satellites. Therefore, we decline to impose Kuiper’s proposed
condition and will defer consideration of this issue to the ongoing rulemaking proceeding. We expect that
operators will not withhold information necessary to effectuate good faith coordination.
           F.       Frequencies Outside of the 2020 Processing Round
          67.     SpaceX requests to operate in the 71.0-76.0 GHz (space-to-earth) and 81.0-86.0 GHz
(Earth-to-space) bands (E-Band or 70/80 GHz bands) for communications between satellites and gateway
earth stations.274 Although the Commission has not yet adopted band-specific service rules for these
frequencies, SpaceX states it will operate in these frequencies consistent with the U.S. Table of Frequency
allocations.275 We note that the 71.0-76.0 GHz and 81.0-86.0 GHz bands are allocated on a co-primary
basis to federal and nonfederal operations in the fixed and mobile services, fixed-satellite and mobile
satellite services, mobile broadcasting, broadcasting-satellite service, space research, and radio
astronomy.276
         68.     SpaceX also states that some of its satellites will contain small radiofrequency emergency
beacons to be used during orbit-raising.277 These emergency beacons will operate in the 137.00-138.00
MHz (space-to-Earth) and 148.00-150.05 MHz (Earth-to-space) frequency bands.278 SpaceX states that
use of these frequencies has been authorized by Germany, and SpaceX intends to conduct
communications using these frequencies only outside of the United States, and does not seek U.S. market
access for use of these frequencies.279
        69.      Pending further review and coordination with Federal users, we defer acting on SpaceX’s
request to use the E-Band as well as any action regarding SpaceX’s described use of the emergency
beacons.
           G.       Orbital Debris Mitigation
                    1.       Background and Satellite Maneuverability
        70.     SpaceX has submitted an orbital debris mitigation plan as required under our rules, in
connection with its request for operations with Gen2 Starlink. In response to SpaceX’s mitigation plan, a
number of parties have raised concerns, which we address here only with respect to the 7,500 satellites, to
be operated in orbital shells centered at altitudes from 525 km to 535 km, that we are authorizing in this
grant. To the extent that the parties’ concerns are related to the deployment of SpaceX’s full request for
nearly 30,000 satellites, including in other orbital shells, we defer consideration of those issues.
        71.      We find SpaceX’s orbital debris mitigation plan to be sufficiently developed to support
our authorization of 7,500 satellites, subject to certain conditions to provide for ongoing review and
potential revision of license terms, including suspension of deployment if necessary, if targets for reliable
disposal are not met. This grant is also subject to the outcome of our ongoing orbital debris proceeding280

274   See SpaceX Gen2 Application, Narrative at 10.
275   Id. Technical Attachment at 4.
276   See 47 CFR § 2.106.
277   See SpaceX August 19, 2022 Letter at 6, n.17; SpaceX October 4, 2022 Letter at 2, Exhibit A.
278   See SpaceX October 4, 2022 Letter Exhibit A at 1.
279   See SpaceX August 19, 2022 Letter at 6, n.17; SpaceX October 4, 2022 Letter at 2, Exhibit A.
  See generally 2020 Orbital Debris Order and FNPRM, 35 FCC Rcd 4156; Space Innovation; Mitigating Orbital
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Debris in the New Space Age, Second Report and Order, FCC 22-74 (2022) (2022 Orbital Debris Disposal Order).

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and any other relevant rulemakings.
         72.     Maneuverable Satellites. SpaceX states that it makes its constellation safer by providing
highly accurate satellite position data to other operators, and by receiving and acting upon conjunction
warnings from two independent providers. SpaceX states that its satellites to be deployed as part of Gen2
Starlink are highly-maneuverable and designed with a propulsion system that will respond quickly and at
a high cadence, so that SpaceX can coordinate with relevant operators in advance and act on the
conjunction warnings it receives.281 SpaceX states that all of its satellites will have sufficient propellant to
conduct collision avoidance maneuvers through all phases of their missions. SpaceX has budgeted
sufficient propellant for 5,000 propulsive maneuvers over the lifetime of each satellite, including 350
planned collision avoidance maneuvers. SpaceX indicates that, similar to Gen1 Starlink, SpaceX will use
0.00001 (1/100,000) as its trigger for collision avoidance maneuvers.282
          73.      Use of automated collision avoidance. Viasat raises several concerns about SpaceX’s
collision avoidance system. Viasat asserts that SpaceX is ignoring the collision risk that could result from
maneuvering to avoid one conjunction event283 and raises concerns that SpaceX’s autonomous collision
avoidance system does not allow for inter-operator coordination.284 To these concerns, SpaceX explains
that when it receives a conjunction warning involving another active satellite, it reaches out to that
satellite operator to conduct physical coordination.285 SpaceX states that it will assume the responsibility
to conduct collision avoidance maneuvers if the other satellite is non-maneuverable or if it does not
receive a response from the other satellite’s operator.286 While its autonomous collision avoidance system
is the default mechanism for developing and executing collision avoidance maneuvers, SpaceX explains it
can command individual satellites not to maneuver should the other operator involved in the conjunction
event prefer to conduct a maneuver instead, and in addition SpaceX has reached coordination agreements
with other operators establishing baseline operations in the event of conjunction warnings.287 SpaceX
states there are circumstances where it is preferrable for the other operator to conduct collision avoidance
maneuvers, such as a case of a satellite transiting slowly through SpaceX’s shells using electric
propulsion, and in such cases SpaceX will ask the operator to conduct the maneuver.288 Furthermore,
contrary to Viasat’s claim, SpaceX explains its automated collision avoidance system considers collision
risks posed by maneuvers to avoid possible conjunctions.289 SpaceX argues that should its satellites lose
its primary propulsion capability, it can still vent gas to maneuver in a cold gas thruster mode, so long as
the satellite attitude continues under control.290 We find that the concerns raised by Viasat are ones that
SpaceX has both anticipated and is adequately addressing at this time.

281   See SpaceX Consolidated Opposition at III, 5, 6; SpaceX April 7, 2022 Letter at 3.
282 See SpaceX January 7, 2022 Response to Satellite Division Information Request at 6; SpaceX Consolidated
Opposition, at III, 6, 7-8, 9. SpaceX points out this trigger for collision avoidance maneuvers is an order of
magnitude more sensitive than the industry standard of one in ten thousand. See SpaceX Consolidated Opposition at
III, 6, 7-8, 9.
283See Viasat Petition at 49. Viasat argues that while it is impossible to calculate this residual risk, it becomes a
substantial risk when multiplied by a total of 34,396 satellites (including all Gen1 Starlink and Gen2 Starlink
satellites). Id.
284   Id. at 49-50.
285   See SpaceX Consolidated Opposition at 10; SpaceX October 4, 2022 Letter at 3.
286   See SpaceX Consolidated Opposition at 10; SpaceX October 4, 2022 Letter at 3.
287   See SpaceX Consolidated Opposition at 11; SpaceX October 4, 2022 Letter at 3.
288   See SpaceX August 19, 2022 Letter at 4; SpaceX October 4, 2022 Letter at 3.
289   See SpaceX Consolidated Opposition at 10-11.
290   See id. at 9.

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         74.      Residual Risk. In our order on SpaceX’s Third Modification for Gen1 Starlink, we
recognized that spacecraft collision maneuvers would not reduce the risk to zero, and that there will be
some residual risk.291 The Commission also observed that calculations of residual risk based on collision
probabilities as specified in conjunction warnings may not provide a reasonable measure of this residual
risk, and may present an artifact of risk modelling methods rather than actual risks. Viasat, however,
maintains that millions of conjunction events with less than 1/100,000 probability of occurring still add
up to a significant risk.292 We decline to assess residual risk using the method utilized by Viasat, for the
same reason stated in the SpaceX Third Modification Order.
         75.      NASA raises a distinct and broader concern with respect to Gen2 Starlink, noting that
while individual SpaceX satellites may be deemed to have a collision risk of zero because of their
propulsive capabilities with a constellation of this size, error-free systems and a collision risk of zero
should not be assumed.293 In response to this concern, we will apply reporting conditions as adopted for
Gen1 Starlink in the SpaceX Third Modification Order to Gen2 Starlink, including reporting the number
of collision avoidance maneuvers. In order to address NASA’s observation that systems cannot be
assumed to be error free, we also are broadening this condition to include reporting with respect to any
collision avoidance system outages or unavailability, either on a system wide basis or for individual
satellites, due to any cause other than disabling of the system for a single satellite in order to facilitate
operator-to-operator coordination. An “outage” would include any individual satellite anomaly that
results in a satellite not achieving targeted risk mitigation via maneuver.
         76.     NASA Operational Concerns. NASA operates science and human spaceflight programs
and notes several concerns about likely operational impacts on those missions caused by the large number
of satellites SpaceX proposes to deploy,294 including impacts due to the current capacity of object
tracking and conjunction screening relied on by NASA and other operators.295 NASA also raises several
longer term concerns with the use of autonomous collision avoidance systems, recommending that
SpaceX conduct analysis to demonstrate the autonomous collision avoidance system is sufficiently
scalable to the entire constellation size, including inter-constellation conjunctions.296 NASA also notes
the need to account for operating at low altitudes during periods of increased solar activity. NASA also
expresses concern about other constellations utilizing autonomous collision avoidance systems in the
same altitudes as SpaceX and recommends SpaceX also commission a risk analysis regarding “the
efficacy of autonomous-vs.-autonomous constellation conjunction assessments and mitigation
actions.”297
       77.     SpaceX explains that its autonomous collision avoidance system has been evaluated by
NASA’s Conjunction and Risk Analysis program in connection with the Gen1 Starlink system, and the
autonomous collision avoidance system is also relied on by NASA.298 SpaceX states it is continuing to


291   SpaceX Third Modification Order, 36 FCC Rcd at 8028-29, para. 58.
292   See Viasat Petition at 48; Viasat Reply at 40-41.
293NTIA  Letter, NASA Letter at 2. NASA notes that it does not intend its comments to oppose grant of the Gen2
Starlink application, but it does want deployment of so many satellites to happen prudently to protect the long-term
sustainability of the LEO environment. NTIA March 10, 2022 Letter, Attachment at 1.
294   See NTIA Letter, NASA Letter at 1.
  Id. at 2. SpaceX has provided physical dimensions for all three satellite designs to be launched as part of its
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Gen2 Starlink constellation. See SpaceX October 4, 2022 Letter, Exhibit B.
296   See NTIA Letter, NASA Letter at 2.
297   Id. NASA requests to review such analysis to ensure the ISS and other NASA assets are protected.
298   See SpaceX Consolidated Opposition at III, 6, 7-8, 9.

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work with NASA to address its concerns.299 SpaceX states that it holds frequent meetings with NASA to
share information, present analysis results, and continually improve SpaceX’s operations regarding the
scaling of SpaceX’s autonomous collision avoidance system, how to improve interoperability between
multiple systems with autonomous collision avoidance systems, and improving coordination between the
ISS and Gen2 Starlink satellites operating below the ISS, among other issues.300 SpaceX states that
through its partnership with NASA, both NASA and SpaceX are confident NASA’s assets can remain
safe while sharing space with Gen2 Starlink, and neither NASA nor SpaceX have identified issues that
cannot be resolved by continued coordination.301 Given our authorization of 7,500 satellites, all planned
for regular operation at altitudes above ISS, and given SpaceX’s statements regarding its continued
coordination with NASA, we believe that NASA’s concerns are in the process of being addressed and
encourage continuing work to ensure a shared understanding of SpaceX’s advanced system, and the
implementation of any refinements that facilitate operator-to-operator coordination with both NASA and
other operators. The incremental approach we are taking for authorization of Gen2 Starlink will allow
continued monitoring of progress in addressing NASA’s concerns.
         78.     Allocating maneuver responsibility between constellations. Kepler, a constellation
operator whose satellites currently do not include a propulsive maneuver capability, proposed a condition
requiring SpaceX to bear responsibility for collision avoidance maneuvers.302 SpaceX objected to this
condition, arguing such a condition would incentivize other operators not to invest in collision avoidance
systems of their own.303 We decline to adopt a condition that would, in effect, remove responsibility from
other operators with respect to collision avoidance. As we concluded in the SpaceX Third Modification
Order, physical coordination is the responsibility of all operators, including operators operating spacecraft
that lack propulsion. However, we also note SpaceX’s commitment to continue conducting collision
avoidance maneuvers when the other operator lacks propulsion and to continue coordinating in good faith
with other operators with propulsion.304 We continue to consider constellation collision risk issues in a
pending rule making proceeding, and our action here is without prejudice to adoption of modified rules
that could include new requirements for constellation operators.
         79.      Collision Risk at Specific Operational Altitudes. Viasat and Kuiper assert that the 468
satellites SpaceX proposes to operate in the 604 km and 614 km shells will not comply with the
Commission’s individual satellite collision risk metric of 0.001.305 Viasat also expresses concern with
satellites planned for operations at 360 km.306 Since we do not authorize satellites planned for operations
at these altitudes in this grant, we do not reach these issues.
         80.      Orbital Tolerances. The satellites authorized in this grant are planned for operations in
orbital shells centered at altitudes from 525 km to 535 km. SpaceX has requested orbital tolerances of
+70 km and -50 km, i.e., the satellites in any orbital shell can be maintained for regular operations
anywhere within an altitude range of 70 kilometers above or 50 kilometers below the center altitude. The
Gen2 Starlink satellites in the authorized shells would, if this request is granted, be authorized for regular
299   Id. at 10; SpaceX April 8, 2022 Letter at 7.
300   See SpaceX August 19, 2022 Letter at 5.
301   Id.
302   See Kepler Comments at 2; Kepler Reply at 1-2, 3.
303   See SpaceX Consolidated Opposition at 10; 20; SpaceX April 7, 2022 Letter at 5-6.
304   See SpaceX Consolidated Opposition at 10-11; 20; SpaceX August 19, 2022 Letter at 4.
305See Viasat Petition at III, 37; Viasat Reply at 28; Viasat May 16, 2022 Letter at 2; Viasat May 18, 2022 Letter at
2, 4, 7; Kuiper Reply at 5-6.
306See Viasat October 4, 2022 Letter at 4-5. SpaceX later stated there had been an administrative error in its DAS
calculations and provided the correct large object collision risk value for the satellites at 360 km, demonstrating that
they do comply with the Commission’s collision risk limit. See SpaceX October 6, 2022 Letter at 2, n.10.

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operations at altitudes ranging from as low as 475 km to as high as 605 km.307 This represents a
substantially larger range of altitudes than for the Gen1 Starlink satellites. SpaceX states that this orbital
tolerance will allow the satellites in Gen2 Starlink to retain their operational life in periods of high drag
and maintain low passive decay times in the event the satellite becomes non-maneuverable.308
        81.       If we were to authorize SpaceX’s operations with the orbital tolerance requested, Gen2
Starlink satellite operations would be permitted at altitudes within the altitudes at which Kuiper’s
constellation will operate, beginning at altitudes around 580 km and above. Kuiper requests that we
require SpaceX to limit the orbital tolerances of its satellites to keep its operations below 580 km.309
Kuiper does not object to orbital overlap with smaller systems and agrees with SpaceX that nothing in the
Commission’s rules limits which orbits an operator may choose, but Kuiper emphasizes the risks posed
by the overlap of two systems operating at the scale of Kuiper’s and SpaceX’s proposed operations and
requests that the Commission require SpaceX to operate all Gen2 Starlink satellites at or below 580 km.310
        82.       The record does not reflect with any specificity a need for Gen2 Starlink satellite
operations at altitudes above 580 km, as opposed to the +45 to +55 km tolerance that can be achieved if
operations are maintained below 580 km. We also note that one of the reasons for larger orbital
tolerances that SpaceX identifies—effects of solar radiation on the orbits of spacecraft—is less
pronounced for the particular orbital shells authorized by this grant than for lower altitudes. We will
follow the approach of the SpaceX Third Modification Order,311 and require SpaceX to restrict its Gen2
Starlink operations to below 580 km. We condition this authorization accordingly. However, this action
is without prejudice to any determination we may make with respect to requirements such as orbital
separation or coordination for large constellations as is currently under consideration in a separate rule
making proceeding.
                     2.       Satellite Failures
         83.      In the SpaceX Third Modification Order, the Commission considered issues raised on the
record about the satellite failure rate for Gen1 Starlink. The Commission evaluated the collision risk
posed by the Gen1 Starlink system as a whole, should any of its satellites lose maneuverability and
therefore fail to complete post-mission disposal as planned. Such failures result in satellites that during
their remaining orbital lifetime present a collision risk because they cannot be maneuvered to avoid other
non-maneuverable objects, whether debris or active spacecraft. Similar to the record developed in that
proceeding, SpaceX’s satellite failure rate for Gen1 Starlink continues to be a matter of significant
contention in this record, as is the means by which we should account for SpaceX’s satellite failures. We
take an approach to assessing this issue generally consistent with the SpaceX Third Modification Order,
taking into account the performance of the system as a whole. As discussed below and in response to
comments, we adopt a reporting condition including a modified metric both for reporting and as a
benchmark for triggering any necessary additional review.
           84.       SES/O3b requests that we require similar reporting from SpaceX as in the SpaceX Third

307See   Viasat Petition at 11; Viasat Reply at III, 6-7.
308   SpaceX August 19, 2022 Letter at 4.
309 See Kuiper Comments at 8, 9; Kuiper Reply at 5. Since we do not authorize any SpaceX satellites for operations
in the 604 km and 614 km shells in this grant, we do not address Kuiper’s request that the Commission require
SpaceX to alter these planned operational altitudes.
310See Kuiper Comments at I, 2-3; Kuiper Reply at 2, 3-7. The majority of Kuiper satellites will operate between
590 km and 630 km, with orbital tolerances of ±9 km. See Kuiper Comments at 2, 3, 6-8. Viasat also supports
Kuiper’s requested condition, noting that the Commission has recognized the risks posed by orbital overlap of two
large systems and that SpaceX has provided no information on how it plans to coexist with Kuiper in these orbits.
See Viasat Petition at 42; Viasat Reply at 28.
311   See SpaceX Third Modification Order, 36 FCC Rcd at 8032-33, para. 66.

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Modification Order, an ongoing assessment of failure rates, with pauses in further deployment if
necessary.312 LeoLabs proposes an approach based on realized collision risk rather than projected
collision risk.313 LeoLabs proposes that SpaceX’s authorization to continue deploying satellites should be
based on the actual realized collision risk burden of up to 100 object years, i.e., the number of years each
failed satellite remains in orbit, summed across all failed satellites. SpaceX argues that LeoLabs’
suggestion is new and untested, and its formula is based on arbitrary factors.314
         85.      Deployment at the altitudes addressed in this Order will allow most Gen2 Starlink
satellites to comply with our new five year rule under typical solar conditions, even if the failure occurs at
the operational altitude, and particularly if orbital tolerances are maintained at the low end of requested
ranges. Failed disposals do, however, present a collision risk, and we include, as a condition of this
authorization, reporting requirements generally consistent with the reporting requirements specified in the
SpaceX Third Modification Order. Based on the approach suggested by LeoLabs for specifying a metric
that looks to realized collision risk, we incorporate a metric for disposal failures after which SpaceX will
not be permitted to deploy additional satellites. The metric of 100 object years LeoLabs proposes
provides a useful benchmark, if triggered, for pausing deployment and reassessing spacecraft reliability.
We recognize that this metric is, as SpaceX observes, new and untested, but we believe an incremental
approach based on a clear benchmark is appropriate in the context of a planned deployment that is at a
scale not previously undertaken and also untested. We will retain flexibility to revise this condition if
upon further analysis and consideration in our ongoing rule making proceeding it is determined that an
alternative approach is warranted. The adopted metric recognizes that failures at lower altitudes present
lower risk than at higher altitudes, where remaining orbital lifetimes are longer, and roughly corresponds
to the failure of twenty or more satellites in the orbital shells around 500 kilometers that are the subject of
this license grant. We will require SpaceX to submit a semiannual report on the number of satellites
launched and disposal failures, including for disposal failures a projection of the remaining orbital
lifetime of the failed satellites. If the cumulative number of years for all failed satellites exceeds 100,
SpaceX must cease satellite deployment while the sources of satellite failure are reviewed to determine
whether there are any adequate and reliable mitigation measures going forward.
                    3.       Other Issues
        86.      Casualty risk. At least one party raised concerns about a potential casualty risk from
SpaceX’s satellites reentering the Earth’s atmosphere upon demise.315 SpaceX states that using NASA
DAS software, it has confirmed that like its Gen1 Starlink satellites, its Gen2 Starlink satellites will fully
demise upon reentry into Earth’s atmosphere, presenting no casualty risk. Accordingly, there is no need
to include a specific condition concerning this matter.
        87.       Starship and Falcon 9 deployment mechanism. We asked SpaceX to clarify whether
Starship’s satellite deployment mechanism will use spacers or stiffening rods, which would generate
additional debris.316 While SpaceX initially stated the deployment mechanism for Starship had not yet
been finalized as of January 2022,317 SpaceX has since informed the Commission that it will not use
spacers or stiffening rods for the deployment mechanism for Gen2 Starlink satellites deployed on


  See SES/O3b Petition at II, 3, 17-18 (citing SpaceX Third Modification Order, 36 FCC Rcd at 8049, para. 97u);
312

SES/O3b Reply at I, 1-2, 16.
  See LeoLabs March 29, 2022 Letter at 2, 4. We note that LeoLabs filed its letter both in the record of the SpaceX
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Gen2 application and amendment as well as in the docket for the Commission’s ongoing orbital debris proceeding.
314   See SpaceX July 13, 2022 Letter at 1-2.
315   See Sierra Solter Hunt September 23, 2022 Letter at 1.
316   See Satellite Division December 23, 2021 Information Request at 3.
317   See SpaceX January 7, 2022 Response to Satellite Division Information Request at 7.

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SpaceX’s Starship launch vehicle.318 However, SpaceX does state that it will use spacers and tension rods
for the initial satellites deployed on its Falcon 9 launch vehicle.319 SpaceX describes its deployment
mechanism and procedures for satellites launched on its Falcon 9 launch vehicles as follows: “In
deploying multiple satellites with each launch, SpaceX uses four separate rod assemblies, each consisting
of two rods, to hold the stacked satellites in place within the fairing. To deploy the stack of satellites from
the launch vehicle, the rods release the satellites to separate them prior to further orbit raising activities.
Thereafter, the rods — which are made of lightweight aluminum and are only 1.5 inches in diameter and
about six meters long — naturally re-enter the Earth's atmosphere.”320 SpaceX has used its internal
software which it describes as leveraging the capabilities of NASA’s DAS but with higher fidelity
analysis, to calculate that these rods have an expected orbital lifetime of at most 36 days (assuming the
highest deployment SpaceX plans).321 SpaceX also states these rods will fully demise in the atmosphere
and pose no casualty risk.322 Although it is unclear at this point how many launches will utilize these
deployment mechanisms, given the short orbital lifetime and full demise of this operational debris, and in
light of longer-term plans for deployment using a different method, we take no further action at this time
concerning spacers and tension rods. As plans for deployment of the Gen2 Starlink system are refined,
including through modifications and further actions to address additional frequency bands, we retain
discretion to address this matter further if necessary.
        88.      Starlink’s impact on launch and reentry opportunities. NASA raises concerns that the
number of Gen2 Starlink satellites SpaceX proposes could cause the loss of launch and reentry
opportunities for NASA missions to the ISS as well as planned planetary missions such as Europa
Clipper.323 NASA therefore recommends that SpaceX commission an analysis of “launch window
availability against the current catalog compared to the current catalog plus the proposed full
constellation” to ensure Gen2 Starlink will not result in loss of access to space.324 As discussed
herein, SpaceX is continuing to work with NASA, and we believe this issue is best addressed through
continued coordination and an incremental approach to authorization of Starlink deployment. We
further condition this grant on SpaceX coordinating with NASA.
        89.       Lethal nontrackable debris and other risks. Viasat argues that SpaceX completely
ignores the risks posed by lethal nontrackable debris, the estimated one million pieces of debris ranging in
size from 1 cm to 10 cm.325 SpaceX argues that it has taken steps to protect its satellites from lethal
nontrackable debris, including design and orientation of its satellites and being a customer of LeoLabs
higher fidelity radar data and conjunction information.326 Viasat claims that none of these mitigations
318   See SpaceX October 4, 2022 Letter at 4.
319   Id.
320   See SpaceX Gen2 Application, Technical Attachment at 37.
321   Id.
322   Id.
323See NTIA Letter, NASA Letter at 4. SpaceX proposes approximately twenty thousand satellites between 328 km
and 360 km, which are common phasing altitudes for vehicles visiting ISS. Additionally, NASA’s planned
planetary missions like Europa Clipper have instantaneous or short launch windows, and loss of those launch
windows could severely impact those missions. Id.
324   Id.
325   See Viasat Petition at III, 40-41; Viasat Reply at 28, 37-38.
326See SpaceX April 8, 2022 Letter at 5-6. SpaceX explains it minimizes the height of each satellite to minimize
exposure to the flux most lethal nontrackable debris approaches from (within 5 degrees of the local horizon).
SpaceX satellites have a flat-plate chassis and spend most time flying flat with respect to the local horizon to
accomplish this. Id. LeoLabs also noted it was adding lethal nontrackable debris to its catalog of tracked objects in
summer 2022. See LeoLabs March 29, 2022 Letter at 5.

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satisfy its concerns because SpaceX has not quantified the risks from lethal nontrackable debris, so there
is no way of knowing if the risk is tolerable with SpaceX's mitigations.327 Given the conditions
concerning ongoing monitoring, we conclude that even if SpaceX has not sufficiently mitigated this risk,
unacceptably high disposal failure rates will be identified and addressed.
           H.       Authority for Orbit-Raising, Deorbit, and Testing Operations
          90.       SpaceX also requests authority in its license for communications during transition phases
before and after reaching its authorized operational altitudes.328 This would include authority to perform
telemetry, tracking and command (TT&C) functions during orbit-raising and de-orbit maneuvers.329 This
would also include authority for testing communications equipment performance during the orbit-raising
process, which would be conducted on a non-protected, non-harmful interference basis. SpaceX’s choice
to test its satellites at low altitudes is one of the factors on which SpaceX based its orbital debris
mitigation plan, as it allows SpaceX to deorbit any failed satellites and minimize the risk of satellites
experiencing a disposal failure at their operational altitudes, which lessens the collision risk posed by the
constellation. SpaceX clarified that while it intends to use Starship to avoid parking orbits and orbital
precession for its satellites by deploying them directly into their orbital planes, it still intends to deploy its
satellites at low insertion altitudes to conduct testing before orbit-raising the satellites to their operational
altitudes.330 SpaceX originally stated that in some cases, such as Starlink satellites launching on a
rideshare with other satellites, it will deploy its satellites directly into their operational altitudes,331 but
later clarified that it does not intend to deploy any of its Gen2 Starlink satellites directly into their
operational orbits.332 SpaceX also confirms that during transit, it will generally take responsibility for
collision avoidance maneuvers.333 SpaceX asserts that with nearly 30,000 satellites in Gen2 Starlink with
a design life of five years, it is likely that it will be engaged in launch and deorbit activities on an ongoing
basis. SpaceX argues that granting the requested authority as part of the space station license would
obviate the need for SpaceX to file—and the Commission to process—a never-ending stream of
applications for STA to cover operations as satellites are raised into and deorbited out of the
constellation.334
         91.     We find that granting SpaceX authority for these transition phase operations is in the
public interest with the conditions adopted herein. SpaceX’s practice of testing its satellites at injection
altitude, before orbit-raising, allows it to deorbit any non-functional satellites in a matter of days or
weeks, helping to ensure that non-maneuverable satellites do not reach operational orbit. Additionally,
given that SpaceX has been conducting these operations with its Gen1 Starlink satellites on an ongoing
basis without issue since 2019 pursuant to STA and authority granted in the SpaceX Third Modification
Order, we conclude that granting SpaceX authority to conduct these operations pursuant to the license for
its Gen2 Starlink constellation would lessen the burden on Commission resources to process STAs. We
conclude that granting SpaceX authority for these types of operations under this license, with the same

327   See Viasat May 18, 2022 Letter, at 12.
328   SpaceX Gen2 Application, Technical Attachment at 2.
329   See 47 CFR §§ 25.282, 25.283.
330See SpaceX January 7, 2022 Response to Satellite Division Information Request at 5; SpaceX August 19, 2022
Letter at 4.
331   See SpaceX January 7, 2022 Response to Satellite Division Information Request at 5.
332   See SpaceX October 4, 2022 Letter at 4.
333   See SpaceX August 19, 2022 Letter at 4.
334See SpaceX Gen2 Application, Technical Attachment at 2. SpaceX states that despite grant of eleven space
station STAs to cover orbit-raising and de-orbit activities for its first-generation constellation, it has received no
reports of interference or other issue from any other licensed operator.

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conditions we applied in the SpaceX Third Modification Order335 will sufficiently ensure that other
operators do not encounter harmful interference resulting from these operations. We also condition this
authorization, consistent with the information SpaceX provided, such that SpaceX may not deploy any of
the 7,500 Gen2 Starlink satellites authorized in this grant directly to their operational altitudes.
            I.       Protection of Science Missions Using Electromagnetic Spectrum
         92.     In the SpaceX Third Modification Order, we concluded that it would serve the public
interest under the Communications Act for SpaceX to ensure that it does not unduly burden astronomy
and other research endeavors because of the reflectivity of its satellites and their impact on optical
astronomy.336 Accordingly, we stated that we would continue to monitor this situation and SpaceX’s
efforts to achieve its commitments in that record.337 In response to SpaceX’s application for Gen2
Starlink, NASA, NSF, and several individual astronomers and amateur astronomy groups raise concerns
regarding the protection of science missions involving astronomy.
         93.       In letters submitted through NTIA, NASA and NSF raise concerns regarding the potential
impact of reflected sunlight on science missions using radio and optical electromagnetic spectrum.338 In
particular, NASA states that it has about fourteen Earth observation missions operating at altitudes above
the Gen2 Starlink satellites, and it is concerned reflected sunlight from nearly 30,000 Gen2 Starlink
satellites will interfere with those missions.339 NASA also states that the Hubble telescope is in an orbit at
535 km and SpaceX‘s proposed satellites operating above Hubble’s orbit could double the number of
degraded Hubble images by leaving streaks of reflected sunlight on those images.340 NASA also
expresses concerns about the potential impact on its wide-field ground-based telescopes which survey for
asteroids that could potentially impact the Earth. NASA estimates that with the addition of nearly 30,000
SpaceX satellites, there could be a Starlink satellite in every asteroid survey image taken by these
telescopes, potentially impacting NASA’s ability to fulfill its Congressional mandate. 341 NASA states
that in an effort to ensure a mutually beneficial space environment to meet commercial and scientific
needs, it hopes to obtain additional information from SpaceX regarding Gen2 Starlink operational
parameters, and to work with SpaceX to minimize any impacts to NASA’s science objective through



335   See SpaceX Third Modification Order, 36 FCC Rcd at 8049, paras. 97q, 97t.
336   Id. at 8047, para. 87.
337   Id.
338See generally NTIA Letter, NASA Letter, NSF Letter. In addition several astronomers, amateur astronomy
groups, and individuals also filed comments asking for denial or indefinite deferral of the Gen2 Starlink
constellation to protect optical astronomy. See Andy Lawrence September 18, 2022 Letter; The Astronomical
Society of Edinburgh September 23, 2022 Letter; Sierra Solter Hunt September 23, 2022 Letter; Tyler Kokjohn
September 26, 2022 Letter; Samantha Lawler September 30, 2022 Letter; Carrie Nugent September 30, 2022 Letter;
Meredith Rawls October 5, 2022 Letter; Roberto Trotta October 6, 2022 Letter; Graeme Cuffy October 11, 2022
Letter; RAS November 10, 2022 Letter. Several of these individuals additionally highlight the precedential effect
the Commission’s decision in granting the Gen2 Starlink constellation would have, given the many large
constellations planned for the future. See, e.g., Andy Lawrence October 18, 2022 Letter at 2, 6; Meredith Rawls
October 5, 2022 Letter at 1; Roberto Trotta October 6, 2022 Letter at 1-2.
339   See NTIA Letter, NASA Letter at 2.
  Id. at 3. Graeme Cuffy, an amateur astronomer, quotes NASA’s comments regarding SpaceX’s impact on the
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Hubble telescope to highlight the impact to astronomy. See Graeme Cuffy October 11, 2022 Letter at 1.
341See NTIA Letter, NASA Letter at 3. Sierra Solter Hunt, Samantha Lawler, Roberto Trotta, and Graeme Cuffy
echo NASA’s concerns about impact on NASA’s missions tracking near earth objects which could strike the Earth.
See Sierra Solter Hunt September 23, 2022 Letter at 1; Samantha Lawler September 30, 2022 Letter at 1; Roberto
Trotta October 6, 2022 Letter at 2; Graeme Cuffy October 11, 2022 Letter at 1.

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“robust mitigations.”342
         94.       NSF emphasizes the key role of ground based optical, infrared and radio astronomy for
scientific investigation and discovery.343 NSF states that it facilitated a coordination agreement for
SpaceX’s Gen1 Starlink system pursuant to Footnote US 131 of the United States Table of Frequency
Allocations344 between SpaceX and the radio astronomy sites listed in that footnote, and that discussions
for a mutually agreeable coordination agreement are currently ongoing for Gen2 Starlink.345 NSF also
states that it is working with operators to develop recommendations to minimize the impact on optical and
infrared astronomy, given that sunlight reflections from satellites, depending on the optical brightness,
may degrade images taken by optical telescopes. Mitigations encouraged by NSF include “reducing
optical brightness to 7th magnitude or fainter via darkening, deflecting light away from the Earth, or
attitude maneuvering, moving orbital elevations to ~700 km or lower, provision of orbital information for
astronomers to work on scheduling observations around satellite locations, and other ideas to be
developed.”346
        95.      A number of astronomers also express concerns in this record regarding the success of
SpaceX’s past mitigations and the prospects of its proposed mitigations going forward. Meredith Rawls,
a PhD researcher at the University of Washington’s Department of Astronomy, recognizes that SpaceX
has expended significant resources to work with astronomers to mitigate the effects of sunlight reflections
from Starlink satellites, but she argues these mitigation measures are “voluntary, insufficient, and in the
case of Starlink Gen2, untested.”347 Professor Andy Lawrence also notes that SpaceX halted its
experiments with “visorsat and darksat”348 due to issues with heat, drag, power, and communications
problems.349 These astronomers argue that the vast number of Gen2 Starlink satellites, along with their



342 NTIA Letter, NASA Letter at 3. See also Carrie Nugent September 30, 2022 Letter, at 1 (expressing concerns
regarding the effects of satellites on astronomers’ ability to detect asteroids that could impact the earth and
requesting that the Commission carefully evaluate the serious risks the Gen2 Starlink constellation poses to this vital
work). Professor Nugent recently conducted a survey of planetary defense experts, who were asked, “There has
been a rapid increase in the number of artificial satellites launched, with US Federal Communications Commission
filings indicating that tens of thousands could be launched in coming years. How concerned are you about these
satellites directly or indirectly (via Kessler syndrome) interfering with near-Earth object discovery?” Professor
Nugent reports that 100 percent of respondents stated they were at least slightly concerned, and 42 percent were
seriously or extremely concerned. See Carrie Nugent September 30, 2022 Letter at 1.
343   NTIA Letter, NSF Letter at 1.
34447 CFR 2.106, fn. US131 (“[i]n the band 10.7-11.7 GHz, non-geostationary satellite orbit licensees in the fixed-
satellite service (space-to-Earth), prior to commencing operations, shall coordinate with the following radio
astronomy observatories to achieve a mutually acceptable agreement regarding the protection of the radio telescope
facilities operating in the band 10.6-10.7 GHz”).
345   NTIA Letter, NSF Letter at 1.
346   Id.
347   See Meredith Rawls October 5, 2022 Letter at 1.
348As part of its program to reduce the brightness of Starlink, SpaceX tested an experimental darkening treatment on
one satellite (Darksat) and also deployed satellites with a visor (Visorsat), a deployable shield. In the SpaceX Third
Modification proceeding, SpaceX described these efforts as an iterative process, as a technical challenge, and stated
that it is working in close collaboration with the astronomy communities. See SpaceX Third Modification Order, 36
FCC Rcd at 8041-43, para. 86. In the SpaceX Third Modification Order, we recognized that SpaceX is still testing
some of these solutions and SpaceX will continue to work on reducing reflectivity of its satellites. Id. at 8043, para.
87.
349   See Andy Lawrence September 18, 2022 Letter at 2.

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larger size, will significantly worsen the impacts on optical astronomy.350 Professor Samantha Lawler and
Meredith Rawls argue that the addition of nearly 30,000 Starlink satellites will disrupt the entire field of
astronomical research.351 Professor Roberto Trotta of Imperial College London and the International
School for Advanced Learning in Trieste, Italy, states the 30,000 Gen2 Starlink satellites could corrupt up
to 50 percent of astronomical images, and the damage to the night sky and the field of astronomy could be
irreversible.352 The Royal Astronomical Society asks that we delay approval of the Starlink Gen2
constellation until SpaceX has demonstrated that it will meet the standards set out in a report overseen by
the International Astronomical Union (IAU).353 Professor Lawrence, Meredith Rawls, Graeme Cuffy, and
the Astronomical Society of Edinburgh also raise concerns regarding the increasing impact on amateur
astronomy and astrophotography.354
          96.     SpaceX has presented detailed information in the record regarding its mitigation efforts to
reduce the brightness of sunlight reflections from its satellites.355 SpaceX states that it “expects the
second-generation satellites to be darker than the first-generation satellites due to its brightness mitigation
efforts.”356 SpaceX explains that its Gen2 Starlink satellites will use “three advanced brightness
mitigation techniques:” dielectric mirror film, solar array mitigation, and darkening paint.357 SpaceX also
states that its goal is to make Gen2 Starlink “satellites invisible to the naked eye when they are on station
serving users, covering the vast majority of each satellite’s lifetime.”358 In addition, SpaceX continues to
work with a wide variety of astronomers, observatories, and astronomy-related groups “to help minimize
the effects of satellites on imagery.”359 SpaceX states that it continues to collaborate with NASA to
ensure its science missions are not affected by reflected sunlight from SpaceX’s satellites, including
regular meetings and coordination.360 SpaceX also states that it is continuing to work with the astronomy
community to implement recommendations from NSF and astronomers.361 In particular, SpaceX explains
that its engineers have “developed analysis software tools and adapted traditional optical engineering ray
tracing software to better predict brightness for new satellite designs and concepts of operation,” allowing

  Id. at 3-4; The Astronomical Society of Edinburgh September 23, 2022 Letter at 1; Meredith Rawls, October 5,
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2022 Letter at 1; Roberto Trotta October 6, 2022 Letter at 1.
351Samantha Lawler September 30, 2022 Letter at 1; Meredith Rawls October 5, 2022 Letter at 1. Tyler Kokjohn, a
private citizen with no stated affiliation with the astronomy community, also raises concerns about the Gen2 Starlink
constellation’s impact on astronomy in his home state of Arizona. See Tyler Kokjohn September 26, 2022 Letter.
352   See Roberto Trotta October 6, 2022 Letter at 1, 2.
353See RAS November 10, 2022 Letter at 2. The Royal Astronomical Society also requests that we apply similar
considerations to future filing requests, and end the exemption of large satellite constellations from environmental
impact. Id. We do not address these two additional requests here, as they are outside the scope of this proceeding.
354 See Andy Lawrence September 18, 2022 Letter at 3-4; Meredith Rawls October 5, 2022 Letter at 1; Graeme
Cuffy October 11, 2022 Letter at 1. Professor Lawrence points out that frustration has been growing in these
communities, and it is nearly impossible to find an image that does not contain satellite streaks—he provides
examples of two images degraded by reflected sunlight from satellites. See Andy Lawrence September 18, 2022
Letter at 3-4. The Astronomical Society of Edinburgh, a group of amateur astronomers, also describes how satellite
streaks in its members’ images have hampered projects with professional astronomers such as searching for meteors
or hunting outbursting young stars. See The Astronomical Society of Edinburgh, September 23, 2022 Letter.
355   See SpaceX August 1, 2022 Ex Parte, Attachment B.
356   Id.
357   Id.
358   Id.
359   Id.
360   See SpaceX Consolidated Opposition at 44; SpaceX August 1, 2022 Ex Parte at 1.
361   See SpaceX Consolidated Opposition at 52-53; SpaceX August 1, 2022 Ex Parte, Attachment B.

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it to incorporate brightness mitigations into the initial design of its satellites.362 According to SpaceX this
has produced mitigations that the astronomy community supports, and which have allowed SpaceX to
incorporate the satellite brightness into the design process of its Gen2 Starlink satellites.363 SpaceX states
its mitigations have included geometry changes, material specifications, and maneuvering operations to
reduce satellite brightness and aim reflected sunlight away from the Earth, and SpaceX engineers have
developed a satellite coating to mitigate diffuse reflectance.364 SpaceX states that its satellites will be
bright enough to be visible to the naked eye immediately after launch and orbit-raising and deorbit
phases, as well as during collision avoidance burns, as during these times SpaceX cannot maneuver to
mitigate reflected sunlight while also meeting mission objectives, but SpaceX also states it is continuing
to refine its mitigation practices to resolve this problem.365 Additionally, SpaceX explains that the low
altitudes of its satellites mean they do not reflect sunlight during the darkest parts of the night, and that
SpaceX makes highly accurate satellite tracking details available so astronomers can avoid its satellites.366
        97.      Under the Communications Act, we may grant an application only upon a finding that the
“public convenience, interest, or necessity will be served thereby.”367 In light of the concerns raised by
NASA, NSF, and the astronomy community, we continue to find, as we did in the SpaceX Third
Modification Order, that it is in the public interest to continue to monitor SpaceX’s ongoing efforts to
diminish the average brightness of its satellites to ensure that SpaceX does not unduly burden astronomy
and other scientific endeavors.368 We encourage SpaceX to continue its good faith efforts and
coordination with NASA, NSF, and other stakeholders in an effort to ensure a mutually beneficial
sustainable space environment to maximize public interest benefits.369 We find SpaceX’s approach of
building mitigations into the initial design of its satellites is promising, coupled with SpaceX’s ongoing
coordination with NASA, NSF, and the astronomy community.
         98.     To ensure a sustainable operating environment for services using electromagnetic
spectrum, we condition this authorization to require SpaceX to continue to coordinate and collaborate
with NASA to promote a mutually beneficial space environment that would minimize impacts to NASA’s
science missions involving astronomy and to require SpaceX to coordinate with NSF to achieve a
mutually acceptable coordination agreement to mitigate the impact of its satellites on optical ground-
based astronomy. We also condition this authorization to require SpaceX to submit an annual report to
the Commission, by January 1st each year, covering the preceding year and containing the following
information: (1) whether it has reached a coordination agreement with NSF addressing optical astronomy;
and (2) any steps SpaceX has taken to reduce the impact of its satellites on optical astronomy, including
but not limited to darkening, deflecting light away from the Earth, attitude maneuvering, and provision of
orbital information to astronomers for scheduling observations around satellites’ locations.
        99.      The conditions we adopt today will ensure that SpaceX’s Gen2 Starlink satellites are
being built, deployed and operated in a manner that serves the public interest by facilitating co-existence
with other critical services, including those using various ranges of electromagnetic spectrum, enabling
safe operation and reduced interference, and preserving sustainability of the space environment and
362   SpaceX Consolidated Opposition at 52-53; see also SpaceX August 1, 2022 Ex Parte, Attachment B.
363   See SpaceX Consolidated Opposition at 52-53; SpaceX August 1, 2022 Ex Parte, Attachment B.
364   See SpaceX Consolidated Opposition at 53; SpaceX August 1, 2022 Ex Parte, Attachment B.
365   See SpaceX August 1, 2022 Ex Parte, Attachment B.
366   See SpaceX Consolidated Opposition at 53; SpaceX August 1, 2022 Ex Parte, Attachment B.
  47 USC § 307(a). SpaceX Consolidated Opposition at 44; SpaceX August 1, 2022 Ex Parte at 1 (arguing that the
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Commission does not have “jurisdiction over satellite reflectivity issues”).
368   See SpaceX Third Modification Order, 36 FCC Rcd at 8043, para. 87.
  Id. (noting SpaceX’s representation that it had diminished the average brightness of its satellites and made
369

commitment to the astronomy community regarding further reduction in the visibility of its satellites).

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orbital resources.370
         100.      Professor Andy Lawrence also notes that the astronomy community, including the team
at the Vera Rubin Observatory where he conducts research, has recommended satellites have an apparent
magnitude of 7 or greater, an order of magnitude dimmer than visibility to the naked eye (the higher the
apparent magnitude, the dimmer the object).371 Professor Lawrence argues that there is no information in
the SpaceX application regarding the predicted apparent magnitude of SpaceX’s Gen2 Starlink satellites
and no evidence that SpaceX’s proposed mitigations will in fact lessen the impact on astronomers.372 In
the SpaceX Third Modification Order, the Commission took note of SpaceX’s representation that it has
diminished the average brightness of its satellites from a 4.99 apparent magnitude to a 6.48 apparent
magnitude and made commitments to the astronomy community regarding further reduction in the
visibility of its satellites.373 SpaceX states that even though its Gen2 Starlink satellites “are larger than its
Gen1 Starlink satellites, SpaceX still expects the second-generation satellites to be darker than the first-
generation satellites due to its brightness mitigation efforts.”374 In the record, SpaceX demonstrates that it
has continued to improve its satellite design to mitigate the reflectivity of its satellites. SpaceX will
continue to work with a wide variety of astronomers, observatories, and astronomy-related groups to help
minimize the effects on astronomy.375 We find SpaceX’s ongoing efforts, coupled with the license
conditions we impose today, should further address the concerns raised by commenters.
         101.     Additionally, while satellites operating below 600 km reflect sunlight for shorter amounts
of time, Professor Lawrence argues that lower satellites, such as those SpaceX proposes at 350 km, will
nonetheless be brighter than those at a higher orbit.376 Professor Lawrence also predicts that SpaceX will
always have several thousand satellites orbit-raising or deorbiting, and he states that orbit-raising and
deorbiting satellites can be as bright as 3rd to 5th magnitude.377 Although SpaceX’s satellites might be
visible immediately after deployment and orbit-raising and deorbit phases, as during these times SpaceX
states that it cannot maneuver to mitigate reflected sunlight while also meeting mission objectives,
SpaceX states that it is continuing to refine its mitigation practices to resolve this problem.378 In addition,
the low altitudes of SpaceX’s satellites mean they do not reflect sunlight during the darkest parts of the
night.379 The astronomy community recommends that satellites should be operated below 600 km in order
to minimize the impact on astronomy.380 The restriction in this Order requiring SpaceX to maintain
operations below 580 km is consistent with the recommendation to operate satellites below 600 km, and
so this restriction should also help reduce the brightness of satellites in conjunction with the other

370See, e.g., 47 U.S.C. §§ 154(i), 303(e), 303(f),303(r), 303(y), 307(a), 309; see also ITU Radio Regulations. See
also, 2020 Orbital Debris Order and FNPRM, 35 FCC Rcd at 4164, para. 15 (citing Mitigation of Orbital Debris,
Second Report and Order, 19 FCC Rcd 11567, 11575, para. 15 (2004)).
371   See Andy Lawrence September 18, 2022 Letter at 2.
372Id. For example, Professor Lawrence argues specific instances of reflected specular light from SpaceX’s new
satellite coating could be more harmful than the diffuse reflected light from SpaceX’s satellites. Id.
373   See SpaceX Third Modification Order, 36 FCC Rcd at 8043, para. 87.
374   See SpaceX August 1, 2022 Ex Parte, Attachment B.
375   Id.
376   See Andy Lawrence September 18, 2022 Letter at 2.
377   Id.
378   See SpaceX August 1, 2022 Ex Parte, Attachment B.
379   See SpaceX Consolidated Opposition at 53; SpaceX August 1, 2022 Ex Parte, Attachment B.
380See SpaceX Third Modification Order, 36 FCC Rcd at 8043, para. 86 (citing Reply of the American
Astronomical Society, IBFS File No. SAT-MOD-20200417-00037, at 1 (filed Jan. 7, 2021)); see also Viasat
Petition at 67.

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conditions we impose today. We also do not authorize SpaceX to deploy satellites below 400 km in our
action today. We therefore do not need to address Professor Lawrence’s concerns regarding the
brightness of lower-flying satellites such as those operating at 350 km.
         102.    As to Professor Lawrence’s argument that SpaceX’s collaboration with astronomers will
not resolve these issues for all astronomers,381 as well as the Royal Astronomical Society’s request that we
delay grant of SpaceX’s Gen2 Starlink pending a demonstration that it will meet standards in the
International Astronomical Union Report,382 we find that SpaceX’s collaboration with NSF and the
scientific community should result in mitigations that benefit the professional and amateur astronomy
communities in general, and we urge astronomers with specific concerns to work with SpaceX, as their
colleagues have done, to address them. In addition, we note the concerns in the record assume we will
authorize SpaceX’s entire proposed constellation of nearly 30,000 satellites, and commenters accordingly
predict drastic impacts on astronomy. We find that granting SpaceX’s application only in part should
reduce the severity of these concerns as we continue to monitor these issues and examine the impact of
these and any future satellites we may authorize for Gen2 Starlink.
           J.       Environmental Concerns Citing the National Environmental Policy Act
         103.    Viasat and NRDC/IDA request that the Commission conduct environmental review of the
SpaceX Gen2 Starlink application, as amended, under the National Environmental Policy Act of 1969
(NEPA).383 Viasat and NRDC/IDA raise concerns related to (1) atmospheric effects from rocket
launches;384 (2) atmospheric effects from satellites reentering the atmosphere at the end of their
missions;385 (3) effects of reflected sunlight on the astronomy community and on the general public;386 and
(4) safety concerns arising out of orbital debris and satellite collision risks in space.387 These parties
assert that Gen2 Starlink as proposed may, or will, have a significant impact on the human environment,
and argue that the Commission should prepare a programmatic Environmental Impact Statement to
analyze the potential consequences of all satellites authorized or to be authorized by the Commission, or
that the Commission should prepare an Environmental Impact Statement (EIS) or, at minimum, require
SpaceX to prepare an Environmental Assessment (EA) focused on the individual and cumulative effects
of SpaceX’s satellites before authorizing SpaceX’s constellation.388 Viasat also argues that the technical
assessment from the Government Accountability Office (GAO) published in September 2022 “reinforces
the need for an environmental review of SpaceX’s proposal.389 In addressing the concerns raised, we


381 See Andy Lawrence September 18, 2022 Letter at 1-2. Professor Lawrence states he has not joined the working
groups analyzing these issues or participated in collaboration with SpaceX in order to maintain an independent view
of the situation.
382   RAS November 10, 2022 Letter at 2.
383See Viasat Petition at 54-67; NRDC/IDA Comments. We note that NRDC/IDA’s comments were filed well-
outside the comment filing window, but we will nonetheless treat them as a petition filed under section 1.1307(c) of
our rules. See 47 CFR § 1.1307(c).
384   See Viasat Petition at IV, 2, 56-58; Viasat Reply at 46; NRDC/IDA Comments at 1-2, 5-6, 7, 8.
385   See Viasat Petition at IV, 2, 58-61; Viasat Reply at 48-50; NRDC/IDA Comments at 1-2, 5-6, 7.
386   Viasat Petition at IV, 2, 61-67; NRDC/IDA Comments at 9-10.
387   See Viasat Petition at I, IV, 2, 54-67; see also generally NRDC/IDA Comments.
388   See Viasat Petition at 56; NRDC/IDA Comments at 1, 2, 3, 4, 7-8, 12.
389See Viasat October 13, 2022 Letter at 1. We note however that in the technical assessment, GAO states that “In
this report, …. [a]lthough we describe certain relevant U.S. laws and regulations for context, we are not adopting the
definitions used under the National Environmental Policy Act of 1969 (NEPA). We are not commenting on whether
or how these [environmental or other] effects should be analyzed, regulated, or mitigated under NEPA or any other
environmental legislation.” See GAO Technology Assessment, Large Constellations of Satellites, Mitigating
                                                                                                        (continued….)
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follow the approach in the SpaceX Third Modification Order, wherein we analyzed whether the
preparation of an EA would be required pursuant to our rules, without deciding the novel issue of
NEPA’s scope vis-à-vis space activities. We conclude that an EIS is not required in connection with this
particular licensing action, and that SpaceX is not required to prepare an EA prior to our taking action in
this partial grant.
         104.     Part 1, Subpart I of our rules390 implements the provisions of NEPA.391 The rules provide
that, except for a specifically enumerated list of conditions that expressly require the preparation of an
EA, other Commission actions “are deemed individually and cumulatively to have no significant effect on
the quality of the human environment and are categorically excluded[.]”392 Under the Commission’s
rules, the Commission requires its licensees and applicants to determine whether a deployment is
categorically excluded from further environmental review and, if not, to prepare an EA when required.393
Applicants must determine whether a proposed action falls under one of the specified categories in the
FCC’s rules that would require an EA.394 Given that the categories set forth in section 1.1307(a) and (b)
of our rules largely focus on environmental effects at the earth’s surface, space stations generally have not
triggered these categories and therefore have been categorically excluded from review.395
         105.    Our rules further state that even if a “particular action” is otherwise categorically
excluded from review under NEPA, an interested party who alleges that the action will have a significant
environmental impact may submit “a written petition setting forth in detail the reasons justifying or
circumstances necessitating environmental consideration in the decision-making process.”396 Under that
provision, the Bureau responsible for the particular action “shall review the petition and consider the
environmental concerns that have been raised” and if the Bureau “determines that the action may have a
significant environmental impact,” the Bureau will require the applicant to prepare an EA which will
serve as the basis for the determination to proceed with or terminate environmental processing.397
         106.    The Commission has not typically received petitions raising environmental concerns
regarding the licensing of space stations, though Viasat submitted a petition in the proceeding for the
Third SpaceX Modification to its Gen1 Starlink constellation, and The Balance Group raised comments
citing NEPA on that application as well.398 In the SpaceX Third Modification Order, we found the issues
Viasat and The Balance Group raised did not warrant preparation of an EA under our rules.399 Viasat, The
Balance Group, and DISH appealed the decision to the U.S. Court of Appeals, D.C. Circuit, which
subsequently upheld the SpaceX Third Modification Order on August 26, 2022 against DISH’s
interference-related challenge, while declining on standing grounds to consider the particular NEPA
(Continued from previous page)
Environmental and Other Effects, GAO-22-105166, at 6, n. 7 (Sept 2022) (GAO Technology Assessment); SpaceX
October 24, 2022 Letter at 2.
390   47 CFR § 1.1301.
391   National Environmental Policy Act of 1969, as amended, 42 U.S.C. §§ 4321-4335 (NEPA).
392   47 CFR § 1.1306(a).
393   See 47 CFR § 1.1301, et seq.
394   See 47 CFR §§ 1.1306, 1.1307(a), (b).
395   See 47 CFR §§ 1.1307(a)-(b).
396   47 CFR § 1.1307(c).
39747 CFR § 1.1307(c). Additionally, if the Bureau responsible for processing a particular action, otherwise
categorically excluded, determines that the proposal may have a significant environmental impact, the Bureau, on its
own motion, shall require the applicant to submit an EA. 47 CFR § 1.1307(d).
398   See SpaceX Third Modification Order, 36 FCC Rcd at 8036, para. 74.
399   See SpaceX Third Modification Order, 36 FCC Rcd at 8036, para. 75.

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claims that Viasat and the Balance Group raised.400
         107.     Legal and Procedural Framework. We first establish the legal framework for
consideration of these claims. As an initial matter, BBILAN seeks “review and removal” of the
Commission’s “categorical exclusion from NEPA for satellite licensing.”401 We find that these comments
effectively seek a broader rulemaking proceeding,402 and thus are not appropriately addressed in the
context of this licensing proceeding, which is an individualized decision under our generally applicable
rules as they currently exist.403 BBILAN discusses the Commission’s regulatory framework
implementing NEPA as a whole, rather than its approach regarding this application, as amended. We also
note that BBILAN does not cite any specific laws or regulations to support its claim that the
Commission’s categorical exclusion is incorrect as a matter of law, nor does it otherwise demonstrate that
the Commission lacked legal authority to adopt the categorical exclusion, even if it believes it should be
altered now.
         108.     We next address the scope of our review. Parties argue that we should consider the
potential environmental impacts arising from the Commission’s entire satellite licensing regime,
requesting that the Commission prepare a programmatic Environmental Impact Statement (EIS) that
would address the potential consequences of the proposed operations of all commercial satellite operators
before authorizing further satellite deployment.404 We find NRDC/IDA’s request for a programmatic EIS
encompassing all commercial satellite licensing to be outside the scope of this licensing proceeding.
Similar to BBILAN’s request to review the Commission’s categorical exclusion framework, we conclude
that this request by NRDC/IDA is more squarely presented within the context of the Commission’s
overall regulatory framework, particularly given that claims under NEPA have not previously been raised
in the context of licensing satellite constellations, with the exception of the SpaceX Third Modification
application.
        109.     Applicability of NEPA. SpaceX recognizes that in the SpaceX Third Modification Order,
we did not reach the threshold issue of whether NEPA applies to activities in outer space, however
SpaceX urges us to now find that NEPA does not apply to activities in outer space, because without such
a threshold ruling, Viasat will continue to “weaponize” NEPA against its competitors.405 Given that the
400See generally Viasat, Inc. v. FCC, 47 F.4th 769 (D.C. Cir. 2022). The D.C. Circuit concluded that the Balance
Group lacked Article III standing, and that Viasat’s asserted injuries either did not satisfy Article III or did not fall
within the zone of interests protected by NEPA. Id.
401See BBILAN Comments at 6, 8. BBILAN argues that satellite licensing in general raises serious environmental
and food security risks, “including toxic waste from rocket fuels and motors, light pollution which interferes with
insects and agricultural production, health effects of emissions from space launches, RF/EMF radiation from linked
base and earth stations, depletion of the ozone layer and associated climate change effects.” Id. at 5.
  We note that these issues have been raised in a petition for rulemaking of the Healthy Heavens Trust Initiative,
402

which is a project of BBILAN. Id. at 1, n.1.
403See, e.g., Viasat, Inc. v. FCC, 47 F.4th 769, 776 (D.C. Cir. 2022) (“an agency need not—indeed should not—
entertain a challenge to a regulation, adopted pursuant to notice and comment, in an adjudication or licensing
proceeding” (quoting Trib. Co. v. FCC, 133 F.3d 61, 68 (D.C. Cir. 1998), internal quotation marks omitted)).
404   See NRDC/IDA Comments at 12.
405See SpaceX Consolidated Opposition at VII, 45, 46-47; SpaceX May 18, 2022 Ex Parte at 1, Exhibit B at 6;
SpaceX August 1, 2022 Ex Parte at 1-2; SpaceX October 20, 2022 Letter at 2; SpaceX October 24, 2022 Letter at 2.
SpaceX argues, for example, that the CEQ has found that NEPA does not apply “extraterritorially”, see SpaceX
Consolidated Opposition, at 46 (citing 40 CFR § 1508.1(q)(1)(i)), and also makes arguments citing to the Treaty on
Principles Governing Activities of States in the Exploration and Use of Outer Space, Including the Moon and Other
Celestial Bodies (Outer Space Treaty), in arguing that NEPA does not apply to activities that occur in outer space,
see SpaceX Consolidated Opposition, at 46 (quoting Treaty on Principles Governing Activities of States in the
Exploration and Use of Outer Space, Including the Moon and Other Celestial Bodies art. II, Jan. 27, 1967, 18 U.S.T.
2410, 610 U.N.T. S. 205, https://www.unoosa.org/oosa/en/ourwork/spacelaw/treaties/outerspacetreaty.html)). Viasat
                                                                                                       (continued….)
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applicability of NEPA in this area presents what we have described as “novel questions,”406 we will
follow our lead in the SpaceX Third Modification Order, and assume, without deciding, that NEPA
applies. Accordingly, we do not make a finding regarding the extent to which NEPA does or does not
apply to the various claims.407 In the SpaceX Third Modification Order, we stated that as a threshold
matter it was not clear that all of the issues raised by the parties in the record were within the scope of
NEPA.408 As explained in detail below, based on the record in this particular proceeding, we do not find
that SpaceX must prepare an EA on the issues raised in the record or that any other additional
environmental review is required. In certain instances, we discuss how our responsibilities under the
Communications Act address the concerns raised under this section, and explain how the license
conditions we adopt herein diminish any likelihood of harm.
          110.   Extraordinary Circumstances. As in the SpaceX Third Modification proceeding, the
parties once again debate whether special circumstances must be determined to overcome a categorical
exclusion.409 As we did in the SpaceX Third Modification Order, we decline to reach the issue, disputed
by the parties, of whether there must be “extraordinary circumstances” shown to override the categorical
exclusion. Instead, we consider this matter under the framework outlined in section 1.1307(c) of our
rules.410
        111.     Standing. SpaceX argues that Viasat’s arguments regarding environmental issues must
be dismissed because of lack of standing, citing the August 2022 decision by the Court of Appeals for the
D.C. Circuit.411 Given that we independently reject Viasat’s NEPA arguments on the merits, we decline
to reach SpaceX’s arguments regarding Viasat’s standing, consistent with the SpaceX Third Modification
Order, which likewise considered similar arguments in the record irrespective of whether they were in a
properly-filed petition to deny.412

(Continued from previous page)
and NRDC/IDA argue, on the other hand, that space is part of the human environment, and make a variety of
arguments in support of their view. As noted, we decline to reach this novel issue.
406   SpaceX Third Modification Order, 36 FCC Rcd at 8037, para. 77.
407   Id.
408Id. The Commission further observed that several of the issues in the record raised novel questions about the
scope of NEPA, including whether NEPA covers sunlight as a source of “light pollution” when reflecting on a
surface that is in space. Id.
409SpaceX again urges the Commission to rule on the threshold question of whether special circumstances are
required to overcome a categorical exclusion. SpaceX argues that even if NEPA does apply in outer space, a
petitioner must demonstrate extraordinary circumstances to overcome the categorical exclusion, and speculative or
uncertain claims of environmental impact, especially when the activity has already been categorically excluded,
cannot be sufficient to compel environmental review; the Commission must be provided, on the record, evidence
that the environmental harm is both significant and sufficiently plausible. See SpaceX Consolidated Opposition at
VII, 45-49; SpaceX August 1, 2022 Ex Parte at 1-2; SpaceX October 20, 2022 Letter at 2. Viasat states that SpaceX
is mischaracterizing the standard of proof required under the Commission’s rules. Under NEPA, Viasat argues, a
federal agency must conduct environmental review if an action may have a significant impact on the human
environment—no special circumstances are required. Even if special circumstances are required, Viasat reiterates
that SpaceX is planning to deploy more than ten times the number of satellites launched in the entire history of
mankind, which could include launches every six days to deploy and maintain the constellation, and there is nothing
normal about that activity—in other words, the sheer scope of SpaceX’s proposed Gen2 Starlink constellation are
the special circumstances that overcome the categorical exclusion. See Viasat Reply at 56-59.
410   See 47 CFR § 1.1307(c).
411   See SpaceX August 29, 2022 Letter at 3.
412See, e.g., SpaceX Third Modification Order, 36 FCC Rcd at 7998-02, para. 5 (noting the various filings in the
proceeding including “an Opposition and Motions” filed by the Balance Group); id. at 8036, para. 75 (“consider[ing]
the claims raised by The Balance Group and Viasat under section 1.1307(c) of our rules”).

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         112.     Scope of NEPA Review with respect to “Commission Action.” NRDC/IDA argue that we
should consider the proposed “30,000” Gen2 Starlink satellites in the context of previously authorized
SpaceX satellites and SpaceX satellites that it is reasonably foreseeable may be launched in the future, as
well as past and future authorizations of other space objects.413 NRDC/IDA also argue that even if the
Commission chooses not to conduct a programmatic review, it must at the very least evaluate the SpaceX
proposal now before it in the context of all satellites that the Commission has already authorized,
including non-SpaceX satellites.414 We note that while this partial grant pertains to the authorization of
7,500 satellites, the Commission has previously authorized SpaceX to construct, deploy, and operate
4,408 Gen1 Starlink satellites.415 The Commission also has previously authorized SpaceX to conduct
radiofrequency operations over a separate NGSO system to operate in the V-band (7,518 satellites),416 but
SpaceX has stated that it does not intend to launch separate V-band satellites and will instead seek a
license modification to add V-band communications capabilities to a subset of its Gen2 Starlink satellites,
and in any event SpaceX’s V-band authorization was subject to the Commission’s approval of a license
modification.417 Accordingly, in this analysis under our NEPA rules, when considering cumulative
effects, we take into account the previously authorized 4,408 Gen1 Starlink satellites, and the 7,500
satellites authorized in this grant in part. We note that our action here is separate from the Commission’s
previously authorized non-SpaceX satellites, and this action is evaluated and conditioned under our rules
based on the record herein. Consistent with our decision in the SpaceX Third Modification Order,418 with
respect to future actions, we do not speculate on how the Commission may act on the remaining proposed
Gen2 Starlink satellites and other potential applications that may be filed in the future for additional
satellites. Rather, consistent with section 1.1307 of our rules, we address whether the particular “action”
at issue requires preparation of an EA, while still taking into consideration the cumulative effect of
SpaceX’s operations.
                    1.       Atmospheric Effects from Rocket Launches
         113.    Viasat and NRDC/IDA argue that Gen2 Starlink will have a significant environmental
impact because of the increased air pollution caused by the vast number of rocket launches required to
deploy and maintain such a large constellation.419 Viasat explains rockets emit ozone-depleting chemicals
and inject particles into the stratosphere which absorb and reflect solar energy, warming the stratosphere
and cooling the surface of the Earth (radiative forcing).420 Viasat also quotes the GAO Technology
Assessment, which states that emissions from rocket launches “could cause a change in the temperature of
the upper atmosphere.”421 NRDC/IDA elaborates that stratospheric ozone depletion leads to increased
rates of skin cancer, cataracts, and other illnesses in humans, and these ozone-depleting chemicals can



413   See NRDC/IDA Comments at 12.
414   Id.
415   See generally SpaceX Third Modification Order, 36 FCC Rcd 7995.
416   See SpaceX V-band Authorization, 33 FCC Rcd at 11440.
  See SpaceX October 27, 2022 Letter at 2; see also SpaceX V-band Authorization, 33 FCC Rcd at 11447, para.
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32o.
418   SpaceX Third Modification Order, 36 FCC Rcd at 8037-38, para. 78.
419   See Viasat Petition at IV, 2, 56-58; Viasat Reply at 46; NRDC/IDA Comments at 1-2, 5-6, 7, 8.
420See Viasat Petition at 57; see also NRDC/IDA Comments at 8. Professor Samantha Lawler, of the University of
Regina, states that noctilucent clouds, high-altitude clouds that shine at night, have been directly linked to emissions
from rocket launches, and that these rocket launches have already changed the chemistry of our atmosphere and will
continue to do so if not checked. See Samantha Lawler September 30, 2022 Letter at 2.
421   See Viasat September 13, 2022 Letter at 3 (quoting GAO Technology Assessment, at 1).

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also contribute to catastrophic climate change.422
         114.    Viasat recognizes that in the SpaceX Third Modification Order, we decided not to
conduct NEPA review of SpaceX’s launches of the Gen1 Starlink constellation due to the FAA’s
environmental review of those launches, but Viasat asserts that the FAA’s review does not account for the
launch cadence SpaceX would need to maintain in order to deploy the Gen2 Starlink satellites and
replacements.423 It is not clear where Viasat’s assessment arises from in the context of the FAA’s review
of the SpaceX launch operations, and the FAA’s Final Programmatic Environmental Assessment (PEA)
for the SpaceX Starship/Super Heavy Launch Vehicle, for example, notes that the PEA provides a
broader analysis of all reasonably foreseeable activities and effects expected to be caused by the proposed
permitting or licensing action.424 NRDC/IDA argue that while the Commission may incorporate the
FAA’s analysis of environmental impacts from rocket launches into its own analysis, it is not entitled to
rely on the FAA’s environmental review to the exclusion of its own review.425 NRDC/IDA argue that the
Commission is still required to conduct its own independent review and document the absence of
environmental impact on this issue.426
          115.    Under our rules, we need not conduct an environmental review of the Gen2 Starlink
satellite launch activity because another federal agency has reviewed the same activity under NEPA.427
We disagree with Viasat’s claim that there is no evidence that the FAA has taken responsibility for
environmental review of SpaceX’s launch activities with Starship. It has long been clear the FAA was
reviewing the environmental impacts of Starship, and in June, 2022, the FAA completed its review under
NEPA.428 SpaceX also intends to launch its Gen2 Starlink satellites using the Falcon 9 launch vehicle, but

422See NRDC/IDA Comments, at 1-2, 5-6, 7, 8 (citing David Doniger, Giving Thanks for the Montreal Protocol —
Proof that Companies Actually Can Cooperate (Nov. 25, 2011), https://www.nrdc.org/experts/david-doniger/giving-
thanks-montreal-protocol-proof-countries-actually-can-cooperate).
423See Viasat Petition at 57-58, N.118, N.119 (citing Derek Wise, Elon Musk says SpaceX could face 'genuine risk
of bankruptcy' from Starship engine production, SPACE EXPLORED (Nov. 29, 2021),
https://spaceexplored.com/2021/11/29/spacex-raptor-crisis/.; Federal Aviation Administration, Draft Programmatic
Environmental Assessment for the SpaceX Starship/Super Heavy Launch Vehicle Program at the SpaceX Boca
Chica Launch Site in Cameron County, Texas, at 14, § 2.2 (Sep. 2021)); Viasat Reply at 47-48. Viasat estimates
that the full Gen2 constellation would require at least seven times the number of launches necessary to launch the
Gen1 Starlink constellation, consistent with the nearly sevenfold increase in the number of satellites. Viasat
estimates SpaceX would require approximately one launch every six days to maintain the Gen2 Starlink
constellation. See Viasat Petition at 56-57; Viasat Reply at 47-48.
424FAA’s “Final Programmatic Environmental Assessment for the SpaceX Starship/Superheavy Launch Vehicle at
the SpaceX Boca Chica Launch Site in Cameron County, Texas” and “Mitigated Finding of No Significant
Environmental Impact and Record of Decision for the SpaceX Starship/Superheavy Launch Vehicle Program at the
Boca Chica Launch Site in Cameron County, Texas,” at 3, June 2022,
https://www.faa.gov/space/stakeholder_engagement/spacex_starship.
  See NRDC/IDA Comments at 8 (citing Calvert Cliffs' Coordinating Comm., Inc. v. U. S. Atomic Energy Comm'n,
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449 F.2d 1109, 1117-18 (D.C. Cir. 1971)).
426   Id.
427See 47 CFR § 1.1311(e) (“An EA need not be submitted to the Commission if another agency of the Federal
Government has assumed responsibility for determining whether [ ] the facilities in question will have a significant
effect on the quality of the human environment….”). See also SpaceX Consolidated Opposition at VII, 51; SpaceX
October 20, 2022 Letter at 5-6.
428FAA’s “Final Programmatic Environmental Assessment for the SpaceX Starship/Superheavy Launch Vehicle at
the SpaceX Boca Chica Launch Site in Cameron County, Texas” and “Mitigated Finding of No Significant
Environmental Impact and Record of Decision for the SpaceX Starship/Superheavy Launch Vehicle Program at the
Boca Chica Launch Site in Cameron County, Texas,” June 2022,
https://www.faa.gov/space/stakeholder_engagement/spacex_starship.

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as we discussed in the SpaceX Third Modification Order, in July, 2020, the FAA completed review of
SpaceX’s increased launch activity with the Falcon 9, including through 2025.429 Given the FAA’s
review of the rocket launches expected to be used to transport the Gen2 Starlink satellites we approve
today, we do not find that our action herein may have a significant environmental impact such that we
should require SpaceX to prepare a separate EA with respect to rocket launches, which we conclude
would simply duplicate the FAA’s review. We also find that we need not address the question of whether
Viasat provided sufficient evidence of the effects of rocket launches on the atmosphere,430 as the FAA has
taken responsibility for the environmental review of SpaceX’s launch activities,431 including assessment,
for example, of the estimated carbon dioxide equivalent emissions.432 We have every confidence the FAA
has conducted, and will continue to conduct as necessary, thorough environmental reviews of SpaceX’s
launch activities and accordingly we incorporate the FAA’s analysis into our own environmental
review.433 In light of the FAA’s environmental review of SpaceX’s launch activities and FAA’s findings,
as incorporated into the record for this proceeding, we find we need not require preparation of a separate
EA addressing the atmospheric effects of rocket launches or require additional environmental review.434


429FAA’s “Final Environmental Assessment and Finding of No Significant Impact for SpaceX Falcon Launches at
Kennedy Space Center and Cape Canaveral Air Force Station,” July 2020,
https://www.faa.gov/space/environmental/nepa_docs/media/SpaceX_Falcon_Program_Final_EA_and_FONSI.pdf;
“Final Environmental Assessment for Space Exploration Technologies Operations Area on Kennedy Space Center”,
Oct. 2018, https://netspublic.grc.nasa.gov/main/FINAL_%20SpaceX_EA_Roberts%20Rd_10-2-18.pdf; NASA
NEPA Finding, Dec. 2018
https://netspublic.grc.nasa.gov/main/FONSI%20for%20EA%20for%20Space%20Exploration%20Technologies%20
Opersations%20Area%20KSC--originalsigned.pdf.
430SpaceX argues that Viasat provided only vague assertions of environmental harms that SpaceX’s rocket launches
could cause, no connection between rocket emissions and real environmental harm, and no evidence of the
quantities of compounds emitted and the impact of those specific compounds. See SpaceX Consolidated
Opposition, at 50-51. Viasat argues this is unnecessary as a matter of law and would also be an insurmountable
hurdle given how closely SpaceX holds information about its launch vehicles. See Viasat Reply, at 47. SpaceX also
notes that launch vehicles that use kerosene or methane-based propellants, like SpaceX’s launch vehicles, do not
create the alumina or chlorine chemicals that Viasat cites as necessitating an environmental review. Furthermore,
SpaceX points to the GAO Technical Assessment: “Citing a 2018 World Meteorological Organization report, the
GAO found that rocket launches presently have a small effect on total stratospheric ozone (much less than 0.1%).”
See SpaceX October 20, 2022 Letter, at 6 (citing GAO Technical Assessment, at 13 (quoting World Meteorological
Organization, Scientific Assessment of Ozone Depletion: 2018, Global Ozone Research and Monitoring Project
Report No. 58 (Geneva, Switzerland: 2018))).
431https://www.faa.gov/space/licenses/. See also 51 U.S.C. § 50901 et seq. (providing that the Secretary of
Transportation is to oversee and coordinate the conduct of commercial launch and reentry operations, issue permits
and commercial licenses and transfer commercial licenses authorizing those operations, and protect the public health
and safety, safety of property, and national security and foreign policy interests of the United States); 14 CFR §
415.53 (stating that the FAA does not review “payloads” that are subject to regulation by the FCC or the Department
of Commerce, National Oceanic and Atmospheric Administration (NOAA); or owned or operated by the U.S.
Government).
432 See FAA’s “Final Programmatic Environmental Assessment for the SpaceX Starship/Superheavy Launch Vehicle
at the SpaceX Boca Chica Launch Site in Cameron County, Texas” and “Mitigated Finding of No Significant
Environmental Impact and Record of Decision for the SpaceX Starship/Superheavy Launch Vehicle Program at the
Boca Chica Launch Site in Cameron County, Texas,” at 53-54, June 2022,
https://www.faa.gov/space/stakeholder_engagement/spacex_starship; see also SpaceX Third Modification Order, 36
FCC Rcd at 8039-40, paras. 81-82.
433   See SpaceX Consolidated Opposition at 51.
434To the extent that we consider cumulative effects from the deployment of SpaceX’s Gen1 Starlink, we point to
the Commission’s Order on the SpaceX Third Modification, wherein the Commission concluded that the FAA has
prepared its own EA on the SpaceX launches, and pursuant to our rules, no additional consideration of potential
                                                                                                     (continued….)
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                    2.       Atmospheric Effects from Reentering Satellites
         116.     Viasat and NRDC/IDA also argue that Gen2 Starlink will have a significant
environmental effect because it will exponentially increase the number of satellites that burn up in the
atmosphere, introducing dangerous chemicals, including aluminum oxide (alumina) and soot, into the
atmosphere.435 NRDC/IDA argue these chemicals contribute to climate change and subsequent
catastrophic climate-change-driven weather disasters, such as wildfires, hurricanes, and heat waves.436
The parties debate the amount of alumina that will be injected into the atmosphere from SpaceX’s Gen2
Starlink satellites and the impacts this alumina will have. Viasat argues that it uses an industry expert’s
estimate that the Gen2 Starlink satellites will be four times heavier than the Gen1 Starlink satellites and
calculates that Gen2 Starlink satellites, as proposed and including replacements, will introduce roughly
156 million pounds of alumina into the atmosphere.437 Viasat also highlights the difference between
alumina created from reentering manmade satellites and alumina created naturally by meteoroids burning
up in the Earth’s atmosphere.438 Viasat claims that there will be “two tons” of Starlink satellites burning
up daily in the Earth’s atmosphere from Gen1 Starlink, and although this may seem small compared to the
fifty-four tons of meteoroids entering the Earth’s atmosphere daily, Starlink satellites are mostly
aluminum while the meteoroids are less than one percent aluminum.439 Therefore, Viasat argues that if all
of SpaceX’s proposed satellites are launched, much more alumina will be introduced into the atmosphere
that was created by ablating satellites than occurs naturally.440 SpaceX maintains that the study cited by

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impacts associated with those launches is required. See SpaceX Third Modification Order, 36 FCC Rcd at 8040,
para. 82.
435   See Viasat Petition at IV, 2, 58-61; Viasat Reply at 48-50; NRDC/IDA Comments at 1-2, 5-6, 7.
436   See NRDC/IDA Comments at 1-2, 5-6, 7.
437See Viasat Reply at IV-V, 49-51. Viasat states this is about 42 times the amount of alumina the Commission
could have expected from its authorization of SpaceX’s third modification to its Gen1 Starlink system. See Viasat
Reply, at IV-V, 49-51. Per satellite, Viasat argues that a Gen1 Starlink satellite will introduce 442 pounds of
alumina on reentry, while Gen2 Starlink Satellites will introduce as much as 2,122 pounds of alumina, calculated
using the physical characteristics SpaceX CEO Elon Musk provided in a public statement in May 2022. See Viasat
June 7, 2022 Letter, at 4. Professor Samantha Lawler calculates that 23 Starlink satellites will burn up in the
atmosphere every day (based on SpaceX’s plan to replace 42,000 satellites every five years), and based on the Gen1
Starlink satellite design, that would introduce nearly 6 tons of alumina into the upper atmosphere every day. See
Samantha Lawler September 30, 2022 Letter, at 1. The 42,000 satellites Professor Lawler cites would include the
29,988 Gen2 Starlink satellites SpaceX has applied for in the instant application, as amended; the 4,408 Gen1
Starlink satellites SpaceX is currently authorized to deploy; and the 7,518 V-band Starlink satellites SpaceX is also
currently authorized to deploy. See Samantha Lawler September 30, 2022 Letter at 1. We again note that SpaceX
no longer plans to launch separate V-band satellites and will instead seek a modification to add V-band frequencies
to a subset of its Gen2 Starlink satellites. See SpaceX October 27, 2022 Letter at 2.
438See Viasat Petition at 60 (citing Aaron C. Boley and Michael Byers, Satellite mega-constellations create risks in
Low Earth Orbit, the atmosphere and on Earth, SCIENTIFIC REPORTS (2021) (stating that Starlink satellites have
a dry mass of about 260kg; 12,000 satellites will total 3100 tonnes. A 5-year cycle would see on average almost 2
tonnes re-entering Earth’s atmosphere daily)); Viasat Reply at 48-50.
  See Viasat Petition, at 60 (citing Aaron C. Boley and Michael Byers, Satellite mega-constellations create risks in
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Low Earth Orbit, the atmosphere and on Earth, SCIENTIFIC REPORTS (2021)); Viasat Reply at 48-50.
440See Viasat Petition, at 60 (citing Aaron C. Boley and Michael Byers, Satellite mega-constellations create risks in
Low Earth Orbit, the atmosphere and on Earth, SCIENTIFIC REPORTS (2021)); Viasat Reply at 48-50. Viasat
also notes that since this report was published, SpaceX has increased the size and mass of its proposed Gen2 Starlink
satellites, and so the difference between anthropogenic and natural alumina introduced into the atmosphere is even
greater. See Viasat Petition at 61. Viasat also cites the GAO report, which describes a study finding that 75,000
satellites would produce 7 times as much alumina in the upper atmosphere as naturally occurring meteoroids. See
Viasat October 13, 2022 Letter at 3 (citing GAO Technical Assessment, at 12).

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Viasat does not refute SpaceX’s argument in the Space X Third Modification proceeding that the alumina
produced by SpaceX satellites would be a fraction of a percentage of all metals introduced into the
atmosphere naturally by meteoroids.441 SpaceX measures the aluminum in Gen2 Starlink satellites as
comparable to the aluminum the space shuttle injected into the atmosphere over the course of its life.442
SpaceX once again argues that Viasat has not provided concrete evidence linking reentering satellites to
environmental harm.443 On the other hand, NRDC/IDA argue that growing evidence suggests that these
chemicals will contribute to climate change.444 NRDC/IDA argue that the dispute regarding the
magnitude of this impact is sufficient grounds for environmental review, as categorical exclusions are
only justified if the proposed action is known to lack significant environmental impacts both individually
and cumulatively.445 And Viasat argues that the GAO Technical Assessment describes a study that found
that 75,000 reentering satellites could inject seven times the amount of alumina into the upper atmosphere
than natural sources such as meteoroids.446 SpaceX argues that the GAO Technical Assessment actually
found that “there is a ‘lack of observational data’ to support such a finding or to warrant mitigation at this
time.”447 SpaceX also notes two studies commissioned by the European Space Agency which found the
effects on the atmosphere from reentering satellites to be negligible compared to other anthropogenic
activities: the studies find reentering spacecraft accounted for “0.0006% to 0.0008% of global annual
ozone loss,” or “290,000 times less than the annual impact of the aviation sector and 650,000 times less
than the annual impact of the road transportation sector.”448 SpaceX argues that using Viasat’s estimates
for the amount of alumina injected into the atmosphere from the Gen2 Starlink satellites, “annual impact
of reentering Gen2 satellites on Earth's albedo—the fraction of solar radiation that is reflected away from
Earth—will be negligible compared to natural sources (i.e., just 0.005 of the amount of mineral dust



441See SpaceX Consolidated Opposition at 56-57. SpaceX argues that Viasat’s study simply says that the amount of
alumina generated by satellites could potentially exceed the amount of alumina generated by meteoroids. Id. at 55-
56.
442   See SpaceX May 18, 2022 Ex Parte, Exhibit B at 6.
443   See SpaceX Consolidated Opposition at 55-57; SpaceX October 20, 2022 Letter at 2-3.
444See NRDC /IDA Comments at 1-2, 5-6, 7 (citing Aaron C. Boley & Michael Byers, Satellite mega-
constellations create risks in Low Earth Orbit, the atmosphere and on Earth, SCIENTIFIC REPORTS (May 20,
2021), https://www.nature.com/articles/s41598-021-89909-7).
445See NRDC/IDA Comments at 7. Similarly, Professor Lawler and Sierra Solter Hunt state that scientists need
time to study the effects of reentering satellites given the possibility that injecting alumina into the atmosphere could
create another hole in the ozone layer. See Samantha Lawler September 30, 2022 Letter at 1; Sierra Solter Hunt
September 23, 2022 Letter at 1.
446See Viasat October 13, 2022 Letter at 3, n.7 (citing GAO Technical Assessment at 12). Viasat states,
“Considering that the nearly 30,000 operating satellites in the ‘Gen2’ configuration would need to be replaced every
five years (if not sooner), and that many of these satellites would be eight times more massive than the original
Starlink satellites, it is reasonable to expect that Starlink alone would produce well beyond this level of aluminum
emissions over a 15-year license term.” See Viasat October 13, 2022 Letter at 3, n.7.
447   See SpaceX October 20, 2022 Letter at 3-4 (quoting GAO Technical Assessment at I, 10, 55).
448 Id. at 4 (citing On the Atmospheric Impact of Demise Upon Reentry, The Clean Space Blog, ESA (Aug. 11,
2022), https://blogs.esa.int/cleanspace/2022/08/11/on-the-atmospheric-impact-of-spacecraft-demise-upon-reentry/).
SpaceX notes that these studies assumed a worst case scenario of an average of 450 tons of reentering satellites
every year and a peak of 650 tons of reentering satellites, but SpaceX argues the finding that the impact on the
atmosphere is negligible is still appropriate even with Viasat’s larger estimates. Id. SpaceX also cites to Slimane
Bekki et al., Environmental impacts of atmospheric emissions from spacecraft re-entry demise, Eur. Space Agency,
at 10, 13 (Sept. 21, 2021), https://indico.esa.int/event/321/contributions/6403/attachments/4335/6538/esa-csid-21-
bekki.pdf. Id. at 4, fn. 19.

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created annually through naturally occurring dust storms from the Sahara Desert alone).”449 Additionally,
SpaceX cites a study which found that alumina is not even created when meteoroids containing aluminum
burn up in the atmosphere, and SpaceX argues this undermines Viasat’s entire premise.450
         117.      We note that we are not currently authorizing SpaceX to deploy all of its proposed 29,988
satellites, but rather a smaller subset of 7,500 satellites, the effects of which we consider in conjunction
with the effects of the previously approved 4,408 satellites. In the event that we consider approving
additional satellites in this system, we will consider the additional proposed Starlink satellites on a
cumulative basis with those approved. Therefore, the parties’ estimated amount of alumina that could be
introduced into the atmosphere will not come to pass from our action today. Based on the record, we are
not convinced that reentering SpaceX Gen2 Starlink satellites may have a significant environmental
impact necessitating an EA. As SpaceX states, the European Space Agency (ESA) initiated two studies,
looking into specifically the atmospheric impact of spacecraft demise upon reentry and concluding that
the impact was negligible compared to other anthropogenic activities.451 SpaceX states that as a part of its
fundamental commitment to space sustainability, it has worked extensively and collaboratively with
federal agencies and the scientific community to establish and implement best practices designed to
preserve space and our environment for future generations.452 SpaceX states that although atmospheric
effects of alumina formed during Gen2 Starlink satellite reentry will be negligible or nonexistent, it
remains committed to leading the way on space sustainability, and recognizes that further dialogue with
the scientific community on this issue would be valuable.453 Noting GAO’s statement that additional
“observational data” on the release of alumina from satellite reentry could help the scientific community
better quantify emissions and develop “more accurate atmospheric modeling studies,” SpaceX commits to
work with the scientific community to explore methods to collect observational data on the formation of
alumina from satellite reentry, implement reasonable methods that are discovered to the extent
practicable, and report findings from these measurements to the Commission.454
         118.    We note that the GAO Technology Assessment acknowledges that scientific
understanding of emissions from large constellations of satellites in the upper atmosphere is nascent and
gathering observational data on this issue would be helpful.455 Similarly, ESA also states that “while both
studies agree that the atmospheric impact of spacecraft reentries is relatively low, there are still
uncertainties on aerothermodynamics and atmospheric chemistry-transport modeling and a lack of
observational (in-situ) data to evaluate assumptions and models.”456 Given this record, we conclude that
the ESA assessment regarding atmospheric impact of spacecraft reentries appears to be the most relevant
evidence in the record, focusing specifically on atmospheric effects of reentering spacecrafts, and is

  Id. at 4-5 (citing J. M. Prospero, Saharan Dust Transport Over the North Atlantic Ocean and Mediterranean: An
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Overview, in 11 THE IMPACT OF DESERT DUST ACROSS THE MEDITERRANEAN. ENVIRONMENTAL
SCIENCE AND TECHNOLOGY, 133-151 (S. Guerzo and R. Chester eds., 1996), https://doi.org/10.1007/978-94-
017-3354-0_13).
450 Id. at 4 (citing John M. C. Plane et al., Meteor-Ablated Aluminum in the Mesosphere-Lower Thermosphere, 126
J. of Geophysical Research: Space Physics 1 (2021),
https://agupubs.onlinelibrary.wiley.com/doi/epdf/10.1029/2020JA028792).
451Id. (citing On the Atmospheric Impact of Demise Upon Reentry, The Clean Space Blog, ESA (Aug. 11, 2022),
https://blogs.esa.int/cleanspace/2022/08/11/on-the-atmospheric-impact-of-spacecraft-demise-upon-reentry/).
452   See generally SpaceX October 27, 2022 Letter.
453   Id.
454   Id. at 2.
455   See GAO Technology Assessment at 10-17.
456On the Atmospheric Impact of Demise Upon Reentry, The Clean Space Blog, ESA (Aug. 11, 2022),
https://blogs.esa.int/cleanspace/2022/08/11/on-the-atmospheric-impact-of-spacecraft-demise-upon-reentry/).

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sufficiently persuasive for us to conclude that there would not be a significant environmental impact
associated with a constellation of 7,500 Gen2 Starlink satellites demising upon reentry, and that there
would not be a significant environmental impact cumulatively with previously-approved SpaceX
satellites.457 Although the ESA studies are qualified by the need to gather additional observational data,
we observe that most scientific studies could benefit from additional data, and thus we do not find that
qualification significant enough to require the preparation of an EA in this case. However, to assist the
Commission in potential future determinations regarding larger deployments as well as to encourage best
industry practices, we condition this partial grant on SpaceX’s commitment to work with the scientific
community on this issue to explore methods to collect observational data on formation of alumina from
satellite reentry, to implement reasonable methods that are discovered to the extent practicable, and to
report findings from these measurements to the Commission annually. We find that approval of this
partial grant with such conditions will serve the public interest, convenience, and necessity.
         119.     The parties also debate the relative merits of satellite disposal by atmospheric reentry.458
We continue to agree with SpaceX that atmospheric reentry with fully-demisable satellites is preferable to
leaving satellites in orbit or constructing satellites from materials that will survive reentry and pose a risk
of human casualty.459 Distinct from NEPA issues, in the 2020 Orbital Debris Order, the Commission
found that leaving an NGSO satellite in orbit as debris at the end of its lifetime generally results in
increased risk for future space operations.460 Furthermore, surviving debris from satellites that are
disposed of by atmospheric reentry but do not burn up completely can cause harm to human life and
property on Earth.461 As discussed in more detail above, SpaceX has demonstrated compliance with our
orbital debris mitigation rules.
                    3.       Effects on the Astronomy Community and Night Sky Observation
         120.     Viasat and NRDC/IDA next request that the Commission undertake environmental
review based on concerns about the brightness of SpaceX’s satellites, both from sunlight reflecting off the
satellites and from the satellites’ impact on diffuse skyglow, the overall brightness of the night sky.462
The parties argue the brightness of the Gen2 Starlink satellites will have two separate, but related,
impacts: impacts on professional and amateur astronomy and impacts on the general public, including
human health, enjoyment of nature, and the cultural and religious practices of indigenous communities.463
As an initial matter, Viasat and NRDC/IDA state that the Commission did not require environmental
review based on sunlight reflectivity of satellites in the SpaceX Third Modification Order but instead
noted SpaceX’s continued cooperation with the astronomy community, the reduction in orbital altitude
below 600 km of the Gen1 Starlink satellites, and other mitigations SpaceX implemented to reduce



457   See 47 CFR § 25.1307(c).
458SpaceX argues that the best option for post-mission disposal for satellites is atmospheric reentry with fully
demisable satellites. See SpaceX Consolidated Opposition, at 57. Viasat disputes this argument: while it might be
the best option, that does not mean it is a good option, especially given the scale of SpaceX’s proposed constellation.
See Viasat Reply, at 51.
459   See SpaceX Third Modification Order, 36 FCC Rcd at 8040-41, para. 83.
460See 2020 Orbital Debris Order and FNPRM, 35 FCC Rcd at 4198, para. 87 (“Spacecraft that are unable to
complete post-mission disposal, particularly when left at higher altitudes where they may persist indefinitely, will
contribute to increased congestion in the space environment over the long-term and increase risks to future space
operations”).
461   See, e.g., https://www.unoosa.org/pdf/publications/st_space_49E.pdf.
462   See Viasat Petition at IV, 2, 61-67; NRDC/IDA Comments at 9-10.
463   See Viasat Petition at IV, 2, 61-67; NRDC/IDA Comments at 9-10.

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reflectivity of its satellites.464 However, the parties argue the vast increase in the number of satellites
SpaceX proposes, along with their larger size, will dramatically worsen these impacts, which, they
contend, are already being experienced today with SpaceX’s partially deployed Gen1 Starlink system, and
therefore the Commission must conduct environmental review under NEPA.465
         121.     On SpaceX’s impact to astronomy, Viasat and NRDC/IDA state that SpaceX’s
mitigations have not been effective and the scientific community is now expressing much more concern
regarding the impact of large constellations in LEO on astronomical research, and so the Commission
cannot rely on SpaceX’s claims that it is solving the problem and must conduct review under NEPA.466
Viasat cites a recent study conducted by the American Astronomical Society (AAS) which found an
increase in the number of astronomical images affected by Starlink.467 Viasat also notes that the
Commission originally based its decision to not require environmental review at least in part on the fact
that the Gen1 Starlink satellites would be operating below 600 km because the astronomy community has
indicated satellites operating below 600 km have much less impact, but SpaceX now proposes to operate
468 satellites above 600 km, 7720 satellites that could operate above 600 km because of SpaceX’s
proposed expansive orbital tolerances, and an unknown number of satellites that could be transiting
through space above 600 km.468 NRDC/IDA cites NASA’s comments in this proceeding, pointing to the
impact of these satellites on its missions tracking near earth objects which could strike the Earth, and
NRDC/IDA argue that if light pollution from satellites causes these telescopes to miss a dangerous
asteroid that strikes the Earth, that would have a significant impact on the human environment indeed.469
Viasat quotes the GAO Technology Assessment for concerns regarding the impact of reflected sunlight on
astronomy: “Sunlight reflections and radio transmissions from satellites could disrupt telescopes, which
could make it more difficult for astronomers to assess risks associated with near-Earth asteroids or to
observe other celestial objects.”470 SpaceX argues that Viasat is mischaracterizing the results of the GAO
Technical Assessment, which “far from being critical of SpaceX's efforts to mitigate any impact on
astronomy, … demonstrates that any effect from the Gen2 satellites on astronomical observations will be
minimal.”471


464 See Viasat Petition at 61 (citing SpaceX Third Modification Order, 36 FCC Rcd at 8043, para. 87); Viasat Reply
at 51-53; NRDC/IDA Comments at 11.
465   See Viasat Petition at 61-62; Viasat Reply at 51-53; NRDC/IDA Comments at 11.
466   See Viasat Petition at 67; NRDC/IDA Comments at 11.
467See Viasat Petition at 62 (citing Przemek Mroz et al., Impact of the SpaceX Starlink Satellites on the Zwicky
Transient Facility Survey Observations, THE ASTROPHYSICAL JOURNAL LETTERS (Vol. 924, No. 2 2022),
https://iopscience.iop.org/article/10.3847/2041-8213/ac470a; Michael Kan, Starlink Satellites Are Photo Bombing
Astronomy Images, PCMAG (Jan. 18, 2022), https://www.pcmag.com/news/starlink-satellites-are-photo-bombing-
astronomy-images.); Viasat Reply, at 51-53; Viasat May 2, 2022 Letter, at 2 (citing Lawrence, M.L. Rawls, M. Jah,
M. et al., The case for space environmentalism, 6 NATURE ASTRONOMY, 428-435 (2022),
https://doi.org/10.1038/s41550-022-01655-6); NRDC/IDA Comments at 11. Professor Andy Lawrence agrees the
larger size and vast increase in the number of Gen2 Starlink satellites could increase the total reflected sunlight by
an order of magnitude, even making optimistic assumptions about the success of SpaceX’s technologies. See Andy
Lawrence September 18, 2022 Letter at 2.
468   See Viasat Petition at 67; Viasat Reply at 53.
  See NRDC/IDA Comments at 10-11. Viasat also notes NASA’s concerns and the concerns of the astronomy
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community. See Viasat October 13, 2022 Letter at 3.
470See Viasat October 13, 2022 Letter at 3 (quoting GAO Technical Assessment at 1). We discusseconcerns
regarding SpaceX’s impact on radioastronomy in Section III.E above.
  See SpaceX October 24, 2022 Letter at 2 (citing GAO Technical Assessment, at 30). SpaceX quotes the GAO
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Technical Assessment to explain further: “For example, the report notes that satellite use in general has an effect on
amateur astronomy, but ‘the effects from many additional satellites in orbit is expected to be minor.’ In addition, the
                                                                                                        (continued….)
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         122.    As discussed above, the record before us clearly demonstrates SpaceX’s continued
commitment and efforts toward mitigating the impact of reflected sunlight on optical astronomy.472 We
therefore disagree with Viasat’s and NRDC/IDA’s claims that SpaceX has not made progress in
addressing the concerns of the astronomy community. Based on the record before us, we find it is not
necessary for us to conduct environmental review under NEPA on this issue. We have assessed these
issues under our obligation to ensure grant of this application is in the public interest,473 and we need not
conduct additional review under NEPA where we have thoroughly examined the issues and imposed
appropriate conditions on SpaceX to ensure that there will not be a significant impact. As discussed
above, we are monitoring this issue to ensure that our licensing action serves the public interest, and we
have accordingly imposed license conditions on SpaceX to ensure SpaceX’s authorized operations do not
unduly burden astronomy and other research endeavors. These conditions include restricting SpaceX’s
operations to below 580 km, requiring SpaceX to continue to coordinate and collaborate with NASA to
promote a mutually beneficial space environment that would minimize impacts to NASA’s science
missions, requiring SpaceX to reach a coordination agreement with NSF to protect optical ground-based
astronomy, requiring SpaceX to coordinate with NSF as well as with specific observatories for operations
in specific frequency bands to protect radioastronomy operations, and requiring SpaceX to submit regular
reports to the Commission regarding progress in its efforts to protect optical astronomy.474 We find that
these conditions, in addition to SpaceX’s planned mitigation efforts, are sufficient to avoid significant
environmental effects, and therefore environmental review under NEPA is not warranted for these
issues.475
        123.      Regarding impacts of satellite reflectivity on the general public, Viasat and NRDC/IDA
argue that Gen2 Starlink’s impact on the night sky can have aesthetic, scientific, social and cultural, and
health effects.”476 We find that the record does not show that potential effects on the general public,
(Continued from previous page)
effect of satellites on the ‘overall brightness of the sky . . . is expected to be minimal even as the number of satellites
grows significantly.’” SpaceX October 24, 2022 Letter at 2 (quoting GAO Technical Assessment at 30, 31).
472   See supra Section III.I.
473   Id.
474   See supra Sections III.E and I.
475   See 40 CFR § 1501.4.
476 See Viasat Petition at 61. Similarly, though not requesting review under NEPA, the Astronomical Society of
Edinburgh argues deployment of 30,000 additional satellites will completely ruin the night sky, costing humanity
“too much of our natural heritage and beauty of the night sky.” See The Astronomical Society of Edinburgh
September 23, 2022 Letter, at 1. NRDC/IDA argues the sunlight reflection caused by SpaceX satellites will impact
human health including disruptions to humans’ circadian rhythms and stimulation of neuroendocrine and
neurobehavioral responses. See NRDC/IDA Comments at 9 (citing United Nations Office for Outer Space Affairs,
et al, Dark and Quiet Skies for Science and Society: Report and Recommendations (2020)
https://www.iau.org/static/publications/dqskies-book-29-12-20.pdf.). NRDC/IDA also argues the increased light
pollution will cause significant harm to plants and animals, which humans value for food, quality of life, income
from tourism, and religious and cultural reasons. Id. (citing Wright, K.P. Jr, McHill, A.W., Birks, B.R., Griffin,
B.R., Rusterholz, T. & Chinoy, E.D. 2013; Entrainment of the human circadian clock to the natural light-dark cycle.
Curr. Biol. 23:1554-8; Evans, J.A. & Davidson, A.J. 2013, Health consequences of circadian disruption in humans
and animal models. Prog Mol Biol Transl Sci. 119:283-323). Sierra Solter Hunt also states that the “constant re-
entry burning of satellites may cause global light pollution due to innumerable reflective satellite particles left in
orbit,” and light pollution is linked to increased cancer risk, see Sierra Solter Hunt September 23, 2022 Letter at 1,
and Professor Andy Lawrence further argues the SpaceX Gen2 Starlink constellation will impact casual stargazers
and indigenous communities, who value the night sky for religious activities and who also live in the darkest areas
where reflected sunlight from Starlink satellites will be most noticeable, see Andy Lawrence September 23, 2022
Letter at 3. Additionally, NRDC/ IDA states that the increased “light pollution” from SpaceX satellites will harm
“the wilderness experience NRDC members and others value for the solitude and escape from technology and
urbanization it provides.” NRDC/IDA Comments at 10. NRDC/IDA states, “American Psychological Association
                                                                                                          (continued….)
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plants, and animals may be significant, requiring an EA. SpaceX expects that its Gen2 Starlink satellites
will be darker than the first-generation satellites due to its brightness mitigation efforts.477 SpaceX also
states that its goal is to make Gen2 Starlink “satellites invisible to the naked eye when they are on station
serving users, covering the vast majority of each satellite’s lifetime.”478 In addition, the conditions we
adopt today to reduce effects on astronomy services will also address these other satellite sunlight
reflectivity concerns involving the general public.
                     4.       Effects from Satellite Collisions in Space
         124.    Viasat argues that Gen2 Starlink will increase the generation of orbital debris, “which has
already endangered life on earth and in orbit,” and which creates economic and ecological impacts on
Earth.479 Viasat states that Gen2 Starlink will present a “huge” collision risk, and “[t]he associated debris
would pollute the orbital environment and/or threaten direct harm on Earth, including ecological and
economic effects here on Earth for U.S. businesses, governments, scientists, consumers, and others.”480
Viasat alleges that all of these are cognizable harms under section 1.1307(c) and NEPA, and SpaceX’s
orbital debris showing doesn’t come anywhere near evaluating all the possible risks posed to the human
environment.481
         125.    As noted above, we decline to reach the issue of whether activities that take place entirely
in outer space, or that have their impacts in outer space, must be analyzed under NEPA. However,
regardless of whether such activities are appropriately analyzed under NEPA, we find that we have
conducted the functional equivalent of an EA in analyzing these issues carefully under our extensive
orbital debris mitigation analysis, and thus we need not re-assess the risks of orbital debris under NEPA
where we have thoroughly assessed those risks.482 As discussed in detail above, we have reviewed
SpaceX’s orbital debris mitigation plan and found that SpaceX has satisfied those rules for the subset of
satellites we authorize today, and we have included conditions to address orbital debris.483
            K.       Other Matters
        126.   BBILAN filed a number of comments that apply to satellite licensing in general and
repeat arguments made in the Healthy Heavens Trust Initiative’s (HHTI) petition for rulemaking, rather



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has linked hiking in the wilderness and other exposure to a host of health benefits, including improved attention,
lower stress, better mood, and reduced risk of psychiatric disorders. The light of passing satellites compromises the
wilderness experience and its benefits in the same way that ‘pinging of a cellphone’ does. The ‘untrammeled’
nature promised by the 1964 Wilderness Act is lost.” Id.
477   See SpaceX August 1, 2022 Ex Parte, Exhibit B.
478   Id.
479   Viasat Petition at IV-V, 2, 67; Viasat Reply at 54.
480Viasat Petition at 67; Viasat Reply at 54. Professor Lawler and Sierra Solter Hunt also express concerns about
the Gen2 Starlink constellation’s potential impact on the orbital environment, citing the approaching period of “solar
maximum” and argue that SpaceX’s recent loss of Starlink satellites from a solar storm is evidence that SpaceX
cannot safely operate in these conditions. See Samantha Lawler September 30, 2022 Letter at 2; Sierra Solter Hunt
September 23, 2022 Letter at 1. . Professor Lawler and Professor Trotta also express concern regarding the
increasing possibility of a runaway cascade of debris-generating collisions which could render LEO unusable for
decades or up to a century. See Samantha Lawler September 30, 2022 Letter at 2; Roberto Trotta October 6, 2022
Letter at 2-3.
481   See Viasat Petition at 67; Viasat Reply at 54.
482   See 47 CFR § 1.1307(c); 42 USC § 4332(C).
483   See supra Section III.G (Orbital Debris Mitigation discussion).

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than to SpaceX’s application, as amended.484 Specifically, BBILAN claims the Commission’s ongoing
blanket licensing of satellites presents an imminent international hazard and is in violation of federal law,
ongoing litigation, and petitions for rulemaking.485 BBILAN argues the Commission is engaging in a
legally questionable practice of segmenting satellite licensing by granting individual licenses to individual
companies rather than looking at all satellite licensing as a whole, which has resulted in a state of
“regulatory chaos.”486 BBILAN calls for the Commission to conduct a comprehensive environmental and
national security review of all satellite licensing.487 While these and other reviews are undertaken,
BBILAN requests the Commission enact a 180-day pause on all satellite licensing.488
         127.    SpaceX argues these comments are wholly beyond the scope of this proceeding,489 and
we agree. As the D.C. Circuit recently reiterated in affirming the SpaceX Third Modification Order, “an
agency need not—indeed should not—entertain a challenge to a regulation, adopted pursuant to notice
and comment, in an adjudication or licensing proceeding.”490 Here, BBILAN’s comments challenge an
entire regulatory framework. We find that this Order, which grants authority for SpaceX to construct,
deploy, and operate 7,500 satellites, is not the appropriate forum to consider such broad comments.
          128.    BBILAN and The Balance Group also claim the Commission has failed to consult with
other federal agencies, both regarding SpaceX’s Gen2 Starlink application, as amended, and the
Commission’s entire satellite licensing regime.491 BBILAN argues that federal regulations for non-
wartime emergencies require the Commission to consult with the National Security Council and the
White House Office of Science and Technology Policy.492 BBILAN requests the Commission consult
with NASA, the Cybersecurity and Infrastructure Security Agency (CISA), the Department of State, the
National Institute for Standards and Technology (NIST), Department of Defense (DOD), Department of
Agriculture, Department of Energy, National Oceanic and Atmospheric Administration (NOAA),
Government Accountability Office (GAO), and the Environmental Protection Agency (EPA), as well as
congressional committees, international organizations, and foreign nations on the Commission’s entire
satellite licensing regime and develop a risk assessment within 180 days.493 Regarding this specific
application, The Balance Group argues that before any grant of authority, the Commission must provide
other agencies, including NASA, DOD, EPA, Department of State, the Department of Homeland
Security, and the Food and Drug Administration the time, information, and resources to conduct their
484See generally BBILAN Comments. We note that HHTI is a project of BBILAN, and the cofounders of BBILAN
also cofounded The Balance Group, which also submitted an opposition and various motions regarding the SpaceX
Gen2 Starlink application and amendment. See BBILAN Comments, at 1, N.1; see also The Balance Group
Opposition, at 2, n.1.
485   See BBILAN Comments at 1.
486   Id. at 2, 7, 8.
487   Id. at 1.
488   Id. at 8.
489   See SpaceX Consolidated Opposition at IX, 67.
490   See Viasat Inc. V. FCC, 47 F.4th 769, 776 (D.C. Cir. 2022).
491   See BBILAN Comments at 1, 2.
492Id. at 2-3. BBILAN states: “Procedurally, this action is based on FCC Rule 1.401(a-c), 47 CFR Ch. II (10-119
Edition) 202.0 objectives, 202.1 policies, Sections 202.0-202.3 which pertain to the allocation of functions and
responsibilities for non-wartime emergencies within the federal government — Emergency Preparedness and
Planning during National Emergencies occurring in war as well as peacetime. These Rules make clear that the locus
of authority in national emergencies involving telecommunications infrastructure resides in the National Security
Advisor and Director of the White House's Office of Science and Technology Policy (OSTP), not the FCC.” Id. at
2-3.
493   Id. at 2.

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own rulemakings and research assessments regarding the SpaceX Gen2 Starlink application, as amended,
in compliance with the Administrative Procedure Act (APA).494
        129.    Again, we dismiss BBILAN’s comments regarding the Commission’s satellite licensing
process in general, as they are inappropriate for this licensing proceeding for an individual operator. As
to The Balance Group’s claims that we have failed to consult with other agencies regarding the SpaceX
Gen2 Starlink application, as amended, we note that we have an open and transparent process, and we
seek comment on any satellite application under our rules consistent with the APA, and two federal
agencies, NASA and NSF, have participated in filing comments through NTIA on this application.
         130.     BBILAN and the Balance Group also argue that there is no suitable insurance to protect
the American people from the harms they have identified, both from the Commission’s satellite licensing
regime in general and the SpaceX Gen2 Starlink application, as amended, in particular.495 The Balance
Group includes a motion for certification of suitably comprehensive insurance coverage and a motion for
certification of indemnity in its comments.496 It asks: “Has the FCC disclosed whether the SpaceX
network as proposed has been duly insured and indemnified against material and catastrophic impacts to
(i) national security, (ii) other networks, (iii) the astronomical sciences, (iv) human health, (v)
environmental health, (vi) food production, (vii) real estate values related to night sky disruption, (viii)
international treaties, and the other matters discussed in the record?”497 According to The Balance Group,
such insurance information must be filed in the public record prior to any grant of the SpaceX application,
as amended.498 Insurance and indemnification are topics included in our ongoing rulemaking proceeding
on orbital debris mitigation.499 All of SpaceX’s authorizations, including this partial grant of the SpaceX
Gen2 Starlink application, as amended, are conditioned on SpaceX complying with the outcome of future
Commission rulemakings.
        131.     Finally, BBILAN and The Balance Group argue there have been significant
developments regarding satellite licensing, including the HHTI petition for rulemaking, The Balance
Group’s comments on the third SpaceX modification application, HHTI’s comments on SpaceX’s
application for five million earth stations, and the litigation regarding the Third SpaceX Modification
Order, all of which, according to BBILAN and The Balance Group, the Commission has chosen to
ignore, with the exception of the litigation.500 The Balance Group claims its comments on SpaceX’s third
modification application were ignored by the Commission and remain unresolved, and it argues the
Commission must resolve these issues before proceeding with any grant of the SpaceX Gen2 Starlink
application, as amended.501 The Balance Group also includes a motion to suspend or revoke all of
SpaceX’s licenses, arguing that SpaceX should not be operating mega constellations while its legal
authority to do so is in question.502 SpaceX argues that the Commission rejecting The Balance Group’s
arguments or the appeal of the SpaceX Third Modification Order, which was still pending at the time the

494   See The Balance Group Opposition at 4-5.
495   See BBILAN Comments at 6; The Balance Group Opposition at 1, 5.
496   See The Balance Group Opposition at 1, 5.
497   Id. at 5.
498   Id.
499   See 2020 Orbital Debris Order and FNPRM, 35 FCC Rcd at 4237-4245, paras. 176 -192.
  See BBILAN Comments at 1, 2, N.2, 3-5; The Balance Group Opposition at 3-4. BBILAN and The Balance
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Group incorporate by reference all of these documents into the record for the SpaceX Gen2 Starlink application and
amendment.
501   See The Balance Group Opposition at 3-4.
  Id. at 5. In support of this argument, The Balance Group incorporates by reference the entire record from the
502

SpaceX Third Modification Order and the entire record from the ongoing appeal at the D.C. Circuit. Id.

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Balance Group filed its motions and SpaceX responded in its Consolidated Opposition, is not a reason to
revoke previously granted authority under § 312 of the Communications Act.503 As discussed above,
since The Balance Group and HHTI filed their comments, the D.C. Circuit has ruled on the appeal of the
SpaceX Third Modification Order.504 The Balance Group is also incorrect in claiming that we ignored its
comments in the SpaceX’s Third Modification Order: We explicitly addressed and dismissed The
Balance Group’s comments, with explanations of our reasoning behind our ruling, in the SpaceX Third
Modification Order.505 Additionally, we agree with SpaceX that none of these developments are cause to
delay action on our partial grant of the SpaceX Gen2 Starlink application, as amended. Under our rules,
Gen2 Starlink is a separate system from Gen1 Starlink. Additionally, there is no colorable claim in the
record that SpaceX has failed to comply with any of our rules or its license conditions to suspend or
revoke all of SpaceX’s licenses.
         132.    In sum, The Balance Group’s and BBILAN’s comments are either addressed in our
analysis above, are more appropriately discussed in rulemaking proceedings, or are beyond the scope of
this licensing proceeding. We therefore dismiss the comments filed by BBILAN and the oppositions and
motions filed by The Balance Group.
         133.    Finally, Cameron Nelson, of Tenzing Startup Consultants, and Melissa Shipp filed brief
letters urging the Commission to defer or deny SpaceX’s Gen2 Starlink application based on the unknown
impact of the mix of radiofrequency (RF) emissions from satellites in space on humans, plant, and animal
life.506 As discussed in the SpaceX Third Modification Order, a proposed project would require
preparation of an EA if it would cause human exposure to RF emissions that exceed the limits in the
Commission’s rules.507 The record in this proceeding fails to allege that grant of the SpaceX Gen2
Starlink Application, as amended, would result in human exposure to RF emissions in excess of the
Commission’s limits, and we therefore decline to require SpaceX to prepare an EA regarding its RF
emissions or to defer or deny SpaceX’s application on these grounds.
IV.        CONCLUSION AND ORDERING CLAUSES
        134.      Accordingly, IT IS ORDERED, that the Gen2 Starlink Application, as amended, filed by
Space Exploration Holdings, LLC (SpaceX), IS GRANTED-IN-PART and DEFERRED-IN-PART to the
extent set forth above, pursuant to section 309(a) of the Communications Act of 1934, as amended, 47
USC § 309(a).
        135.   IT IS FURTHER ORDERED that this authorization is subject to the following
requirements and conditions:
        a.      SpaceX must timely provide the Commission with the information required for Advance
Publication, Coordination, and Notification of the frequency assignment(s) for this constellation,


503See SpaceX Consolidated Opposition at 70-71 (citing 47 USC § 312). SpaceX further argues that the D.C.
Circuit denied a request to stay the SpaceX Third Modification Order while litigation was pending, meaning that the
equities favored continued launches, and furthermore the then ongoing litigation regarding SpaceX’s Gen1 Starlink
constellation had no bearing on the Gen2 Starlink constellation. Id. (citing Order, Viasat Inc. v. FCC, No. 21-1123
(D.C. Cir. July 20, 2021)).
504   See Viasat Inc. V. FCC, 47 F.4th 769 (D.C. Cir. 2022).
505   See SpaceX Third Modification Order, 36 FCC Rcd at 8045-46, 8050, paras. 93, 105.
506See Cameron Nelson October 10, 2022 Letter; Melissa Shipp October 26, 2022 Letter. We note that although
concerns about RF emissions were raised in the SpaceX Third Modification proceeding in connection with NEPA,
neither of these parties request the Commission review SpaceX’s proposed operations under NEPA because of RF
emissions. Rather, both of these parties simply request the Commission deny or indefinitely defer the SpaceX Gen2
Starlink application, as amended.
507   See 47 CFR § 1.1307(b).

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including due diligence information, pursuant to Articles 9 and 11 of the ITU Radio Regulations. This
authorization may be modified, without prior notice, consistent with the coordination of the frequency
assignment(s) with other Administrations. See 47 CFR § 25.111(b). SpaceX is responsible for all cost-
recovery fees associated with the ITU filings. 47 CFR § 25.111(d).
        b.      Operations in the 10.7-11.7 GHz (space-to-Earth) frequency band are authorized up to the
applicable power flux-density limits in 47 CFR § 25.208(b), and up to the equivalent power flux-density
requirements of Article 22 of the ITU Radio Regulations, as well as Resolution 76 (Rev. WRC-15) of the
ITU Radio Regulations.
        c.       In the 10.7-11.7 GHz band, operations must be coordinated with the radio astronomy
observatories listed in 47 CFR § 2.106, fn.US131, to achieve a mutually acceptable agreement regarding
the protection of the radio telescope facilities operating in the 10.6-10.7 GHz band. For the purposes of
coordination with these listed facilities or the National Radio Quiet Zone, correspondence should be
directed to the National Science Foundation Spectrum Management Unit (Email: esm@nsf.gov).
        d.      Operations in the 11.7-12.2 GHz (space-to-Earth) frequency band are authorized up to the
power flux-density limits in Article 21 of the ITU Radio Regulations, and up to the equivalent power
flux-density requirements of Article 22 of the ITU Radio Regulations, as well as Resolution 76 (Rev.
WRC-15) of the ITU Radio Regulations.
        e.      Operations in the 12.2-12.7 GHz (space-to-Earth) frequency band are authorized up to the
power flux-density limits in 47 CFR § 25.208(o) and Article 21 of the ITU Radio Regulations, and up to
the equivalent power flux-density requirements of Article 22 of the ITU Radio Regulations, as well as
Resolution 76 (Rev. WRC-15) of the ITU Radio Regulations.
         f.        Operations in the 12.2-12.7 GHz (space-to-Earth) frequency band are subject to the
condition that SpaceX may not use more than one satellite beam from any of its authorized Gen2 Starlink
satellites in the same frequency in the same or overlapping areas at a time.
          g.     Operations in the 12.75-13.25 GHz (Earth-to-space) frequency band must be in
accordance with footnote 5.441 to the U.S. Table of Frequency Allocations, 47 CFR § 2.106, fn. 5.441,
which states that operations in this band are subject to application of the provisions of No. 9.12 for
coordination with other non-geostationary-satellite systems in the fixed-satellite service. Non-
geostationary-satellite systems in the fixed-satellite service shall not claim protection from geostationary-
satellite networks in the fixed-satellite service operating in accordance with the Radio Regulations. Non-
geostationary-satellite systems in the fixed-satellite service in the 12.75-13.25 GHz (Earth-to-space)
frequency band shall be operated in such a way that any unacceptable interference that may occur during
their operation shall be rapidly eliminated.
         h.      Operations of non-geostationary-satellite systems in the 12.75-13.25 GHz (Earth-to-
space) frequency band with earth stations in the United States are restricted to individually licensed earth
stations in accordance with footnote NG57 to the U.S. Table of Frequency Allocations, 47 CFR § 2.106,
NG57. Licensing of earth stations (i.e. filed after Sept. 19, 2022) for operations in the 12.75-13.25 GHz
band will be subject to the filing freeze on applications for new or modified authorizations for the 12.7-
13.25 GHz band. See Public Notice, DA 22-974 (released Sept. 19, 2022); Expanding Use of the 12.7-
13.25 GHz Band for Mobile Broadband or Other Expanded Use, Notice of Inquiry and Order, GN Docket
No. 22-352, FCC 22-80 (rel. Oct. 28, 2022).
        i.      In the 13.85-14.5 GHz (Earth-to-space) frequency band, reception is permitted for levels
up to the equivalent power flux-density requirements of Article 22 of the ITU Radio Regulations.
       j.       SpaceX’s operations in the 13.85-14.0 GHz band must comply with footnotes 5.502 and
US356 to the International and United States Table of Frequency Allocations, 47 CFR § 2.106, 5.502 and
US356.
        k.     In the 14.47-14.5 GHz band, operations are subject to footnote US342 to the U.S. Table
of Frequency Allocations, 47 CFR § 2.106, fn. US342, and all practicable steps must be taken to protect
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the radio astronomy service from harmful interference. Prior to commencing operations in the 14.47-14.5
GHz band, SpaceX must certify that it has updated its coordination agreement with the National Science
Foundation to protect the radioastronomy service from harmful interference.
        l.       SpaceX’s operations in the Ku-band are limited to minimum elevation angles of 25
degrees for all user terminals located below 62 degrees north latitude and minimum elevation angles of 5
degrees for user terminals located at or above 62 degrees north latitude.
        m.       Space--to-Earth operations in the 17.8-18.6 GHz, 18.8-19.3 GHz, and 19.7-20.2 GHz
frequency bands must complete coordination with U.S. Federal systems, in accordance with footnote
US334 to the United States Table of Frequency Allocations, 47 CFR § 2.106, prior to being used. The
use of space-to-Earth operations in the 17.8-18.6 GHz, 18.8-19.3 GHz, and 19.7-20.2 GHz bands must be
in accordance with any signed coordination agreement between SpaceX and U.S. Federal operators. Two
weeks prior to the start of any operations in the 17.8-18.6 GHz, 18.8-19.3 GHz, and 19.7-20.2 GHz
bands, SpaceX must provide contact information for a 24/7 point of contact for the resolution of any
harmful interference to Jimmy Nguyen, Email: Jimmy.Nguyen@us.af.mil.
        n.     Operations in the 18.8-19.3 GHz (space-to-Earth) frequency band are authorized up to the
power flux-density limits in Article 21 of the ITU Radio Regulations.
       o.       Operations in the 19.7-20.2 GHz frequency band are subject to the condition that SpaceX
may not use more than one satellite beam from any of its authorized Gen2 Starlink satellites in the same
frequency in the same or overlapping areas at a time.
        p.       In the 27.5-28.6 GHz and 29.5-30 GHz (Earth-to-space) frequency bands reception is
permitted at levels up to the applicable equivalent power flux-density requirements of Article 22 of the
ITU Radio Regulations.
         q.     Operations in the 27.5-28.35 GHz (Earth-to-space) frequency band are secondary with
respect to Upper Microwave Flexible Use Service (UMFUS) operations, except for FSS operations
associated with earth stations authorized pursuant to 47 CFR § 25.136.
        r.      Operations in the 28.35-28.6 GHz and 29.5-30 GHz (Earth-to-space) frequency bands are
on a secondary basis with respect to GSO FSS operations.
         s.       Under 47 CFR § 25.146(a), SpaceX must receive a favorable or “qualified favorable”
finding in accordance with Resolution 85 (WRC-03) with respect to its compliance with applicable
equivalent power flux-density limits in Article 22 of the ITU Radio Regulations. SpaceX must
communicate the ITU finding to the Commission, and in case of an unfavorable finding, SpaceX must
adjust its operation to satisfy the ITU requirements. SpaceX must cooperate with other NGSO FSS
operators in order to ensure that all authorized operations jointly comport with the applicable limits for
aggregate equivalent power flux-density in the space-to-Earth direction contained in Article 22 of the ITU
Radio Regulations, as well as Resolution 76 (WRC-03) of the ITU Radio Regulations.
       t.       SpaceX must make available to any requesting party the data used as input to the ITU-
approved validation software to demonstrate compliance with applicable Equivalent Power Flux Density
(EPFD) limits, including the data that combine the Gen2 Starlink satellites into one consolidated file.
         u.      Operations in the Ku- and Ka-band frequencies authorized in this Order must comply
with spectrum sharing procedures among NGSO FSS space stations specified in 47 CFR § 25.261 with
respect to any NGSO system licensed or granted U.S. market access pursuant to the 2020 Ku/Ka-band
processing round initiated in Public Notice DA 20-325. Spectrum sharing between SpaceX’s operations
and operations of NGSO systems granted U.S. market access, where such operations do not include
communications to or from the U.S. territory, are governed only by the ITU Radio Regulations and are
not subject to section 25.261.
       v.     In the absence of a coordination agreement among the operators of systems in the 2020
Ku/Ka-band Processing Round that have been licensed or granted access to the U.S. market, the available
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spectrum in the relevant frequency bands will be divided as provided in section 25.157 of the
Commission’s rules, 47 CFR § 25.157.
         w.      Prior to commencing operations in the Ku- and Ka-band frequency bands authorized in
this Order, SpaceX must certify that it has made a coordination agreement with, or make a showing to the
Commission demonstrating and certifying that its operations will not cause harmful interference to, any
operational system licensed or granted U.S. market access in the NGSO FSS processing rounds referred
to in Public Notices DA 16-804, 31 FCC Rcd 7666 (IB 2016) and DA 17-524, 32 FCC Rcd 4180 (IB
2017). SpaceX may commence operations at its own risk, on a non-interference, unprotected basis with
respect to any operations authorized in earlier processing rounds for which coordination has not been
completed, prior to the approval of its showing by the Commission.
         x.      During launch and early orbit phase operations, payload testing, and deorbit of its
satellites, SpaceX must operate on a non-harmful interference basis, i.e. SpaceX must not cause harmful
interference and must accept any interference received. In the event of any harmful interference under
this grant, SpaceX must immediately cease operations upon notification of such interference and inform
the Commission, in writing, of such an event.
         y.       SpaceX must operate consistent with the technical specifications provided to the
Commission, including any supplemental specifications, in connection with this application, as amended,
for its Gen2 Starlink constellation, including antenna beam patterns; GSO avoidance angle; physical
characteristics; frequencies used for satellite communications, including outside the United States; and
other technical information. Should SpaceX wish to alter these technical specifications, it must apply for
a license modification from the Commission.
        z.      SpaceX must provide a semi-annual report, by January 1 and July 1 each year, covering
the preceding six month period, respectively, from June 1 to November 30 and December 1 to May 31.
The report should include the following information:
              i.   The number of conjunction events identified for Starlink satellites during the reporting
                   period, and the number of events that resulted in an action (maneuver or coordination
                   with another operator), as well as any difficulties encountered in connection with the
                   collision avoidance process and any measures taken to address those difficulties.
              ii. Satellites that, for purposes of disposal, were removed from operation or screened from
                  further deployment at any time following initial deployment, and identifying whether this
                  occurred less than five years after the satellite began regular operations or were available
                  for use as an on-orbit replacement satellite,
              iii. Satellites that re-entered the atmosphere,
              iv. Satellites for which there was a disposal failure, i.e., a satellite that loses the capability to
                  maneuver effectively after being raised from its injection, including a discussion of any
                  assessed cause of the failure and remedial actions. For each such satellite, SpaceX shall
                  report an estimated orbital lifetime for the satellite following the failure, and for the Gen2
                  Starlink constellation the cumulative number of failed satellite object years,
              v. Identification of any collision avoidance system outages or unavailability, either on a
                 system-wide basis or for individual satellites. An “outage” would include any individual
                 satellite anomaly that results in a satellite not achieving targeted risk mitigation via
                 maneuver.
         aa.     In the event of satellite failures resulting in more than 100 post-failure object years,
SpaceX may not deploy any additional satellites until the Commission has approved a license
modification that includes an updated orbital debris mitigation plan addressing reduction in the failure
rate or mitigation of the risk of satellite failures.
        bb.        SpaceX must maintain satellite orbits so as to operate all of its satellites at or below 580
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km.
         cc.     SpaceX may not deploy any satellites designed for operational altitudes below the
International Space Station pursuant to this grant-in-part. SpaceX must communicate and collaborate
with NASA to enable safe launch windows to support safety of both SpaceX and NASA assets and
missions and to preserve long-term sustainable space-based communications services. SpaceX must
report on the progress of its communications and collaboration efforts to the Commission in its regular
reports specified in condition z.
            dd.    SpaceX may not deploy any satellites authorized in this grant directly to their operational
altitude.
         ee.     Upon receipt of a conjunction warning from the 18th Space Control Squadron or other
source, SpaceX must review and take all possible steps to assess the collision risk, and mitigate collision
risk if necessary. As appropriate, steps to assess and mitigate should include, but are not limited to:
contacting the operator of any active spacecraft involved in such warning; sharing ephemeris data and
other appropriate operational information with any such operator; modifying spacecraft attitude and/or
operations.
        ff.      SpaceX must continue to coordinate and collaborate with NASA to promote a mutually
beneficial space environment that would minimize impacts to NASA’s science missions involving
astronomy.
         gg.     SpaceX must coordinate with NSF to achieve a mutually acceptable agreement to
mitigate the impact of its satellites on optical ground-based astronomy. SpaceX must submit an annual
report to the Commission, by January 1st each year covering the proceeding year containing the following
information: (1) whether it has reached a coordination agreement with NSF addressing optical astronomy;
and (2) any steps SpaceX has taken to reduce the impact of its satellites on optical astronomy, including
but not limited to darkening, deflecting light away from the Earth, attitude maneuvering, and provision of
orbital information to astronomers for scheduling observations around satellites’ locations.
       hh.      SpaceX must follow its commitment to work with the scientific community to explore
methods to collect observational data on formation of alumina from satellite reentry, to implement
reasonable methods that are discovered to the extent practicable, and to report findings from these
measurements taken to the Commission, as part of its annual report specified in condition gg.
         ii.     This authorization is subject to modification to bring it into conformance with any rules
or policies adopted by the Commission in the future. Accordingly, any investments made toward
operations in the bands authorized in this Order by SpaceX in the United States assume the risk that
operations may be subject to additional conditions or requirements as a result of any future Commission
actions. This includes, but is not limited to, any conditions or requirements resulting from any action in
the proceedings associated with IB docket 22-271 and IB Docket 18-818,508 WTB Docket 20-443,509 WT
docket 20-133,510 IB docket 21-456,511 and GN Docket 22-352.512
      136.      IT IS FURTHER ORDERED that SpaceX is subject to the rules regarding the sharing of
ephemeris data in section 25.146(e) of the Commission’s rules, 47 CFR § 25.146(e).
            137.   IT IS FURTHER ORDERED that this authorization is also subject to the following

508   See generally Orbital Debris R&O & FNPRM.
509   See generally 12.2 GHz NPRM.
510   See generally 70/80/90 GHz Rulemaking.
511   See generally Section 25.261 NPRM.
512   See generally 12.7 GHz Proceeding.

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requirements:
         a. SpaceX must post a surety bond in satisfaction of 47 CFR §§ 25.165(a)(1) & (b) no later than
            December 31, 2022, and thereafter maintain on file a surety bond requiring payment in the
            event of a default in an amount, at minimum, determined according to the formula set forth in
            47 CFR § 25.165(a)(1); and
         b. SpaceX must launch 50% of the maximum number of proposed space stations, place them in
            the assigned orbits, and operate them in accordance with the station authorization no later
            than December 1, 2028, and SpaceX must launch the remaining space stations necessary to
            complete its authorized service constellation, place them in their assigned orbits, and operate
            each of them in accordance with the authorization no later than December 1, 2031. 47 CFR §
            25.164(b).513
         c. Failure to post and maintain a surety bond will render this grant null and void automatically,
            without further Commission action. Failure to meet the milestone requirements of 47 CFR §
            25.164(b) may result in SpaceX’s authorization being reduced to the number of satellites in
            use on the milestone date. Failure to comply with the milestone requirement of 47 CFR §
            25.164(b) will also result in forfeiture of SpaceX’s surety bond. By December 16, 2028,
            SpaceX must either demonstrate compliance with its milestone requirement or notify the
            Commission in writing that the requirement was not met. 47 CFR § 25.164(f).
       138.   IT IS FURTHER ORDERED that SpaceX’s request for waiver of section 25.202(g)(1) of
the Commission’s rules, 47 CFR § 25.202(g)(1), is GRANTED, subject to the conditions set forth above.
       139.   IT IS FURTHER ORDERED that SpaceX’s request for waiver of section 25.208(e) of
the Commission’s rules, 47 CFR § 25.208(e), is DISMISSED.
       140.   IT IS FURTHER ORDERED that SpaceX’s request for waiver of section 25.146(a)(1) of
the Commission’s rules, 47 CFR § 25.146(a)(1), is GRANTED.
         141.     IT IS FURTHER ORDERED that the request for waiver of the requirement that under
47 CFR § 25.146(a) that SpaceX must receive a favorable or “qualified favorable” finding in accordance
with Resolution 85 (WRC-03) with respect to its compliance with applicable equivalent power flux-
density limits in Article 22 of the ITU Radio Regulations prior to commencing operations is GRANTED,
subject to the conditions set forth above.
       142.   IT IS FURTHER ORDERED that SpaceX’s request for waiver of section 25.146(a)(1) of
the Commission’s rules, 47 CFR § 25.146(a)(1), is GRANTED.
        143.     IT IS FURTHER ORDERED that SpaceX’s request for waiver of the Commission’s rules
due to various limitations in the Schedule S software is GRANTED.
       144.   IT IS FURTHER ORDERED that the Petition to Defer and Condition of SES Americom
and O3b Limited is GRANTED-IN-PART and DENIED-IN-PART to the extent set forth above.
        145. IT IS FURTHER ORDERED that the Petition to Deny or Defer in Part of RS Access
LLC. is GRANTED-IN-PART and DENIED-IN-PART to the extent set forth above.
         146. IT IS FURTHER ORDERED that the Petition to Deny or Hold in Abeyance of Viasat,
Inc. is GRANTED-IN-PART and DENIED-IN-PART to the extent set forth above.
       147.   IT IS FURTHER ORDERED that the Petition to Dismiss or Deny in Part of DISH
Network Corporation is DENIED.

513We note that the NGSO FSS Order modified section 25.164(b) to offer additional flexibility and requires launch
and operation of 50% of an authorized system within six years of grant and the remaining satellites within nine years
of grant.

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        148.     IT IS FURTHER ORDERED that the Opposition and Motion to Await Conclusion of
Pending Directly Intertwined Litigation, Motion for Consultation with Affected Agencies, Motion for
Disclosure, Motion for Certification of Suitably Comprehensive Insurance Coverage, Motion for
Certification of Indemnity, and Motion to Suspend or Revoke Licenses of The Balance Group is
DISMISSED.
       149.     IT IS FURTHER ORDERED that the Motion for Abeyance of DISH Network
Corporation is DISMISSED.


                                               FEDERAL COMMUNICATIONS COMMISSION




                                               Marlene H. Dortch
                                               Secretary




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                         CERTIFICATE OF SERVICE

      I, Charles Lee Mudd Jr., hereby certify that on this 29th day of December,

2022, I caused one copy of the foregoing Notice of Appeal to be served upon

counsel for the appellee by electronic mail (pursuant to the Commission’s advance

written consent, 47 C.F.R. § 1.13(b)) directed to:



      P. Michele Ellison
      General Counsel
      FEDERAL COMMUNICATIONS COMMISSION
      45 L Street, N.E.
      Washington, DC 20554
      LitigationNotice@fcc.gov


      Further, pursuant to 47 U.S.C. § 402(d), I also caused one copy of the

foregoing Notice of Appeal to be delivered via first-class mail (or electronic mail

for (a) individuals with only an email address listed below and (b) individuals who

agreed to accept delivery by electronic mail) to the recipients in the 402(d)

SERVICE LIST below, except where indicated that no contact information had

been provided.
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                            402(d) SERVICE LIST

David Goldman
Director of Satellite Policy
Space Exploration Technologies Corp.
1155 F Street, N.W.
Suite 475
Washington, DC 20004

William M. Wiltshire
Harris, Wiltshire & Grannis LLP
1919 M Street, N.W. Suite 800
Washington, DC 20036

Space Exploration Technologies Corp.


Gary Hunt
AASLP
107 Warren Road
Wilmington, Dartford
Kent, DA1 1PP
United Kingdom

AASLP


C. Andrew Keisner
Lead Counsel
Kuiper Systems LLC

Darren Achord
Head of Public Policy for Project Kuiper
Amazon.com Services LLC

410 Terry Avenue N.
Seattle, WA 98109

Amazon.com Services LLC | Kuiper Systems LLC



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Mark Phillips
President
The Astronomical Society of Edinburgh
Edinburgh, Scotland

The Astronomical Society of Edinburgh


James S. Turner
Julian Gresser
Swankin & Turner
1601 18th St NW #4
Washington, DC 20009

Raymond Broomhall
Michael Kirby Chambers
49 Davey St. Hobart
Tasmania, Australia
rjbroomhall@hotmail.com

Joseph Sandri
James McPherson
Thought Delivery Systems, Inc.
8070 Georgia Avenue
Suite 301
Silver Spring, MD 20910

The Balance Group


Graeme Cuffy
P.O. Box 7125, St. Anns
Port of Spain
Trinidad and Tobago
graeme.cuffy@gmail.com

Graeme Cuffy




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Jeffrey Blum
Alison Minea
Hadass Kogan
DISH Network Corporation
1110 Vermont Avenue, N.W.
Suite 450
Washington DC 20005

Pantelis Michalopoulos
Andrew M. Golodny
Alicia Loh
Steptoe & Johnson
1330 Connecticut Avenue, N.W.
Washington, DC 20036

DISH Network Corporation


Jennifer A. Manner, Senior Vice President, Regulatory Affairs
Matthew Sneed, Associate Corporate Counsel, Regulatory Affairs
Hughes Network Systems, LLC
11717 Exploration Lane
Germantown, MD 20876

EchoStar Satellite Services L.L.C. / Hughes Network Systems, LLC


Carlos M. Nalda
LMI Advisors, LLC
2550 M Street, NW
Suite 300
Washington, DC 20037
cnalda@lmiadvisors.com

Eutelsat S.A.




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Sierra Solter Hunt
PhD candidate, plasma physics
hunt@astroplane.org

Sierra Solter Hunt


Polly Averns, Regulatory Associate
Simon Molgat Laurin, Regulatory Associate
Nickolas G. Spina, Director Regulatory Affairs
Kepler Communications, Inc.
196 Spadina Avenue Suite 400
Toronto, ON Canada M5T2C2

Kepler Communications, Inc.


Prof. Samantha Lawler
Assistant Professor of Astronomy
Campion College and the Department of Physics
University of Regina
3737 Wascana Parkway
Regina, Saskatchewan, S4S 0A2
Canada

Prof. Samantha Lawler


Prof. Andy Lawrence
Regius Professor of Astronomy,
Institute for Astronomy
University of Edinburgh
Royal Observatory
Edinburgh EH9 3HJ
United Kingdom
al@roe.ac.uk

Prof. Andy Lawrence




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Darren McKnight
LeoLabs
4005 Bohannon Dr.
Menlo Park, CA 94025

LeoLabs


Kathy Smith
National Telecommunications & Information Administration
U.S. Department of Commerce
1401 Constitution Ave., N.W.
Washington, D.C. 20230

NTIA (along with NASA and NSF Comments)


Sharon Buccino, Senior Attorney
Natural Resources Defense Council
1152 15th St, NW, Suite 300
Washington, DC 20005
sbuccino@nrdc.org

Natural Resources Defense Council


Prof. Carrie R. Nugent
Associate Professor of Computational Physics and Planetary Science
Olin College of Engineering
1000 Olin Way
Needham, MA 02492
cnugent@olin.edu

Prof. Carrie R. Nugent




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Meredith L. Rawls, PhD
University of Wisconsin
Department of Astronomy
mrawls@uw.edu

Meredith L. Rawls, PhD


Prof. Mike Edmunds
President
Royal Astronomical Society
Burlington House
Piccadilly
London W1J 0BQ
United Kingdom

Royal Astronomical Society


V. Noah Campbell
CEO
RS Access, LLC
645 5th Ave
10th Floor
New York, NY 10022

RS Access, LLC


Daniel C.H. Mah
Vice President, Legal and Regulatory Affairs
SES Americom, Inc.
Suzanne Malloy
Vice President, Regulatory Affairs
O3b Limited
1129 20th Street, N.W., Suite 1000
Washington, DC 20036

SES Americom, Inc. / O3b Limited



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Prof. Roberto Trotta, FRAS FHEA
Professor of Astrostatistics
Data Science Institute Academic Fellow
Head, Theoretical and Scientific Data Science Group,
        International School for Advanced Study, Trieste (Italy)
Imperial College London
Trieste, Italy
r.trotta@imperial.ac.uk

Prof. Roberto Trotta


William M. Jay
GOODWIN PROCTER LLP
1900 N Street, N.W.
Washington, DC 20036

Viasat, Inc.


Eric Graham
Director, Government & Regulatory Engagement, North America
WorldVu Satellites Limited
1785 Greensboro Station Place, Tower 3
McLean, VA 22102

Brian Weimer
Douglas A. Svor
Sheppard Mullin Richter & Hampton LLP
2099 Pennsylvania Avenue, N.W.
Suite 100
Washington, DC 20006

WorldVu Satellites Limited




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Interested Parties for Whom No Contact Information Had Been Filed:


Melissa K. Shipp, MS

Tyler Kokjohn

Cameron Nelson
Tenzing Startup Consultants, LLC




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